Case: 23-1922   Document: 00118118414       Page: 1     Date Filed: 03/11/2024   Entry ID: 6628045




                                           No. 23-1922

                           UNITED STATES COURT OF APPEALS
                                 FOR THE FIRST CIRCUIT
                              _______________________________
      CLEMENTE PROPERTIES, INC.; 21 IN RIGHT, INC.; ROBERTO CLEMENTE,
          JR.; LUIS ROBERTO CLEMENTE; ROBERTO ENRIQUE CLEMENTE,
                                      Plaintiffs – Appellants,
                                                  v.
      HON. PEDRO R. PIERLUISI-URRUTIA, Governor of Puerto Rico, in his official
         and individual capacity and as representative of the Commonwealth of Puerto
         Rico; THE COMMONWEALTH OF PUERTO RICO; EILEEN M. VÉLEZ-
        VEGA, Secretary of the Department of Transportation and Public Works, in her
       official and individual capacity; FRANCISCO PARÉS ALICEA, Secretary of the
           Department of the Treasury, in his official and individual capacity; RAY J.
      QUIOÑES-VÁZQUEZ, Secretary of the Department of Sports and Recreation, in
        his official and individual capacity; PUERTO RICO CONVENTION CENTER
                                    DISTRICT AUTHORITY,
                                     Defendants – Appellees,

           JOHN DOE; CONJUGAL PARTNERSHIP DOE-VELEZ; JANE DOE;
                     CONJUGAL PARTNERSHIP QUINONES-DOE,
                                        Defendants.
                                          _____
        On Appeal from the United States District Court for the District of Puerto Rico,
                San Juan, Honorable Gina R. Méndez-Miró, District Judge
                                  ___________________

                            APPELLANTS’ OPENING BRIEF
                            _______________________________

      TANAIRA PADILLA-RODRIGUEZ                       WENCONG FA
      Ave. Ponce de León 1225                         Beacon Center of Tennessee
      VIG Tower, Suite 1500                           1200 Clinton St, Suite 205
      San Juan, PR 00907                              Nashville, TN 372023
      787-620-0527                                    Tel.: 615-383-6431
      tanairapadilla@yahoo.com                        Fax: 615-383-6432
                                                      wen@beacontn.org
      Attorneys for Plaintiffs-Appellant
Case: 23-1922    Document: 00118118414    Page: 2    Date Filed: 03/11/2024   Entry ID: 6628045




                         CORPORATE DISCLOSURE STATEMENT

            Clemente Properties, Inc. and 21 In Right, Inc. do not have parent

      corporations, and no publicly held company has a 10% or greater ownership interest

      in them.




                                              i
Case: 23-1922       Document: 00118118414                    Page: 3         Date Filed: 03/11/2024                 Entry ID: 6628045




                                               TABLE OF CONTENTS

      CORPORATE DISCLOSURE STATEMENT ......................................................... i

      TABLE OF AUTHORITIES ................................................................................... iv

      REASONS WHY ORAL ARGUMENT SHOULD BE HEARD ......................... xiii

      JURISDICTIONAL STATEMENT ......................................................................... 1

      STATEMENT OF THE ISSUES.............................................................................. 1

      INTRODUCTION .................................................................................................... 2

      STATEMENT OF THE CASE ................................................................................. 3

      I.       The Clementes and the Roberto Clemente trademark .................................... 3

      II.      Puerto Rico’s trademark theft ......................................................................... 5

      III.     Proceedings below .......................................................................................... 8

      SUMMARY OF ARGUMENT .............................................................................. 11

      STANDARD OF REVIEW .................................................................................... 12

      ARGUMENT .......................................................................................................... 13

      I.       The Clementes’ request for retrospective relief is not barred by
               sovereign immunity ...................................................................................... 13

               a.       States cannot invoke sovereign immunity to defeat the self-
                        executing Just Compensation guarantee of the Fifth Amendment ..... 13

               b.       Puerto Rico is not entitled to sovereign immunity ............................. 19

               c.       The Lanham Act abrogates the immunity of Puerto Rico and its
                        officials ............................................................................................... 21

      II.      The Clementes are entitled to prospective relief .......................................... 25
                                                                   ii
Case: 23-1922       Document: 00118118414                      Page: 4          Date Filed: 03/11/2024                  Entry ID: 6628045




      III.     The Clementes stated a plausible claim for relief under the Lanham Act
               ...................................................................................................................... 28

               a.        The District Court improperly dismissed the Clementes’ claim
                         under 15 U.S.C. § 1114, 1225(a)(1)(A), 1125(c) and in relation
                         with Law 67-2022 sua sponte. ............................................................ 28

               b.        Violation of 15 U.S.C. § 1114 ............................................................ 30

               c.        Violation of 15 U.S.C. § 1125 (a)....................................................... 37

               d.        Violation of 15 U.S.C. § 1125 (c) ....................................................... 42

      IV.      The Clementes stated a plausible claim for relief under the Takings
               Clause of the Fifth Amendment.................................................................... 44

               a.        The Roberto Clemente Trademark is a constitutionally protected
                         property right under the Fifth Amendment’s Takings Clause ........... 44

                         1.        Trademarks derive from state and common law...................... 45

                         2.        Trademarks bear the hallmark of constitutionally
                                   protected property and adhere to traditional property law
                                   principles .................................................................................. 47

               b.        Puerto Rico’s appropriation and unauthorized use of the
                         Roberto Clemente trademark is a categorical taking requiring
                         just compensation ............................................................................... 49

      V.       Defendants are not entitled to qualified immunity for their
               appropriation of the Roberto Clemente trademark ....................................... 53

      CONCLUSION ....................................................................................................... 60

      CERTIFICATE OF COMPLIANCE ...................................................................... 61

      CERTIFICATE OF SERVICE ............................................................................... 62

      ADDENDUM


                                                                    iii
Case: 23-1922       Document: 00118118414                 Page: 5        Date Filed: 03/11/2024              Entry ID: 6628045




                                           TABLE OF AUTHORITIES

      CASES

      Alden v. Maine,
        527 U.S. 706 (1999) .......................................................................................14, 19

      Allen v. Cooper,
        140 S. Ct. 994 (2020) .....................................................................................16, 24

      Álvarez Guedes v. Marcano Martínez,
        131 F.Supp.2d. 272 (D.P.R. 2001) ......................................................................41

      Armstong v. United States,
        364 U.S. 40 (1960) ...............................................................................................15

      Bay Point Props., Inc. v. Mississippi Transp. Comm’n,
        937 F.3d 454 (5th Cir. 2019) ...............................................................................13

      B&B Hardware, Inc. v. Hargis Indus., Inc.,
        575 U.S. 138 (2015) .......................................................................................24, 46

      Beacon Mut. Ins. Co. v. OneBeacon Ins. Grp.,
        376 F.3d 8 (1st Cir. 2004) ........................................................................39, 40, 43

      Blatchford v. Native Vill. of Noatak,
        501 U.S. 775 (1991) .......................................................................................19, 20

      Bos. Duck Tours, LP v. Super Duck Tours, LLC,
        531 F.3d 1 (1st Cir. 2008) ....................................................................................32

      Cedar Point Nursery v. Hassid,
        141 S. Ct. 2063 (2021) .............................................................................50, 51, 52

      Cent. Va. Cmty. Coll. v. Katz,
        546 U.S. 356 (2006) .............................................................................................16

      Century 21 Real Est. Corp. v. LendingTree, Inc.,
        425 F.3d 211 (3d Cir. 2005) ................................................................................32

                                                               iv
Case: 23-1922       Document: 00118118414                  Page: 6        Date Filed: 03/11/2024               Entry ID: 6628045




      Chicago, B. & Q.R. Co. v. City of Chicago,
        166 U.S. 226 (1897) .............................................................................................15

      Chute v. Walker,
        281 F.3d 314 (1st Cir. 2002) ................................................................................29

      Clorox Co. Puerto Rico v. Proctor & Gamble Com. Co.,
        228 F.3d 24 (1st Cir. 2000) ..................................................................................39

      Coll. Sav. Bank v. Florida Prepaid Postsecondary Educ. Expense Board,
        527 U.S. 666 (1999) ............................................................. 22, 23, 24, 45, 47, 48

      Cortés Camacho v. Quizno’s Sub, Inc.,
        173 D.P.R. 254 .....................................................................................................46

      Davis v. Burke,
        179 U.S. 399 (1900) .............................................................................................14

      DeCosta v. Viacom Int’l, Inc.,
        981 F.2d 602 (1st Cir. 1992) ................................................................................32

      In re Deister Concentrator Co.,
         48 C.C.P.A. 952, 289 F.2d 496 (C.C.P.A. 1961) ................................................51

      Dorpan, S.L. v. Hotel Meliá, Inc.,
        728 F.3d 55 (1st Cir. 2013) ..................................................................................46

      ETW Corp. v. Jireh Pub., Inc.,
        332 F.3d 915 (6th Cir. 2003) ...............................................................................40

      Edelman v. Jordan,
        415 U.S. 651 (1974) .............................................................................................27

      Electra v. 59 Murray Enterprises, Inc.,
        987 F.3d 233 (2d Cir. 2021) ................................................................................41

      Fin. Oversight & Mgmt. Bd. for P.R. v. Centro de Periodismo Investigativo, Inc.,
        143 S. Ct. 1176 (2023) ...................................................................................19, 21



                                                                 v
Case: 23-1922       Document: 00118118414                Page: 7         Date Filed: 03/11/2024             Entry ID: 6628045




      First Eng. Evangelical Lutheran Church of Glendale v. County of Los Angeles,
        482 U.S. 304 (1987) .................................................................................16, 17, 27

      Fitzpatrick v. Bitzer,
        427 U.S. 445 (1976) .............................................................................................15

      Fleischer Studios, Inc. v. A.V.E.L.A., Inc.,
        925 F.Supp.2d 1067 (C.D. Cal. 2012) .................................................................32

      Florida Prepaid Postsecondary Educ. Expense Board v. College Sav. Bank,
        527 U.S. 627 (1999) .............................................................................................23

      Gómez v. Toledo,
        100 S. Ct. 1920 (1980) .........................................................................................54

      Geoffrey, Inc. v. Toys ‘R Us (Nosotros Somos Los Juguetes), Inc.,
        756 F. Supp. 661 (D.P.R. 1991)...........................................................................56

      González-González v. United States,
        257 F.3d 31 (1st Cir. 2001) ..................................................................................29

      Green Giant Co. v. Tribunal Superior,
        104 D.P.R. 489 (1975) .........................................................................................28

      Guillemard-Ginorio v. Contreras-Gómez,
        490 F.3d 31 (1st Cir. 2007) ............................................................................54, 55

      Hana Fin., Inc. v. Hana Bank,
        574 U.S. 418 (2015) .............................................................................................32

      Hanover Star Milling Co. v. Metcalf,
        240 U.S. 403 (1916) .................................................................................45, 46, 48

      Harlow v. Fitzgerald,
        457 U.S. 800 (1982) .......................................................................................54, 56

      Horne v. Dep’t of Agric.,
        576 U.S. 351 (2015) .................................................................................44, 51, 53



                                                               vi
Case: 23-1922       Document: 00118118414                Page: 8         Date Filed: 03/11/2024             Entry ID: 6628045




      Hutto v. S.C. Ret. Sys.,
        773 F.3d 536 (4th Cir. 2014) ...............................................................................18

      In re Int’l Flavors & Fragrances, Inc.,
         183 F.3d 1361 (Fed. Cir. 1999) ...............................................................46, 47, 56

      Jack Daniel’s Properties, Inc. v. VIP Prod. LLC,
        143 S. Ct. 1578 (2023) .........................................................................................42

      K Mart Corp. v. Cartier,
        485 U.S. 176 (1988) .......................................................................................48, 50

      Kaiser Aetna v. United States,
        444 U.S. 164 (1979) .............................................................................................47

      Kanuszewski v. Mich. Dep’t of Health & Hum. Servs.,
        927 F.3d 396 (6th Cir. 2019) ...............................................................................26

      Knick v. Township of Scott,
        139 S. Ct. 2162 (2019) .............................................................................15, 17, 18

      Kotabs, Inc., v. Kotex Co.,
        50 F.2d 810 (3d Cir. 1931) ..................................................................................37

      L.L. Bean, Inc. v. Drake Publishers, Inc.,
        811 F.2d 26 (1st Cir. 1987) ..................................................................................43

      Leathersmith of London, Ltd. v. Alleyn,
        695 F.2d 27 (1st Cir. 1982) ..................................................................................36

      Lexmark Int’l, Inc. v. Static Control Components, Inc.,
        572 U.S. 118 (2014) .............................................................................................38

      Loretto v. Teleprompter Manhattan CATV Corp.,
        458 U.S. 419 (1982) .................................................................................51, 52, 53

      Maloy v. Ballori-Lage,
       744 F.3d 250 (1st Cir. 2014) ................................................................................12



                                                              vii
Case: 23-1922       Document: 00118118414                Page: 9         Date Filed: 03/11/2024             Entry ID: 6628045




      Matal v. Tam,
       582 U.S. 218 (2017) ...........................................................................32, 45, 55, 56

      Maysonet-Robles v. Cabrero,
       323 F.3d 43 (1st Cir. 2003) ..................................................................................19

      Mihos v. Swift,
        358 F.3d 91 (1st Cir. 2004) ..................................................................................55

      Milliken v. Bradley,
        433 U.S. 267 (1977) .............................................................................................27

      Monongahela Navi. Co. v. United States,
       148 U.S. 312 (1893) .............................................................................................16

      Nat’l Bank v. County of Yankton,
        101 U.S. 129 (1880) .............................................................................................20

      Palmore v. United States,
        411 U.S. 389 (1973) .............................................................................................20

      Park’n Fly v. Dollar Park & Fly,
        469 U.S. 189 (1985) .............................................................................................47

      Parks v. LaFace Recs.,
        329 F.3d 437 (6th Cir. 2003) ...............................................................................41

      PennEast Pipeline Co., v. New Jersey,
        141 S. Ct. 2244 (2021) .........................................................................................16

      Phillips v. Wash. Legal Found.,
        524 U.S. 156 (1998) .......................................................................................44, 52

      Pierson v. Ray,
        386 U.S. 547 (1967) .............................................................................................25

      Porto Rico v. Rosaly,
        227 U.S. 270 (1913) .............................................................................................20



                                                              viii
Case: 23-1922       Document: 00118118414                 Page: 10         Date Filed: 03/11/2024             Entry ID: 6628045




       Puerto Rico v. Sanchez Valle,
         579 U.S. 59 (2016) .........................................................................................19, 20

       Reich v. Collins,
         513 U.S. 106 (1994) .............................................................................................18

       Riverdale Mills Corp. v. Pimpare,
         392 F.3d 55 (1st Cir. 2004) ..................................................................................55

       Román-Cancel v. United States,
         613 F.3d 37 (1st Cir. 2010) ..................................................................................28

       Ruckelshaus v. Monsanto Co.,
         467 U.S. 986 (1984) .................................................................................44, 48, 49

       S.F. Arts & Ath., Inc. v. United States Olympic Comm.,
         483 U.S. 522 (1987) .............................................................................................48

       San Diego Gas & Elec. Co. v. San Diego,
         450 U.S. 621 (1981) .............................................................................................17

       Saucier v. Katz,
         533 U.S. 194 (2001) .............................................................................................55

       Suboh v. District Att’y’s Off. of Suffolk Dist.,
         298 F.3d 81 (1st Cir. 2002) ..................................................................................55

       Swarovski Aktiengesellschaft v. Bldg. No. 19, Inc.,
         704 F.3d 44 (1st Cir. 2013) ..................................................................................32

       Tahoe-Sierra Pres. Council, Inc. v. Tahoe Reg’l Plan. Agency,
         535 U.S. 302 (2002) .......................................................................................49, 50

       Trade-Mark Cases,
         100 U.S. 82 (1879) ...................................................................................45, 46, 48

       Trusted Integration v. United States,
         679 F.Supp.2d 70 (D.D.C. 2010) .........................................................................35



                                                                ix
Case: 23-1922       Document: 00118118414                 Page: 11         Date Filed: 03/11/2024             Entry ID: 6628045




       Tyler v. Hennepin Cnty.,
         143 S. Ct. 1369 (2023) .........................................................................................45

       United States v. Causby,
         328 U.S. 256 (1946) .............................................................................................53

       United States v. Padilla,
         415 F.3d 211 (1st Cir. 2005) ................................................................................19

       United States v. Zannino,
         895 F.2d 1 (1st Cir.1990) ...............................................................................53, 58

       United We Stand Am., Inc. v. United We Stand, Am. N.Y., Inc.,
         128 F.3d 86 (2d Cir. 1997) ..................................................................................35

       Value House v. Phillips Mercantile Co.,
         523 F.2d 424 (10th Cir. 1975) .............................................................................56

       Verizon Maryland, Inc. v. Pub. Serv. Comm’n of Maryland,
         535 U.S. 635 (2002) .............................................................................................26

       VersaTop Support Sys., LLC v. Georgia Expo, Inc.,
         921 F.3d 1364 (Fed. Cir. 2019) .....................................................................31, 35

       Waits v. Frito Lay, Inc.,
        978 F.2d 1093 (9th Cir. 1992) .............................................................................41

       Walker v. Texas Div., Sons of Confederate Veterans, Inc.,
        576 U.S. 200 (2015) .......................................................................................10, 35

       Wyatt v. Cole,
        504 U.S. 158 (1992) .............................................................................................25

       Yale Elec. Corp. v. Robertson,
         26 F.2d 972 (2d Cir. 1928) ..................................................................................37

       Ex parte Young,
         209 U.S. 123 (1908) .......................................................................................26, 27



                                                                x
Case: 23-1922       Document: 00118118414                   Page: 12          Date Filed: 03/11/2024              Entry ID: 6628045




       CONSTITUTION

       U.S. Const. amend. V................................ 1, 9, 12, 13, 14, 16, 17, 27, 44, 45, 47, 49

       U.S. Const. amend. XI .................................................................................13, 14, 22

       U.S. Const. amend. XIV ................................................................. 15, 16, 22, 23, 24

       U.S. Const. art. IV, § 3, Cl. 2 ...................................................................................20

       U.S. Const. art. VI, cl. 2 ...........................................................................................41

       Puerto Rico Const. Art. I, § 3...................................................................................28

       STATUTES AND RULES

       15 U.S.C. § 1057(b) .................................................................................................48

       15 U.S.C. § 1059 ......................................................................................................48

       15 U.S.C. § 1060 ......................................................................................................48

       15 U.S.C. § 1065 ......................................................................................................48

       15 U.S.C. § 1072 ................................................................................................32, 55

       15 U.S.C. § 1114 ............................................................................. 28, 29, 30, 33, 35

       15 U.S.C. § 1115(b) .................................................................................................48

       15 U.S.C. § 1116 ......................................................................................................44

       15 U.S.C. § 1117 ..........................................................................................29, 42, 44

       15 U.S.C. § 1121 ........................................................................................................1

       15 U.S.C. § 1122(a) .................................................................................................21

       15 U.S.C. § 1122(c) .................................................................................................24


                                                                  xi
Case: 23-1922        Document: 00118118414                    Page: 13          Date Filed: 03/11/2024                Entry ID: 6628045




       15 U.S.C. § 1125 ......................................................................................................22

       15 U.S.C. § 1125(a) ...............................................................................37, 38, 40, 42

       15 U.S.C. § 1125(a)(1)(A) .................................................................................28, 29

       15 U.S.C. § 1125(b) .................................................................................................22

       15 U.S.C. § 1125(c) ...............................................................................28, 29, 42, 44

       15 U.S.C. § 1127 ............................................................................. 22, 24, 30, 31, 38

       15 U.S.C. § 1501(a) ...........................................................................................46, 47

       28 U.S.C. § 1291 ........................................................................................................1

       28 U.S.C. § 1331 ........................................................................................................1

       28 U.S.C. § 1367 ........................................................................................................1

       28 U.S.C. § 2201 ........................................................................................................1

       28 U.S.C. § 2202 ........................................................................................................1

       48 U.S.C. § 2144(a) .................................................................................................21

       10 L.P.R.A. § 223a...................................................................................................46

       H.R. 489 ...................................................................................................................59

       Joint Resolution No. 16-2022 ................................. 5, 7, 8, 10, 27, 37, 41, 49, 50, 58

       Joint Resolution No. 17-2022 ................................. 6, 7, 8, 10, 27, 37, 41, 49, 50, 58

       Puerto Rico Law 67-2022 ........................... 6, 8, 9, 25, 26, 28, 36, 37, 41, 49, 50, 59

       Puerto Rico Law 139-2011 ................................................................................30, 54

       Puerto Rico Law 139-2011, Art. 5 ...........................................................................41


                                                                    xii
Case: 23-1922       Document: 00118118414                  Page: 14         Date Filed: 03/11/2024               Entry ID: 6628045




       Fed. R. Civ. P. 15(a).................................................................................................29

       OTHER AUTHORITIES

       2 W. Blackstone, Commentaries..............................................................................49

       4 J. Thomas McCarthy, McCarthy on Trademarks and Unfair Competition
          § 28:15 (4th ed. 2002) ..........................................................................................41

       Akhil Reed Amar, The Bill of Rights: Creation and Reconstruction (1998) ..........15

       Black’s Dictionary, tenth edition .............................................................................39

       J. Locke, The Second Treatise of Civil Government, ch. 5 (J. Gough ed. 1947) ....49

       S. Rep. No. 100-515 (1988) .....................................................................................31

       Trademark Manual of Examining Procedure (TMEP), United States Patent and
         Trademark Office, July 2022, section 1207.01(c)(i) Legal Equivalents –
         Comparison of Words and Their Equivalent Designs .........................................33




                                                                xiii
Case: 23-1922   Document: 00118118414      Page: 15    Date Filed: 03/11/2024   Entry ID: 6628045




                REASONS WHY ORAL ARGUMENT SHOULD BE HEARD

             Oral argument is warranted because this case raises important and complex

       issues involving sovereign immunity, the Takings Clause of the Fifth Amendment,

       and the Lanham Act. Co-counsel for Plaintiffs-Appellants (“the Clemente Family”

       or “the Clementes”), Mr. Fa and Ms. Padilla-Rodríguez, intend to move this Court

       to divide argument time evenly among them so that they can address different

       aspects of the case for which they were responsible. Mr. Fa will present argument

       on the Takings Clause, whether sovereign immunity is a bar to just compensation

       under the Takings Clause, and whether Puerto Rico is entitled to sovereign

       immunity. Ms. Padilla-Rodriguez will present argument on the Lanham Act,

       whether the Lanham Act abrogates sovereign immunity, and whether Defendants-

       Appellees are entitled to qualified immunity.




                                               xiv
Case: 23-1922   Document: 00118118414       Page: 16    Date Filed: 03/11/2024    Entry ID: 6628045




                              JURISDICTIONAL STATEMENT

             The district court had jurisdiction over the federal questions here pursuant to

       28 U.S.C. § 1331 and 15 U.S.C. § 1121. The Declaratory Judgment Act, 28 U.S.C.

       §§ 2201, 2202, furnishes the basis for declaratory relief, and the district court had

       jurisdiction to consider the state-law claims pursuant to 28 U.S.C. § 1367.

             This Court has jurisdiction because the Clementes appeal from a final

       judgment disposing of the claims. Id. § 1291. The district court entered judgment on

       September 22, 2023. Add. 70. The Clementes timely appealed on October 19, 2023.

                               STATEMENT OF THE ISSUES

       1. Does Sovereign Immunity bar the Clementes’ claims under the Takings Clause

       and the Lanham Act?

       2. Are the Clementes entitled to prospective relief?

       3. Does the Clementes’ complaint properly state a claim that Defendants’ actions

       violate the Takings Clause of the Fifth Amendment?

       4. Does the Clementes’ complaint properly state a claim that Defendants’

       infringement of their trademark violates the Lanham Act?

       5. Are Defendants entitled to qualified immunity?




                                                1
Case: 23-1922    Document: 00118118414      Page: 17     Date Filed: 03/11/2024    Entry ID: 6628045




                                        INTRODUCTION

             Plaintiffs—three adult children of baseball legend Roberto Clemente and the

       late Doña Vera Clemente—brought this case to protect their family’s legacy. For

       decades, the Clementes have used the Roberto Clemente trademark to continue the

       family’s humanitarian efforts after Roberto Clemente’s untimely death in 1972 while

       en route to deliver aid for earthquake victims in Nicaragua. The goodwill they built

       for decades was destroyed, however, when Puerto Rico appropriated the trademark

       for its own use in Roberto Clemente license plates and registration labels that it

       forced Puerto Ricans to buy during hard economic times. Even worse, Puerto Rico

       intends to use the money to create a Roberto Clemente Sports District that the

       Clementes never approved and replace a sports district that Roberto Clemente helped

       create.

             After repeated pleas to Puerto Rico officials fell on deaf ears, the Clementes

       raised Takings Clause and Lanham Act claims in federal court. Yet the district court

       dismissed the case based on its mistaken belief that Puerto Rico’s immunity allowed

       it to take trademarks and property without having to provide a penny in

       compensation. The district court’s analysis on the merits fared no better. It concluded

       that the sale of Roberto Clemente trademark embedded in license plates and vehicle

       tags cannot be considered commercial use merely because it is “clear government

       activity,” and that the Clementes could not plead a takings claim because the


                                                 2
Case: 23-1922   Document: 00118118414      Page: 18    Date Filed: 03/11/2024    Entry ID: 6628045




       Clementes were still free to use their trademark. That reasoning is not only

       incompatible with the governing precedent but would eviscerate important

       protections for trademarks and other property rights. This Court should reverse.

                                STATEMENT OF THE CASE

       I.    The Clementes and the Roberto Clemente trademark

             Roberto Clemente is a baseball legend. A native of Puerto Rico, Clemente

       won several batting titles, Gold Glove awards, two World Series championship

       trophies, a Most Valuable Player award in 1966, and a World Series Most Valuable

       Player award in 1971. A13 (¶ 3.2). Over his nearly two decades with the Pittsburgh

       Pirates, Clemente amassed over 3,000 hits and became the first Latin-American

       player inducted into the National Baseball Hall of Fame. Id.

             Roberto Clemente’s work as a humanitarian was just as important. In 1972,

       Clemente was en route to Nicaragua to deliver aid to earthquake victims in

       Nicaragua. A14 (¶ 3.9). He died at 38 when the plane crashed into the Atlantic

       Ocean. Id.

             His widow, Doña Vera Clemente, dedicated her life to preserving the legacy

       and humanitarian efforts of her late husband. Id. (¶ 3.10). Doña Vera died in 2020,

       leaving her sons Roberto, Luis Roberto, and Roberto Enrique—all of whom Doña

       Vera raised to serve as leaders in the community and protectors of Roberto

       Clemente’s legacy. A14–15 (¶¶ 3.11, 3.18). Through the hard work of the

                                                3
Case: 23-1922   Document: 00118118414       Page: 19     Date Filed: 03/11/2024    Entry ID: 6628045




       Clementes,1 Roberto Clemente continues to enjoy worldwide recognition as a sports

       hero, humanitarian, and champion for justice. A15 (¶ 3.12).

             Roberto Clemente’s continued fame and philanthropy can be attributed to his

       longstanding trademark. That mark has been in use since 1955, A14 (¶ 3.3), and the

       Clementes have undertaken several measures to protect the trademark from misuse.

       Id. Roberto Clemente Jr., Luis Roberto Clemente, and Roberto Enrique Clemente

       are the sole owners of Clemente Properties, Inc., a Delaware corporation that

       registered the Roberto Clemente trademark with the United States Patent and

       Trademark Office. A13–14 (¶¶ 3.1, 3.3). The Clementes are also the sole owners of

       21 In Right, Inc., a Pennsylvania corporation with the right to license the Roberto

       Clemente trademark. A12, A15 (¶¶ 2.2, 3.16). The Clementes retained the services

       of a leading intellectual property management agency, CMG Worldwide, Inc., as the

       family’s exclusive, worldwide business representative for Clemente Properties, Inc.

       and 21 in Right, Inc. A16 (¶ 3.19). The Clementes entrust CMG with the duty to

       monitor and address unauthorized use of the Roberto Clemente mark and to license

       such mark to select companies for high-quality merchandise and endorsements. Id.

       CMG recently secured the domain name RobertoClemente.com from an

       unauthorized user. Id. (¶ 3.20).


       1
         For ease of reference, this brief refers to all Appellants as the Clemente family or
       the Clementes and the Puerto Rico government defendants as “Puerto Rico.” The
       brief also uses “trademark” to denote “trademark, name, image, and likeness.”
                                                 4
Case: 23-1922   Document: 00118118414       Page: 20     Date Filed: 03/11/2024    Entry ID: 6628045




             The Clemente family’s efforts have maintained the value of the Roberto

       Clemente trademark. Today, the mark is routinely licensed for all kinds of initiatives,

       including events, products, awards, and so on. A15 (¶ 3.14). The trademark appears

       not only in commerce, but also promotes the Clementes’ humanitarian efforts. The

       Roberto Clemente Foundation and the Roberto Clemente Museum in Pittsburgh are

       two examples of the work that the Clementes have initiated—in joint ventures with

       other respectable members of society—to use, promote, and exalt the Roberto

       Clemente trademark. Id. (¶¶ 3.13, 3.14).

       II.   Puerto Rico’s trademark theft

             In 2021, Puerto Rico enacted two resolutions that authorized government

       officials to use the Roberto Clemente trademark without his family’s permission.

       Under Joint Resolution No. 16, Puerto Rico residents who acquired a license plate

       had to pay an additional $21 dollars for an image of Roberto Clemente with the

       number “21” (for Clemente’s jersey number), the number “50,” the word

       “anniversary,” and the phrase “3,000 hits.” A17–18 (¶¶ 3.27–3.29). Puerto Rico

       transferred the revenue generated from the sale of the Clemente trademark patterned

       in the license plates to the Roberto Clemente Sports District Fund, which is

       unaffiliated with the Clementes but is instead administered by the Puerto Rico

       Department of Treasury for the exclusive use of the Department of Sports and

       Recreation. A18 (¶ 3.30).


                                                  5
Case: 23-1922   Document: 00118118414       Page: 21     Date Filed: 03/11/2024    Entry ID: 6628045




             Resolution No. 17 further imposed an extra charge of five dollars for the

       trademark pattern in the commemorative vehicle registration labels to celebrate the

       50th anniversary of Roberto Clemente’s 3,000th hit. A18–19 (¶ 3.33). The

       Department of Transportation and Public Works issued vehicle permits that referred

       to a Roberto Clemente fund, which is not associated with the Clemente family, next

       to the five-dollar charge. A19 (¶ 3.39).

             Puerto Rico also enacted Law 67-2022. A25 (¶ 3.69). That law created the

       Roberto Clemente Sports District, which will be overseen by the Department of

       Sports and Recreation. A25–26 (¶ 3.72). Law 67-2022 also allocates $150,000 per

       year to the Puerto Rico Convention District Authority, so that it can plan and

       organize the facilities in the sports district. A27 (¶ 3.74). The same law calls for a

       transfer of land from Ciudad Deportiva Roberto Clemente, Inc.—which Roberto

       Clemente himself created to provide a sports facility to children—to the Roberto

       Clemente Sports District. A25, 28 (¶¶ 3.71, 3.80).

             These laws shocked the Clementes. Law 67-2022 stated that Puerto Rico will

       create the Roberto Clemente Sports District to honor the memory of Roberto

       Clemente and implies that Clemente would have wholeheartedly endorsed the

       project. A29 (¶ 3.84). But the Clementes—who possess the right to use the Roberto

       Clemente mark and endorse the project—have made it abundantly clear to




                                                  6
Case: 23-1922      Document: 00118118414    Page: 22     Date Filed: 03/11/2024    Entry ID: 6628045




       government officials that they oppose Puerto Rico’s creation of the district. Id.

       (¶ 3.85).

             Worse yet, Puerto Rico funds one unauthorized misuse of the Roberto

       Clemente trademark with two others. The Clementes have always been opposed to

       the fees imposed by Resolutions 16 and 17—particularly when many people in

       Puerto Rico were going through difficult economic times. A21 (¶ 3.46). Before

       Puerto Rico proposed Resolution No. 16, the Clementes had authorized Ciudad

       Deportiva to raise funds by issuing commemorative license plates, which would be

       available to the people of Puerto Rico in exchange for a voluntary donation of $2.10.

       Id. (¶ 3.50). The Clementes informed Governor Pierluisi of this plan in February

       2021, and less than one month later, Puerto Rico proposed an earlier version of

       Resolution No. 16. Id.

             The Clementes still made every effort to resolve the issue with government

       officials. Luis Roberto Clemente informed Governor Pierluisi—before Pierluisi

       signed the resolutions into law—that no one from the government had sought

       approval to use Roberto Clemente’s trademark in license plates or registration labels.

       A22 (¶ 3.52). Governor Pierluisi then signed the joint resolutions into law—despite

       knowing that they called for the unauthorized use of the Roberto Clemente

       trademark. A23 (¶¶ 3.55–3.57). Puerto Rico made around 15 million dollars from its




                                                 7
Case: 23-1922    Document: 00118118414      Page: 23    Date Filed: 03/11/2024   Entry ID: 6628045




       misuse of the Roberto Clemente trademark in license plates and vehicle registration

       labels. A34 (¶ 3.110).

              Puerto Rico’s misuse tarnished the Roberto Clemente trademark. Puerto Rico

       citizens resented the Clementes for contributing to the impoverishment of Puerto

       Rico by collecting money during financial crisis—even though the Clementes had

       opposed Puerto Rico’s Roberto Clemente license plate and registration label

       program and received none of its proceeds. A21 (¶ 3.47). But Puerto Ricans were

       understandably confused—given that Puerto Rico had used the Roberto Clemente

       trademark—and attacked the Clementes in the press, social network, events, and

       other activities. A20–21 (¶¶ 3.45, 3.47). What’s more, the Clemente trademark had

       become embroiled in the dispute between the government and the Clementes—one

       which the Clementes sought to avoid through private conversations with the

       Governor’s office. A32 (¶ 3.99). Puerto Rico’s misuse of the Clemente trademark

       limits the Clementes’ ability to do business, generate income, and protect Roberto

       Clemente’s legacy. A32–33 (¶¶ 3.103, 3.108).

       III.   Proceedings below

              The Clementes filed their lawsuit in the United States District Court for the

       District of Puerto Rico. The amended complaint alleges that Puerto Rico’s previous

       misuse of the Roberto Clemente trademark in Resolution Nos. 16 and 17, and its

       plan to further misuse the trademark under Law 67-2022 violates the Takings Clause


                                                8
Case: 23-1922   Document: 00118118414          Page: 24   Date Filed: 03/11/2024   Entry ID: 6628045




       of the Fifth Amendment, the Lanham Act, and the laws of Puerto Rico. The

       Clementes sought injunctive relief, declaratory relief, damages, and just

       compensation against Puerto Rico officials in their individual and official capacities,

       and the Puerto Rico Convention District Authority. See Dkt. 27. The Authority, the

       Secretary of the Department of Sports and Recreation, and the other Puerto Rico

       officials filed three motions to dismiss, see Dkt. 36, 38, 42,2 and the Clementes filed

       three responses. See Dkt. 44, 45, 53.

             The district court granted the motions to dismiss. Add. 69. Although the court

       acknowledged that the Supreme Court recently reserved the issue, it noted that it was

       bound by circuit court precedent extending the doctrine of state sovereign immunity

       to Puerto Rico even though Puerto Rico is not a state. Id. at 21–25. The court then

       recognized that neither the First Circuit nor the Supreme Court has squarely

       addressed whether the Takings Clause abrogates sovereign immunity but held that

       neither the Takings Clause nor the Lanham Act abrogated Puerto Rico’s sovereign

       immunity. Id. at 25–30 (Lanham Act); id. at 51–56 (Takings Clause). As for the

       Clementes’ request for prospective relief, the district court ultimately sidestepped

       Law 67-2022’s planned trademark infringement and declared that the Clementes had

       “provided the Court with no basis from which it can infer any possibility of an



       2
         Unless otherwise noted, citations to the docket refer to the district court
       proceedings in this case.
                                                   9
Case: 23-1922   Document: 00118118414       Page: 25     Date Filed: 03/11/2024    Entry ID: 6628045




       ongoing violation of federal law.” Id. at 35–36. The court also dismissed both the

       Lanham Act and the Takings Clause claims on the merits. As for the Lanham Act,

       the court cited a First Amendment case as support for its conclusion that “issuing

       motor vehicle license plates and tags cannot be considered commercial use, as it is

       a clear government activity.” Id. at 43 (citing Walker v. Texas Div., Sons of

       Confederate Veterans, Inc., 576 U.S. 200 (2015)). The court then dismissed the

       Takings claim because Joint Resolutions Nos. 16 and 17 did not deprive the

       Clemente family of “all economically beneficial use” and because the Clementes

       “remained free to use their trademark.” Id. at 56. The court declined to allow the

       Clementes’ claims against the government officials in their personal capacity to

       proceed because of the court’s determination that the complaint’s allegations do not

       plausibly establish a claim. Id. at 63. And the court dismissed the state-law claims

       without prejudice given its dismissal of the federal claims that justified the federal

       court’s exercise of supplemental jurisdiction. Id. at 69–70. This appeal follows.




                                                10
Case: 23-1922   Document: 00118118414       Page: 26    Date Filed: 03/11/2024    Entry ID: 6628045




                                SUMMARY OF ARGUMENT

             Puerto Rico appropriated the Roberto Clemente trademark and sold it through

       license plates and vehicle registration labels over the Clementes’ objections. Even

       worse, Puerto Rico used the proceeds from one trademark infringement to support

       another: Puerto Rico sought to create a Roberto Clemente Sports District that was

       never authorized by the Clementes, and replaces the sports district created by

       Roberto Clemente himself.

             First, the district court erred in holding that the Commonwealth of Puerto Rico

       had sovereign immunity over the claims here. Although an en banc First Circuit (or

       the Supreme Court) should hold that Puerto Rico is not entitled to sovereign

       immunity, a panel of this Court should hold that Puerto Rico cannot use immunity

       to evade liability under the Takings Clause or Lanham Act.

             Second, the Clementes are entitled to an injunction preventing Puerto Rico

       and the Sports Authority from using the trademark in connection with the Roberto

       Clemente Sports District in the future.

             Third, the Clementes properly pleaded claims under the Lanham Act. The

       district court’s conclusion that the use of trademarks on license plates and vehicle

       certificate tags “cannot be considered commercial use, as it is a clear government

       activity” defies both common sense and the facts here, which involves roughly 15




                                                 11
Case: 23-1922    Document: 00118118414        Page: 27     Date Filed: 03/11/2024     Entry ID: 6628045




       million dollars in sales of license plates and vehicle registration labels that bear the

       Roberto Clemente trademark.

             Fourth, the Clementes pleaded a claim under the Fifth Amendment.

       Trademarks are entitled to protection under the Takings Clause. The district court

       erred in focusing on the fact that the Clementes can still use their trademark rather

       than Puerto Rico’s destruction of the Clementes’ ability to exclude others from using

       the Roberto Clemente trademark.

             Fifth, the doctrine of qualified immunity does not shield the government

       officials, who had both constructive and actual knowledge that their actions

       infringed on the Roberto Clemente trademark, from liability.

                                    STANDARD OF REVIEW

             The Court reviews de novo the district court’s dismissal of a complaint. Maloy

       v. Ballori-Lage, 744 F.3d 250, 252 (1st Cir. 2014). In deciding whether the district

       court properly dismissed a claim, this Court determines whether the complaint states

       a plausible claim to relief on its face, accepting the plaintiffs’ factual allegations and

       drawing all reasonable inferences in the plaintiffs’ favor. Id. (citations and quotation

       marks omitted). To cross the plausibility threshold, the plaintiffs must plead factual

       content that allows the court to draw the reasonable inference that the defendants are

       liable for the misconduct alleged. Id. (citations and quotation marks omitted).




                                                  12
Case: 23-1922     Document: 00118118414      Page: 28     Date Filed: 03/11/2024    Entry ID: 6628045




                                           ARGUMENT

       I.    The Clementes’ request for retrospective relief is not barred by
             sovereign immunity

             a.     States cannot invoke sovereign immunity to defeat the self-executing
                    Just Compensation guarantee of the Fifth Amendment

             Neither this Court nor the Supreme Court has ruled on the interplay between

       the Constitution’s express guarantee of just compensation and its implicit provisions

       for state sovereign immunity. See Bay Point Props., Inc. v. Mississippi Transp.

       Comm’n, 937 F.3d 454, 456 n.1 (5th Cir. 2019) (acknowledging that “‘the tension’

       between state sovereign immunity and the right to just compensation . . . is [an issue]

       for the Supreme Court”); Add. 52–54 (noting that “the Supreme Court has not

       addressed whether Eleventh Amendment immunity applies to takings claims against

       states or territories” and that “the First Circuit has not dwelled on this thorny

       subject.”). Yet a faithful application of text, history, purpose, and precedent all lead

       to the same conclusion: when the government takes property, it can’t rely on

       sovereign immunity to evade its constitutional duty to compensate the property

       owner.

             Text, history, and purpose specify that sovereign immunity doesn’t obviate

       the need for government to provide just compensation when it takes an individual’s

       property. The text of the Eleventh Amendment only prohibits a court from extending

       the “judicial power of the United States” to any suit “against one of the United States

                                                 13
Case: 23-1922   Document: 00118118414       Page: 29     Date Filed: 03/11/2024    Entry ID: 6628045




       by Citizens of another State, or by Citizens or Subjects of any Foreign State.” U.S.

       Const. amend. XI. The Supreme Court has explained that the Eleventh Amendment

       does not limit “the sovereign immunity of the States.” Alden v. Maine, 527 U.S. 706,

       713 (1999). Instead, “as the Constitution’s structure, and its history, and the

       authoritative interpretations” by the Supreme Court make clear, “the States’

       immunity from suit [in state and federal court] is a fundamental aspect of the

       sovereignty which the States enjoy[] . . . except as altered by the plan of the

       Convention or certain constitutional Amendments.” Id.

             The Fifth Amendment contains the only self-executing provision in the Bill

       of Rights. See U.S. Const. amend. V. (“[N]or shall private property be taken for

       public use, without just compensation.”). That means that the Takings Clause is

       unique among the provisions in the Bill of Rights in that it not only acknowledges

       limitations on government power, but also sets forth the remedy if government fails

       to abide by them. Davis v. Burke, 179 U.S. 399, 403 (1900) (“A constitutional

       provision may be said to be self-executing if it supplies a sufficient rule by means of

       which the right given may be enjoyed and protected, or the duty imposed may be

       enforced.”) (citation and internal quotation marks omitted). The Fifth Amendment’s

       text thus dictates that, when the government takes private property, it may not use

       sovereign immunity to escape its duty to provide just compensation.




                                                 14
Case: 23-1922    Document: 00118118414      Page: 30     Date Filed: 03/11/2024    Entry ID: 6628045




             It could hardly be otherwise. 3 The Takings Clause “was designed to bar

       Government from forcing some people alone to bear public burdens which, in all

       fairness and justice, should be borne by the public as a whole.” Armstong v. United

       States, 364 U.S. 40, 49 (1960). Yet a rule that allows the government to assert

       sovereign immunity in takings cases would make matters worse not only by

       depriving property owners of their property, but also by forcing them to shoulder all

       of the costs.

             The Fourteenth Amendment incorporated the protections of the Takings

       Clause against the states. See Chicago, B. & Q.R. Co. v. City of Chicago, 166 U.S.

       226, 239–41 (1897). A leading proponent of the Fourteenth Amendment explained

       that the Takings Clause must be applied against the states to protect “citizens of the

       United States, whose property, by State legislation, has been wrested from them,

       under confiscation.” Akhil Reed Amar, The Bill of Rights: Creation and

       Reconstruction 268 (1998). This history suggests that just as “the principle of state

       sovereignty” is “necessarily limited by the enforcement provisions of § 5 of the

       Fourteenth Amendment,” Fitzpatrick v. Bitzer, 427 U.S. 445, 456 (1976), so too is

       that principle necessarily limited by the Fourteenth Amendment’s application of the



       3
         The remedy for a Takings Clause violation, unlike the remedy for violations of
       other provisions in the Bill of Rights, is generally “just compensation” rather than
       injunctive relief. See Knick v. Twp. of Scott, 139 S. Ct. 2162, 2176–77 (2019).

                                                15
Case: 23-1922    Document: 00118118414      Page: 31    Date Filed: 03/11/2024    Entry ID: 6628045




       self-executing Takings Clause to the states. Because the states agreed to ratify the

       Fifth and Fourteenth Amendments, they necessarily consented to the just

       compensation mechanism that is “inherent in the constitutional plan.” PennEast

       Pipeline Co., v. New Jersey, 141 S. Ct. 2244, 2262 (2021); cf. Allen v. Cooper, 140

       S. Ct. 994, 1003 (2020) (“the Bankruptcy Clause itself abrogated sovereign

       immunity” because “the States had already ‘agreed in the plan of the Convention not

       to assert any sovereign immunity defense’ in bankruptcy proceedings”) (quoting

       Cent. Va. Cmty. Coll. v. Katz, 546 U.S. 356, 377 (2006)).

             A long line of Supreme Court precedent leads to the same conclusion. In

       Monongahela Navi. Co. v. United States, the Supreme Court rebuffed the Congress’s

       efforts to determine the measure of compensation it wished to pay for the taking of

       private property. 148 U.S. 312, 327 (1893). The Court observed that “[t]he

       legislature may determine what private property is needed for public purposes,” but

       that it “does not rest with the public, taking the property, through Congress or the

       legislature, its representative, to say what compensation shall be paid, or even what

       shall be the rule of compensation.” Id. On the contrary, the “Constitution has

       declared that just compensation shall be paid, and the ascertainment of that is a

       judicial inquiry.” Id.

             The Supreme Court’s decision in First Eng. Evangelical Lutheran Church of

       Glendale v. County of Los Angeles provides yet more support. 482 U.S. 304, 315–


                                                16
Case: 23-1922   Document: 00118118414       Page: 32     Date Filed: 03/11/2024     Entry ID: 6628045




       16 (1987). There, the Supreme Court refuted the argument of the United States that

       the Constitution does not, of its own force, furnish a basis for a court to award money

       damages against the government, and explained that its precedents “make clear that

       it is the Constitution that dictates the remedy for interference with property rights

       amounting to a taking.” Id. at 316 (citing San Diego Gas & Elec. Co. v. San Diego,

       450 U.S. 621, 655, n. 21 (1981) (Brennan, J., dissenting).

             More recently in Knick v. Township of Scott, the Supreme Court overruled a

       prior decision requiring property owners to seek just compensation in state court

       before bringing a federal takings claim. 139 S. Ct. 2162, 2169 (2019). Although the

       government entity in that case was not entitled to sovereign immunity, the Court’s

       reasoning severely undermined the notion that any government may use sovereign

       immunity to avoid paying compensation. For one, the Court in Knick reasoned that

       “because a taking without compensation violates the self-executing Fifth

       Amendment at the time of the taking, the property owner can bring a federal suit at

       that time.” Id. at 2172. The Court also soundly rejected the notion that federal courts

       must play second fiddle to state courts in takings cases. See id. at 2173.

             Knick thus undermines the logic of the court of appeals’ decisions allowing

       state governments to mount sovereign immunity defenses to takings claims. Add. at

       54–55 (citing cases). Those decisions pointed to the fact that the property owners




                                                 17
Case: 23-1922   Document: 00118118414       Page: 33     Date Filed: 03/11/2024    Entry ID: 6628045




       may seek just compensation in state court.4 See Hutto v. S.C. Ret. Sys., 773 F.3d 536,

       552 (4th Cir. 2014). Yet Knick rejected a system that would “relegate[] the Takings

       Clause to the status of a poor relation among the provisions of the Bill of Rights.”

       Knick, 139 S. Ct. at 2169 (internal quotation marks omitted). Plaintiffs “asserting

       any other constitutional claim are guaranteed a federal forum,” but sovereign

       immunity effectively “hands authority over federal takings claims” against a state

       “to state courts.” Id. at 2169–70 (internal quotation marks and brackets omitted).

             The appellate court decisions cited by the district court also took a sharp

       misstep in relying on the Supreme Court’s decision Reich v. Collins, 513 U.S. 106

       (1994). See, e.g., Hutto, 773 F.3d at 552 (noting that the court’s conclusion followed

       by reasoning analogously from Reich). In Reich, the Supreme Court held that the

       Due Process Clause provides a refund remedy for unconstitutionally appropriated

       taxes in state court, but opined in dicta that sovereign immunity would “generally

       bar” a refund claim in federal court. Reich, 513 U.S. at 110. As the Supreme Court

       reiterated in Knick, “the analogy from the due process context to the takings context

       is strained.” 139 S. Ct. at 2174. The Due Process Clause doesn’t expressly provide

       for a self-executing remedy; the Takings Clause does. See id. at 2170-72.




       4
         The district court in this case remarked that sovereign immunity would bar the
       Clemente family’s takings claim even if there were “no local remedy to redress” that
       claim. Add. 55.
                                                18
Case: 23-1922     Document: 00118118414     Page: 34     Date Filed: 03/11/2024    Entry ID: 6628045




             b.     Puerto Rico is not entitled to sovereign immunity

             The Clementes recognize that this Court has held that Puerto Rico is entitled

       to sovereign immunity, see, e.g., Maysonet-Robles v. Cabrero, 323 F.3d 43, 48 n.3

       (1st Cir. 2003), but that holding has been cast into doubt by recent Supreme Court

       opinions. See Fin. Oversight & Mgmt. Bd. for P.R. v. Centro de Periodismo

       Investigativo, Inc., 143 S. Ct. 1176, 1186–88 (2023) (Thomas, J., dissenting)

       (observing that Puerto Rico’s argument that it has sovereign immunity “appears

       untenable”); Puerto Rico v. Sanchez Valle, 579 U.S. 59, 71 (2016) (the Supreme

       Court “concluded in the early decades of the last century that U.S. territories —

       including an earlier incarnation of Puerto Rico itself — are not sovereigns distinct

       from the United States.”). The Clementes assert that Puerto Rico does not enjoy

       sovereign immunity to preserve that argument for further review. Cf. United States

       v. Padilla, 415 F.3d 211, 215 (1st Cir. 2005) (noting an instance in which the court,

       sua sponte, to rehear a question en banc).

             Puerto Rico does not enjoy sovereign immunity. The Supreme Court has

       observed that the states’ sovereign immunity emanates from their sovereignty,

       which they “enjoyed before the ratification of the Constitution, and which they retain

       today” Alden, 527 U.S. at 713.

             But Puerto Rico is a federal territory, which unlike a state, does not enter the

       Union “with [its] sovereignty intact.” Blatchford v. Native Vill. of Noatak, 501 U.S.


                                                19
Case: 23-1922   Document: 00118118414       Page: 35     Date Filed: 03/11/2024    Entry ID: 6628045




       775, 779 (1991). Federal territories “are not sovereigns distinct from the United

       States” and instead derive their powers from the United States. Sánchez Valle, 579

       U.S. at 71; cf. id. at 72 & n.5 (“The States (all of them) are separate sovereigns for

       double jeopardy purposes not (as the dissent claims) because they exercise authority

       over criminal law, but instead because that power derives from a source independent

       of the Federal Government.”) (emphasis in original).

             As a result, Congress may “legislate for the [territories] in a manner with

       respect to subjects that would exceed its powers, or at least would be very unusual,

       in the context of national legislation enacted under other powers delegated to it under

       Art. I, § 8.” Palmore v. United States, 411 U.S. 389, 398 (1973). The Constitution

       itself provides that “Congress shall have Power to dispose of and make all needful

       Rules and Regulations respecting the Territory or other Property belonging to the

       United States.” U.S. Const. Art. IV, § 3, Cl. 2. And this Court has recognized

       Congress’s authority to “not only abrogate laws of the territorial legislatures,” but

       “legislate directly for the local government.” Nat’l Bank v. County of Yankton, 101

       U.S. 129, 133 (1880).

             Puerto Rico enjoys some immunity with respect to its own laws and courts.

       See Porto Rico v. Rosaly, 227 U.S. 270, 273 (1913) (Puerto Rico “is of such nature

       as to come within the general rule exempting a government sovereign in its attributes

       from being sued without its consent”). But this limited immunity, which rests on


                                                 20
Case: 23-1922     Document: 00118118414      Page: 36     Date Filed: 03/11/2024    Entry ID: 6628045




       Puerto Rico’s delegated power to self-governance rather than the inherent immunity

       of a sovereign state, is not enforceable against the federal laws or federal courts, and

       may be abrogated by Congress as part of its plenary control over territories.

             c.     The Lanham Act abrogates the immunity of Puerto Rico and its
                    officials

             To the extent that a clear statement is needed to abrogate Puerto Rico’s limited

       immunity, Congress has provided it in the Lanham Act. See Fin. Oversight & Mgmt.,

       1143 S. Ct. at 1183 (Congress “must make its intent to abrogate sovereign immunity

       ‘unmistakably clear in the language of the statute’”). 5 The text of the Lanham Act

       makes it unmistakably clear that Congress intended to abrogate or waive immunity

       for all governmental entities, officials, and individuals in the United States,

       including Federal, State and Territorial government. 15 U.S.C. § 1122(a), entitled

       “Waiver of sovereign immunity by the United States,” provides a waiver of

       sovereign immunity for the “United States, all agencies and instrumentalities

       thereof, and all individuals, firms, corporations, other persons acting for the United

       States and with the authorization and consent of the United States.” For purposes of


       5
         The facts in this case underscore that the United States manages Puerto Rico’s
       affairs in ways that would be unimaginable if Puerto Rico were a state. Congress set
       up a system “for overseeing Puerto Rico’s finances,” and a board that “approves and
       enforces the Commonwealth’s fiscal plans and budgets, and supervises the
       Commonwealth’s borrowing.” Fin. Oversight & Mgmt. Bd., 143 S. Ct. at 1181. The
       Act requires Puerto Rico to send the Board the text of each new law and allows the
       Board to prevent the enforcement of laws significantly inconsistent with its fiscal
       plan. 48 U.S.C. § 2144(a).
                                                 21
Case: 23-1922    Document: 00118118414       Page: 37     Date Filed: 03/11/2024     Entry ID: 6628045




       the Lanham Act, the United States includes Puerto Rico because “United States

       includes and embraces all territory which is under its jurisdiction and control.” Id.

       § 1127. All this reflects Congress’s intent in enacting the Lanham Act “to protect

       registered marks used in such commerce from interference by State, or territorial

       legislation.” 15 U.S.C. § 1127.

             Even if Puerto Rico is viewed as more like a state, the Lanham Act provides

       a clear statement that Congress intended to waive Puerto Rico’s Immunity.

       § 1125(b) provides that “Any State, instrumentality of a State or any officer or

       employee of a State or instrumentality of a State acting in his or her official capacity,

       shall not be immune, under the eleventh amendment of the Constitution of the United

       States or under any other doctrine of sovereign immunity.” Id. (emphasis added).

             As stated above, the fact that Puerto Rico is a Territory subject to the plenary

       power of Congress makes the abrogation doctrine employed in Coll. Sav. Bank v.

       Florida Prepaid Postsecondary Educ. Expense Board, 527 U.S. 666 (1999),

       inapplicable to this case. But even if Puerto Rico were entitled to sovereign

       immunity similar to the immunity that states enjoy, Congress has properly abrogated

       it here. In College Savings Bank, the Supreme Court concluded that Congress

       intended to abrogate sovereign immunity of States in the Lanham Act, but lacked

       the authority to do so under the Fourteenth Amendment regarding the false

       advertisement cause of action in 15 U.S.C. § 1125.


                                                  22
Case: 23-1922      Document: 00118118414     Page: 38    Date Filed: 03/11/2024   Entry ID: 6628045




                When considering if State immunity was validly abrogated under the

       Fourteenth Amendment, the Supreme Court explained that “[t]he Lanham Act may

       well contain provisions that protect constitutionally cognizable property interests—

       notably, its provisions dealing with infringement of trademarks, which are the

       ‘property’ of the owner because he can exclude others from using them.”

       College Savings Bank, 527 U.S. at 673 (emphasis added). There was no deprivation

       of property in College Savings Bank that allowed an abrogation of State immunity.

                According to the expressions in College Savings Bank, the abrogation of

       States’ sovereign immunity regarding the provisions of the Lanham Act dealing with

       infringement of trademarks, as a protection of property rights under the Fourteenth

       Amendment, is valid. In this case, the Defendants’ conduct constitutes trademark

       infringement, and some also constitutes false-advertising. Therefore, even if Puerto

       Rico were treated as having the sovereign immunity of a State, no dismissal is in

       order.

                Likewise, the Court’s other decision in Florida Prepaid Postsecondary Educ.

       Expense Board v. College Sav. Bank, 527 U.S. 627 (1999), does not preclude the

       claims here. In that case, the Supreme Court made a detailed and specific analysis

       of the Patent Remedy Act and concluded that its historical record and the scope of

       coverage made it clear that the Patent Remedy Act cannot be sustained under the

       Fourteenth Amendment. Id. at 646, 647. No similar analysis was made in College


                                                 23
Case: 23-1922     Document: 00118118414     Page: 39     Date Filed: 03/11/2024    Entry ID: 6628045




       Savings Bank regarding the Lanham Act, and the analysis cannot be extrapolated to

       trademark legislation because trademarks are a form of a property right that predates

       the Constitution. B&B Hardware, Inc. v. Hargis Indus., Inc., 575 U.S. 138, 142

       (2015).6

             In any case, the historical record analysis to determine the remedial or

       preventive nature of a statute under the Fourteenth Amendment is a doctrine to

       protect federalism and the sovereign immunity of the States that predated the

       Constitution, and it is inapplicable to Puerto Rico.

             Finally, the Lanham Act abrogates any immunity, including qualified

       immunity, of government officials or governmental entities. The Lanham Act

       provides that remedies are available against the United States and state officers to

       the same extent that they are available against “any person,” and that such remedies

       include injunctive relief, damages, profits, costs, attorneys’ fees, and “any other

       remedies” provided in the Lanham Act. 15 U.S.C. § 1122(c). The Act also states that

       “any instrumentality, officer, or employee, shall be subject to the provisions of this

       chapter in the same manner and to the same extent as any nongovernmental entity.”

       15 U.S.C. § 1127.




       6
        Likewise, Allen v. Cooper, 140 S. Ct. 994 (2020), is not controlling because it deals
       with copyrights and not trademarks, and because the State Defendant there presented
       the Court with federalism concerns that are inapplicable here.
                                                 24
Case: 23-1922   Document: 00118118414      Page: 40     Date Filed: 03/11/2024    Entry ID: 6628045




             It has long been established that Congress can abolish common law

       immunities, such as qualified immunity if specifically provided. Pierson v. Ray, 386

       U.S. 547, 554–55 (1967) (“we presume that Congress would have specifically so

       provided had it wished to abolish the doctrine.”); Wyatt v. Cole, 504 U.S. 158, 164

       (1992). And the qualified immunity doctrine has been developed in connection with

       §1983, which does not contain a comprehensive scheme for liability of officials or

       individuals acting under color of law. On the contrary, the Lanham Act specifically

       regulates the liability of such individuals making it clear that Congress abrogated

       any immunity.

             In addition, there is no important governmental function that requires any use,

       even legal or fair, of a private trademark, making the qualified immunity doctrine

       superfluous regarding trademark infringement. Therefore, the qualified immunity

       defense cannot be raised regarding violations of the Lanham Act.

       II.   The Clementes are entitled to prospective relief

             The Clementes are entitled to prospective relief. First, the Clementes are

       entitled to prospective relief against all defendants to prevent the continued

       implementation of Law 67-2022. Second, prospective relief is appropriate to require

       Defendants to provide just compensation to the Clementes as that is the only way by




                                               25
Case: 23-1922   Document: 00118118414        Page: 41     Date Filed: 03/11/2024     Entry ID: 6628045




       which Defendants can stop their unconstitutional taking of the Roberto Clemente

       trademark.

             It is well-settled that the Court can issue injunctive relief to prevent defendants

       from continuing to violate a plaintiff’s rights. For instance, the doctrine of Ex parte

       Young, 209 U.S. 123 (1908), provides for injunctive relief against government

       officials to cease an ongoing violation of federal law, including the federal

       Constitution. Verizon Maryland, Inc. v. Pub. Serv. Comm’n of Maryland, 535 U.S.

       635, 645 (2002). Ex parte Young also allows a plaintiff to seek prospective injunctive

       relief before government officials violate that plaintiff’s federal constitutional or

       statutory rights. Kanuszewski v. Mich. Dep’t of Health & Hum. Servs., 927 F.3d 396,

       417 (6th Cir. 2019).

             Although the district court’s opinion barely mentioned Puerto Rico Law 67-

       2022, the Clementes are plainly entitled to an injunction preventing defendants from

       implementing that law. After all, the Clementes seek forward-facing relief enjoining

       Defendants from the unauthorized use of the Roberto Clemente trademark in

       connection with the Roberto Clemente Sports District—a project that the Clementes

       neither endorsed nor approved. The Roberto Clemente Sports District illegally uses

       the trademark in the name with which it is identified. The revenues to be made by

       the use of the Roberto Clemente trademark in the enormous project of the Roberto

       Clemente Sports District as described in Law 67-2022, are immeasurable. The


                                                 26
Case: 23-1922     Document: 00118118414     Page: 42    Date Filed: 03/11/2024    Entry ID: 6628045




       Clementes’ request to enjoin the creation and development of the Roberto Clemente

       Sports District is proper.

             Additionally, the Clementes are entitled to an injunction ordering the

       government defendants to prevent the continued violation of the Clementes’ Fifth

       Amendment rights by paying just compensation. That’s because the Takings Clause

       doesn’t prohibit all takings, but prohibits takings “without just compensation.” U.S.

       Const. amend. V. The government defendants here have already improperly used the

       Roberto Clemente trademark through their enforcement of Resolution Nos. 16 and

       17. They cannot undo the taking of the trademark. Therefore, compensation is

       “required by the Constitution,” First Eng., 482 U.S. at 316, because it is the only

       way by which the Court can stop the constitutional violation.

             Sovereign immunity does not bar injunctive relief just because it will include

       payment of some government funds. In Milliken v. Bradley, for instance, the

       Supreme Court required state officials to pay for a comprehensive education

       program for school children who had been subjected to past acts of de jure

       segregation. 433 U.S. 267, 269 (1977). Sovereign immunity did not block an Ex

       Parte Young action seeking “the payment of state funds” because it was a “a

       necessary consequence of compliance in the future with a substantive federal-

       question determination.” Id. at 289 (quoting Edelman v. Jordan, 415 U.S. 651, 668

       (1974)).


                                                27
Case: 23-1922       Document: 00118118414    Page: 43    Date Filed: 03/11/2024    Entry ID: 6628045




               Additionally, the government of Puerto Rico has no power to constitutionally

       take a property right that exists in the rest of the United States. Puerto Rico Const.

       Art. I, § 3, provides that “[t]he political authority of the Commonwealth of Puerto

       Rico shall extend to the Island of Puerto Rico and to the adjacent islands within its

       jurisdiction.” Puerto Rico’s Constitution and laws are intended to resolve internal

       situations. Green Giant Co. v. Tribunal Superior, 104 D.P.R. 489, 496 (1975).

       Therefore, a trademark registered in the United States Patent and Trademark Office,

       that is a property right enforceable nationally, cannot be validly taken by the

       government of Puerto Rico. And there’s no public use justification that would allow

       the government to take a registered trademark, because no governmental function

       requires any use of a private trademark. In absence of a valid taking for public use

       and given that in this case the taking cannot be undone, just compensation must be

       paid.

       III.    The Clementes stated a plausible claim for relief under the Lanham Act

               a.     The District Court improperly dismissed the Clementes’ claim under
                      15 U.S.C. § 1114, 1225(a)(1)(A), 1125(c) and in relation with Law 67-
                      2022 sua sponte.

               The Court of Appeals reviews “the granting of a motion to dismiss for lack of

       subject matter jurisdiction de novo.” Román-Cancel v. United States, 613 F.3d 37,

       41 (1st Cir. 2010). But since the district court sua sponte dismissed several claims



                                                 28
Case: 23-1922   Document: 00118118414      Page: 44    Date Filed: 03/11/2024    Entry ID: 6628045




       against the government and the government officials, the standard of review is the

       harshest against the dismissal.

             “Sua sponte dismissals are strong medicine, and … are erroneous unless the

       parties have been afforded notice and an opportunity to amend the complaint or

       otherwise respond.” Chute v. Walker, 281 F.3d 314, 319 (1st Cir. 2002) (internal

       quotations and references omitted). A plaintiff who encounters an argument on a

       motion to dismiss has notice of the argument and the opportunity to amend. See Fed.

       R. Civ. Proc. 15(a). By contrast, a sua sponte dismissal of a plaintiff’s claims

       deprives that plaintiff of the core protections to amend or respond. It will thus be

       “the rare case” in which a sua sponte dismissal without leave to amend will be

       upheld. González-González v. United States, 257 F.3d 31, 36–37 (1st Cir. 2001).

             In this case, Defendants did not raise any argument for dismissal regarding

       violation of 15 U.S.C. § 1114, concerning the unauthorized use of a registered mark,

       which make them liable in a civil action by the registrant for damages under 15

       U.S.C. § 1117. They made no argument on false association, § 1125(a)(1)(A) or

       dilution § 1125 (c). And their argument for dismissal revolved on the issue of the

       motor vehicle license plates and registration labels and omitted the Roberto

       Clemente Sports District. 7


       7
        Regarding the Roberto Clemente Sports District, the Secretary of the Department
       of Sports and Recreation in his official capacity, only alleged that he has not yet
       executed any functions, and consequently, no relief may be granted. Dkt. 42.
                                               29
Case: 23-1922     Document: 00118118414      Page: 45     Date Filed: 03/11/2024    Entry ID: 6628045




             Therefore, the sua sponte dismissal of all those claims must be reversed. But

       even if the Court proceeds to the merits, the Clementes have stated a claim under

       several provisions of the Lanham Act.

             b.     Violation of 15 U.S.C. § 1114

             Under the Lanham Act, any person who shall, without the consent of the

       registrant use in commerce any reproduction, counterfeit, copy, or colorable

       imitation of a registered mark in connection with the sale, offering for sale,

       distribution, or advertising of any goods or services on or in connection with which

       such use is likely to cause confusion, or to cause mistake, or to deceive; or reproduce,

       counterfeit, copy, or colorably imitate a registered mark and apply such

       reproduction, counterfeit, copy, or colorable imitation to labels, signs, prints, or

       advertising of goods or services on or in connection with which such use is likely to

       cause confusion, or to cause mistake, or to deceive, is liable. 15 U.S.C. § 1114.

             The district court concluded that each Lanham Act claim, including trademark

       infringement claims under Section 1114, “requires proof of use in commerce and

       commercial use.” Add. 37. But, although the term “use in commerce” is defined in

       15 U.S.C. § 1127,8 that restrictive definition does not apply to infringement. “When


       Likewise, the District Authority only alleged that its involvement is tangential, that
       it will act according to Puerto Rico law and that PR Act 139-2011 governs. Dkt. 36.
       8
         The term “use in commerce” means the bona fide use of a mark in the ordinary
       course of trade, and not made merely to reserve a right in a mark. For purposes of
       this chapter, a mark shall be deemed to be in use in commerce--
                                                 30
Case: 23-1922   Document: 00118118414       Page: 46     Date Filed: 03/11/2024    Entry ID: 6628045




       the Trademark Act was amended in 1988 to authorize federal registration based on

       ‘intent to use,’ as well as actual use in commerce, the legislative reports explicitly

       recognized that this statutory definition of ‘use in commerce’ applies to the use of a

       trademark for purposes of federal registration, and reaffirmed that an infringing use

       may be ‘use of any type’:

             [T]he revised definition [of use in commerce] is intended to apply to all
             aspects of the trademark registration process, from applications to
             register, whether they are based on use or on intent-to-use, and
             statements of use filed under Section 13 of the Act, to affidavits of use
             filed under Section 8, renewals and issues of abandonment. Clearly,
             however, use of any type will continue to be considered in an
             infringement action.

       S. Rep. No. 100–515, at 45 (1988).” VersaTop Support Sys., LLC v. Georgia Expo,

       Inc., 921 F.3d 1364, 1369 (Fed. Cir. 2019). But here, the trademark was illegally

       used even applying the standard most favorable to Defendants.

             “[A] plaintiff must establish (1) that its mark is entitled to trademark

       protection, and (2) that the allegedly infringing use is likely to cause consumer


       (1) on goods when--
       (A) it is placed in any manner on the goods or their containers or the displays
       associated therewith or on the tags or labels affixed thereto, or if the nature of the
       goods makes such placement impracticable, then on documents associated with the
       goods or their sale, and
       (B) the goods are sold or transported in commerce, and
       (2) on services when it is used or displayed in the sale or advertising of services and
       the services are rendered in commerce, or the services are rendered in more than one
       State or in the United States and a foreign country and the person rendering the
       services is engaged in commerce in connection with the services. 15 U.S.C. § 1127.

                                                 31
Case: 23-1922   Document: 00118118414       Page: 47    Date Filed: 03/11/2024    Entry ID: 6628045




       confusion. Bos. Duck Tours, LP v. Super Duck Tours, LLC, 531 F.3d 1, 12 (1st Cir.

       2008); DeCosta v. Viacom Int’l, Inc., 981 F.2d 602, 605 (1st Cir. 1992).

             There is no controversy that the Roberto Clemente trademark, as a registered

       trademark, is entitled to protection under the Lanham Act. Add. 42. That is because

       “[r]egistration of a mark on the principal register … shall be constructive notice of

       the registrant’s claim of ownership thereof” 15 U.S.C. § 1072, and “[t]his system of

       federal registration helps to ensure that trademarks are fully protected.” Matal v.

       Tam, 582 U.S. 218, 225 (2017).

             Nor there is controversy that in this case there is a use of the trademark.

       Add. 42. This is the “[t]he typical situation in a trademark case involv[ing] the

       defendant’s having passed off another’s mark as its own.” Century 21 Real Est.

       Corp. v. LendingTree, Inc., 425 F.3d 211, 217 (3d Cir. 2005); Swarovski

       Aktiengesellschaft v. Bldg. No. 19, Inc., 704 F.3d 44, 49 (1st Cir. 2013). The use of

       the trademark is undeniable. “[W]hen … marks are ‘legal equivalents’ … they create

       the same, continuing commercial impression.” Hana Fin., Inc. v. Hana Bank, 574

       U.S. 418, 420 (2015). The doctrine of legal equivalents recognizes that “a word mark

       can infringe a picture mark if the word mark evokes the picture mark, and a picture

       mark can infringe a word mark where the picture is a depiction of the word.”

       Fleischer Studios, Inc. v. A.V.E.L.A., Inc., 925 F.Supp.2d 1067, 1077 (C.D. Cal.

       2012). A pictorial depiction can be the legal equivalent of a word mark. Legal


                                                32
Case: 23-1922    Document: 00118118414        Page: 48     Date Filed: 03/11/2024   Entry ID: 6628045




       equivalents are likely to impress the same mental image. A design mark may be

       found to be confusingly similar to a word mark consisting of the design’s literal

       equivalent. See Trademark Manual of Examining Procedure (TMEP), United States

       Patent and Trademark Office, July 2022, section 1207.01(c)(i) Legal Equivalents –

       Comparison of Words and Their Equivalent Designs. Therefore, the use of a pictorial

       depiction of the Roberto Clemente trademark is a use of the trademark.

             The only remaining issue is if the use of the trademark infringes the Lanham

       Act. It does. Defendants’ actions establish liability under 15 U.S.C. § 1114 because

       a trademark like Roberto Clemente has such an intrinsic value separate from any

       product it endorses. The registered trademark itself was the good or service for which

       the infringer charged and made a profit through its unauthorized use.

             As stated above, the government charged fees not for any typical license plate

       or vehicle registration label, but for the Roberto Clemente trademark imprinted on

       specialized license plate and vehicle registration labels—which trademark netted the

       government roughly 15 million dollars.

             This Court need not analyze consumer confusion because the infringer is not

       making a profit from the sale of a good or service by misleading the consumer about

       its origins, it is making a profit using the trademark itself.

             But in any case, the confusion naturally happened. Because it is common

       knowledge that the Clementes are the owners of the Roberto Clemente trademark,


                                                  33
Case: 23-1922    Document: 00118118414      Page: 49     Date Filed: 03/11/2024    Entry ID: 6628045




       the People of Puerto Rico inferred that the Clementes were recipients of monies from

       the sale of the trademark. The contempt of the People of Puerto Rico against the

       Clementes for apparently charging those monies flooded televised, written and on-

       line press, social networks, events, everyday social activities, and so on. The Roberto

       Clemente trademark and the Clementes were perceived as blameworthy actors for

       the growing impoverishment of the People of Puerto Rico. A23, A25.9

             In general terms, Defendants and the district court rejected that the

       unauthorized use of the trademark infringed the Lanham Act, because of the nature

       of the goods and services in question. Again, the good or service for which the

       government charged was the trademark itself, not the vehicle license plates and

       labels.

             Regardless, the district court conclusion that motor vehicle license plates and

       tags are not the classes of products that trademark law protects is plainly wrong.

       Vehicle registration goods and services are specifically listed as examples in classes

       6, 20 and 35, all of which are included in the Roberto Clemente Trademark




       9
         The district court deemed these facts as false when concluding that there is not
       likelihood of confusion, even though confusion actually happened. Add. 48–49. That
       is contrary to the legal standard that must be applied when resolving a motion to
       dismiss.
                                                 34
Case: 23-1922    Document: 00118118414       Page: 50     Date Filed: 03/11/2024     Entry ID: 6628045




       Registration. 10 Class 20 includes any kind of plastic label,11 and labels, signs, prints

       are examples of infringement cited in 15 U.S.C. § 1114. To support its contrary

       conclusion, the lower court cited Walker v. Texas Div., Sons of Confederate

       Veterans, Inc., 576 U.S. 200 (2015), which is a First Amendment case involving

       government speech and does not even mention trademarks. Add. 43.

             In any case, the Lanham Act’s construction of the term commercial use for

       purposes of infringement must be very broad to secure the purposes of the act. See

       VersaTop Support Sys., 921 F.3d at 1369. The Lanham Act has been applied to a

       wide variety of non-commercial public and civic benefits, for example, non-profit

       solicitations, political activities, and non-profits disseminating information. United

       We Stand Am., Inc. v. United We Stand, Am. N.Y., Inc., 128 F.3d 86, 90 (2d Cir.

       1997). Placing products in the stream of commerce is unnecessary for the Lanham

       Act to protect against the improper use of a trademark. Id, (citation omitted). In all,

       the Lanham Act is not restricted to profit-making activities or to commercial

       organizations. See Trusted Integration v. United States, 679 F.Supp.2d 70, 80–81

       (D.D.C. 2010) (concluding that the Department of Justice can violate the statute).


       10
          Some examples are: vehicle registration plates of metal are item 006-1797; state
       vehicular registration and title transfer are item 035-93; registration plates, not of
       metal are item 020-1787; registration of written communications and data in the field
       of state vehicular registrations is item 035-2891. https://tmidm.uspto.gov/id-master-
       list-public.html.
       11
            Plastic labels are item 020-288. https://tmidm.uspto.gov/id-master-list-
       public.html.
                                                  35
Case: 23-1922    Document: 00118118414       Page: 51    Date Filed: 03/11/2024   Entry ID: 6628045




               Defendants also infringed the Roberto Clemente trademark thorough Law 67-

       2002, which created the Roberto Clemente Sports District and contemplates the use

       of the trademark in the name of the sports facility.12

               Roberto Clemente Sports City (“Ciudad Deportiva Roberto Clemente”) is one

       of the most iconic good and service endorsed by the trademark. It’s a sports facility

       created by Roberto Clemente himself before his death. Now, under Law 67-2022,

       the government uses the Roberto Clemente trademark in the name of a sports facility

       (unaffiliated with Clemente) to be developed in the same lands of Roberto Clemente

       Sports City. Basically, the government uses the registered trademark to identify a

       good or service that is a knock-off of the most iconic good and service of the

       registered trademark. Leathersmith of London, Ltd. v. Alleyn, 695 F.2d 27, 30 (1st

       Cir. 1982) (noting that the use of the very words of a trademark is enough to show

       likelihood of confusion or mistake, “where the goods are identical and are marketed

       in the same channels of trade”).

               Additionally, the Roberto Clemente trademark registration includes class 41,

       which      contains     providing     sports     facilities   as   item    041-370.


       12
          Surprisingly, the district court did not include any analysis of trademark
       infringement under the Lanham Act regarding the creation of the Roberto Clemente
       Sports District. Therefore, the sua sponte dismissal of that claim must be reversed.
       The Roberto Clemente Sports District is a fully commercial profit-making project.
       See Law 67-2022 (detailing all the commercial activity that will be taking place,
       such as sales contracts, leases, joint ventures, partnerships, developments,
       operations, constructions, etc.).
                                                 36
Case: 23-1922     Document: 00118118414      Page: 52     Date Filed: 03/11/2024    Entry ID: 6628045




       https://tmidm.uspto.gov/id-master-list-public.html; Nice Classification, Eleventh

       Edition, version 2022 (NCL 11-2022). That means there is no doubt that the Roberto

       Clemente trademark is protected from the unauthorized use in relation with sports

       facilities, among other sport related goods and services. 13

             In sum, Resolution 16-2022, Resolution 17-2022 and Law 67-2022 provide

       for trademark infringement under 15 U.S.C. § 1114.

             c.     Violation of 15 U.S.C. § 1125 (a)

             Any person who, on or in connection with any goods or services, uses in

       commerce any word, term, name, symbol, or any false designation of origin, false

       or misleading description of fact, or false or misleading representation of fact, which

       is likely to cause confusion, or to deceive as to the affiliation, connection, or

       association of such person with another person, or as to the origin, sponsorship, or


       13
         The Lanham Act protects registered and unregistered trademarks in registered and
       unregistered classes. The difference is the level of protection and the legal analysis
       of infringement. A registered trademark in specific classes like the Roberto
       Clemente trademark, is vested with the highest level of protection. See Kotabs, Inc.,
       v. Kotex Co., 50 F.2d 810, 812 (3d Cir. 1931) (“there is more in a trade-mark
       infringement case than class determination”); Yale Elec. Corp. v. Robertson, 26 F.2d
       972, 974 (2d Cir. 1928) (“a merchant may have a sufficient economic interest in the
       use of his mark outside the field of his own exploitation to justify interposition by a
       court. His mark is his authentic seal; by it he vouches for the goods which bear it; it
       carries his name for good or ill. If another uses it, he borrows the owner’s reputation,
       whose quality no longer lies within his own control. This is an injury, even though
       the borrower does not tarnish it, or divert any sales by its use; for a reputation, like
       a face, is the symbol of its possessor and creator, and another can use it only as a
       mask.”).

                                                 37
Case: 23-1922   Document: 00118118414        Page: 53     Date Filed: 03/11/2024    Entry ID: 6628045




       approval of his or her goods, services, or commercial activities by another person,

       or in commercial advertising or promotion, misrepresents the nature, characteristics,

       qualities, of his or her goods or services, is liable to any person who believes that he

       or she is or is likely to be damaged by such act. 15 U.S.C. § 1125 (a).

             This section of the Lanham Act protects trademarks regardless of registration.

       The main protection is from false advertisement and false association.

             In Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 134

       (2014), the Supreme Court rejected the argument that only direct competitors may

       sue for false advertisement. The Court also rejected other restrictive interpretations

       of the law and recognized a cause of action for false advertisement, even though the

       case did not involve a typical commercial advertisement. Therefore, the

       interpretation of commercial advertising or promotion for purposes of false

       advertisement claims is broad and guided by the purpose of the Lanham Act.

             The intent of Lanham Act is to make actionable the deceptive and misleading

       use of marks in commerce; to protect registered marks used in commerce from

       interference by State, or territorial legislation; to protect persons engaged in

       commerce against unfair competition and to prevent fraud and deception in

       commerce by the use of reproductions, copies, counterfeits, or colorable imitations

       of registered marks, among others. 15 U.S.C. § 1127. Liability for commercial

       advertising within the meaning of 15 U.S.C. § 1125(a) could take many forms as


                                                 38
Case: 23-1922   Document: 00118118414          Page: 54   Date Filed: 03/11/2024   Entry ID: 6628045




       long as it relates to a commercial activity and clashes with the principles protected

       in the Lanham Act. 14

             “The fact that the injury is to a company’s reputation or goodwill, rather than

       directly to its sales, does not render the confusion any less actionable.” Beacon Mut.

       Ins. Co. v. OneBeacon Ins. Grp., 376 F.3d 8, 15 (1st Cir. 2004). And, “[i]f the

       advertisement is literally false, the court may grant relief without considering

       evidence of consumer reaction.” Clorox Co. Puerto Rico v. Proctor & Gamble Com.

       Co., 228 F.3d 24, 33 (1st Cir. 2000).

             Here, Defendants used the trademark and made misleading and false

       descriptions of facts and representations of facts, in relation to the charges for the

       imprint of the Roberto Clemente name, image, likeness and trademark in the license

       plates and registration labels, and in relation to the Roberto Clemente Sports District

       project that would generate significant revenue for the government. The

       unauthorized use of the trademark and the misleading and false descriptions of fact

       and representations of facts were made in the laws, in the license plates and

       registration labels, in the document of permit for motor vehicles, to the press, and so




       14
         Commercial activity is an activity conducted to make a profit. Black’s Dictionary,
       tenth edition, p. 41.
                                                  39
Case: 23-1922      Document: 00118118414     Page: 55     Date Filed: 03/11/2024     Entry ID: 6628045




       on. A19, A24 (¶¶ 3.39, 3.66). All methods that communicate information to the

       public.15

             Those uses of the trademark and the misleading and false descriptions of facts

       and representations of facts constitute false advertisement and false association

       because they misled the public to believe that the Clementes endorsed the charges

       for the trademark in license plates and registration labels, and the new sports district.

       This cause commercial injury to the trademark because the initiatives were

       repudiated by the People.16 Therefore, the claim under 15 U.S.C. § 1125 (a) must

       proceed.

             15 U.S.C. § 1125 (a) is also the federal equivalent protection of the right of

       publicity, which protects image, name and likeness. ETW Corp. v. Jireh Pub., Inc.,

       332 F.3d 915, 924 (6th Cir. 2003). The right of publicity had been described as a

       right emanating from state law, but the doctrine has evolved. The unauthorized use

       of the general components of the right of publicity, like name, photograph, portrait,


       15
          In fact, “Class 035-Advertising and business,” includes state vehicular registration
       and title transfer, item 035-93, and registration of written communications and data
       in the field of state vehicular registrations is item 035-2891.
       https://tmidm.uspto.gov/id-master-list-public.html. Naturally, the purpose of those
       goods is to communicate the information displayed because the goods themselves
       have no significant value without the information imprinted on them. Therefore,
       these are recognized methods of advertising, within the meaning and scope of
       protection of the Lanham Act.
       16
           The “likelihood of confusion inquiry is not limited to actual or potential
       purchasers, but also includes others whose confusion threatens the trademark
       owner’s commercial interest in its mark.” Beacon Mut., 376 F.3d at 16.
                                                  40
Case: 23-1922   Document: 00118118414        Page: 56     Date Filed: 03/11/2024    Entry ID: 6628045




       voice, signature, attribute or any representation of a person that serves to identify

       that person, can violate the Lanham Act. Álvarez Guedes v. Marcano Martínez, 131

       F.Supp.2d. 272 (D.P.R. 2001).

             This section of the law can protect an individual’s image or likeness from

       unauthorized use, even if there’s no trademark registration, if the requirements of

       the federal statute are met. The analysis differs from the state’s law of the right for

       publicity. See Electra v. 59 Murray Enterprises, Inc., 987 F.3d 233, 257(2d Cir.

       2021); see also Parks v. LaFace Recs., 329 F.3d 437, 445 (6th Cir. 2003) (“§ 43(a)

       … permits celebrities to vindicate property rights in their identities against allegedly

       misleading commercial use by others). Celebrities have standing to sue under this

       provision because they possess an economic interest in their identities akin to that of

       a traditional trademark holder. See Waits v. Frito Lay, Inc., 978 F.2d 1093, 1110 (9th

       Cir. 1992) (abrogated on other grounds); see also 4 J. Thomas McCarthy, McCarthy

       on Trademarks and Unfair Competition § 28:15 (4th ed. 2002) (discussing cases).

             According to Puerto Rico Law 139-2011, Art. 5, the Clementes (as the heirs

       of Roberto Clemente) were vested with the ownership of Roberto Clemente’s image,

       name and likeness. That property right, once attained, is protected by the Lanham

       Act, and cannot be taken or violated under local statutes. See U.S. Const. art. VI, cl.

       2. Therefore, Resolution 16-2022, Resolution 17-2022 and Law 67-2022, which




                                                 41
Case: 23-1922     Document: 00118118414      Page: 57     Date Filed: 03/11/2024     Entry ID: 6628045




       provide for the unauthorized use of Roberto Clemente’s image, name and likeness,

       violate 15 U.S.C.A. § 1125 (a).

             d.     Violation of 15 U.S.C. § 1125 (c)

             Subject to the principles of equity, the owner of a famous mark that is

       distinctive, inherently or through acquired distinctiveness, must be entitled to an

       injunction against another person who, at any time after the owner’s mark has

       become famous, commences use of a mark or trade name in commerce that is likely

       to cause dilution by blurring or dilution by tarnishment of the famous mark,

       regardless of the presence or absence of actual or likely confusion, of competition,

       or of actual economic injury. 15 U.S.C. § 1125 (c).

             This section of the Lanham Act protects famous marks, like Roberto

       Clemente, from dilution by blurring or dilution by tarnishment, regardless of the

       presence of actual or likely confusion, of competition, or of actual economic injury.

       Jack Daniel’s Properties, Inc. v. VIP Prod. LLC, 143 S. Ct. 1578, 1584 (2023). It

       contains an injunctive remedy, but is also a basis for civil liability. 15 U.S.C. § 1117.

             In a dilution case, the question is whether the reputation of the famous

       trademark was harmed. Jack Daniel’s, 143 S. Ct. at 1579. “The overriding purpose

       of anti-dilution statutes is to prohibit a merchant of noncompetitive goods from

       selling its products by trading on the goodwill and reputation of another’s mark.”




                                                  42
Case: 23-1922   Document: 00118118414        Page: 58     Date Filed: 03/11/2024     Entry ID: 6628045




       L.L. Bean, Inc. v. Drake Publishers, Inc., 811 F.2d 26, 30 (1st Cir. 1987). Therefore,

       classes of goods or competitor status are not dispositive for these claims.

             “A trademark owner may obtain relief under an anti-dilution statute if his

       mark is distinctive and there is a likelihood of dilution due to (1) injury to the value

       of the mark caused by actual or potential confusion, (2) diminution in the uniqueness

       and individuality of the mark, or (3) injury resulting from use of the mark in a manner

       that tarnishes or appropriates the goodwill and reputation associated with plaintiff’s

       mark.” Id. “The threat of tarnishment arises when the goodwill and reputation of a

       plaintiff’s trademark is linked to products which are of shoddy quality or which

       conjure associations that clash with the associations generated by the owner’s lawful

       use of the mark.” Id. at 31. “The harm occurs when a trademark’s identity and

       integrity—its capacity to command respect in the market—is undermined due to its

       inappropriate and unauthorized use by other market actors.” Id. Where confusion

       “injured the trademark holder’s goodwill and business reputation, no further

       showing of injury is necessary.” Beacon Mut., 376 F.3d at 20.

             As explained, the contempt of the People of Puerto Rico against the Clementes

       for apparently charging for the impression of the trademark in license plates and

       registration labels flooded televised, written and on-line press, social networks,

       events and everyday social activities. the Roberto Clemente trademark was

       perceived as blameworthy for the growing impoverishment of the People of Puerto


                                                 43
Case: 23-1922     Document: 00118118414     Page: 59     Date Filed: 03/11/2024    Entry ID: 6628045




       Rico and as an unstable trademark rejected in Puerto Rico, the birthplace of Roberto

       Clemente. A23, A25, A32. Defendants’ unauthorized use plainly tarnished the

       Roberto Clemente trademark.

             In sum, Defendants violated the Clementes’ rights under the Lanham Act.

       Therefore, The Clementes are entitled to the remedies provided for in 15 U.S.C.

       § 1117 and the injunctive remedies included in 15 U.S.C. § 1116 and 1125 (c).

       IV.   The Clementes stated a plausible claim for relief under the Takings
             Clause of the Fifth Amendment

             a.     The Roberto Clemente Trademark is a constitutionally protected
                    property right under the Fifth Amendment’s Takings Clause

             Although the district court did not conclusively decide whether trademarks

       were cognizable under the Fifth Amendment’s Takings Clause, Add. 55, trademarks

       merit protection under the Takings Clause. The Fifth Amendment’s Takings Clause

       states that “nor shall private property be taken for public use, without just

       compensation.” U.S. Const. Amend. V. The Fifth Amendment protects “‘private

       property’ without any distinction between different types.” Horne v. Dep’t of Agric.,

       576 U.S. 351, 358, (2015). This includes tangible and intangible property rights. See,

       e.g., Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1003 (1984). The Constitution

       itself does not create property rights. Phillips v. Wash. Legal Found., 524 U.S. 156,

       164, (1998). Rather, the existence of a property right derives from “existing rules or

       understandings that stem from an independent source such as state law.” Id. While

                                                44
Case: 23-1922   Document: 00118118414        Page: 60     Date Filed: 03/11/2024    Entry ID: 6628045




       state law is a common source of recognized property interests, it is not the only

       source. Courts also examine “traditional property law principles,” historical

       practices, and Supreme Court precedent. Tyler v. Hennepin Cnty., 143 S. Ct. 1369,

       1375 (2023).

             Trademarks satisfy the requirements of what constitute constitutionally

       protected property under the Takings Clause. First, both state and common law

       recognize trademarks as protected property. Second, trademarks embody traditional

       property law principles found in real and personal property. Trademarks are thus

       cognizable under the Fifth Amendment’s Takings Clause.

                    1.     Trademarks derive from state and common law

             Trademarks have been protected as property rights since the founding and

       originally derive from common law. “Trademarks and their precursors have ancient

       origins, and trademarks were protected at common law and in equity at the time of

       the founding of our country.” Tam, 582 U.S. at 224. State common law has long

       recognized the right of an individual or business to adopt or use a symbol to

       distinguish the use and sale of goods or property to the exclusion of all others. Trade-

       Mark Cases, 100 U.S. 82, 92 (1879). One of the functions of trademarks as a

       property interest is to protect the reputation and goodwill that flows from using the

       mark. Hanover Star Milling Co. v. Metcalf, 240 U.S. 403, 413 (1916); Tam, 582 U.S.

       at 224. Goodwill is also a protected property right. Coll. Sav. Bank, 527 U.S. at 675.


                                                 45
Case: 23-1922   Document: 00118118414       Page: 61    Date Filed: 03/11/2024    Entry ID: 6628045




       Trademarks under the common law are “classed among property rights.” Hanover

       Star Milling Co., 240 U.S. at 413; Trade-Mark Cases, 100 U.S. at 92.

              The territory of Puerto Rico also recognizes trademarks as property and

       protects both registered and unregistered marks. Dorpan, S.L. v. Hotel Meliá, Inc.,

       728 F.3d 55, 63 (1st Cir. 2013) (citing 10 L.P.R.A. § 223a). The right of likeness

       and the right to one’s image is also a distinct property right in Puerto Rico. Cortés

       Camacho v. Quizno’s Sub, Inc. 173 D.P.R. 254, 266-67. Puerto Rico’s recognition

       of trademarks as property rights also shows that the Clementes’ property right in the

       Roberto Clemente trademark derives from an independent source similar to state

       law.

              Trademarks can therefore be distinguished from copyrights and patents as

       trademarks are not created under federal law.17 B&B Hardware, Inc., 575 U.S. at

       142; The Lanham Act did not create the property right of a trademark; rather, the

       owner of the mark already has the property right established by prior use. Id.; In re

       Int’l Flavors & Fragrances, Inc., 183 F.3d 1361, 1366 (Fed. Cir. 1999) 18;15 U.S.C.


       17
         Unlike copyrights and patents which are created by the Constitution’s Intellectual
       Property Clause, trademarks as property rights rest exclusively on the laws of the
       states, and federal legislation on trademarks is created under the Commerce Clause.
       Trade-Mark Cases, 100 U.S. at 93-94. Trademarks as a property interest derive from
       state and common law, not federal law. Id.
       18
          The district court improperly cited Int’l Flavors to support the notion that a
       trademark may not be a property right “[t]he federal registration of a trademark does
       not create an exclusive property right in the mark.” Add. 52 (quoting In re Int’l
                                                46
Case: 23-1922   Document: 00118118414       Page: 62    Date Filed: 03/11/2024    Entry ID: 6628045




       § 1501(a) (Owner acquires rights in the trademark through use of the mark.). The

       Lanham Act was designed to “to secure to the owner of the mark the goodwill of his

       business and to protect the ability of consumers to distinguish among competing

       producers.” Park’n Fly v. Dollar Park & Fly, 469 U.S. 189, 198 (1985). The Lanham

       Act further solidifies the protection of a trademark by providing a national registry

       and expanding the protections afforded to owners of trademarks. See In re Int’l

       Flavors, 183 F.3d at 1366–67. Although the Lanham Act does not create the property

       interest of a trademark, the Lanham Act’s protection of trademarks bolsters the

       common law understanding that trademarks are distinct property rights.

             Trademarks therefore meet the constitutional definition of property under the

       Fifth Amendment because their existence as a property right derives from

       independent sources such as state and common law.

                    2.    Trademarks bear the hallmark of constitutionally protected
                          property and adhere to traditional property law principles

             The Clementes’ property interest in their trademark grants them the right to

       exclude others from using the Roberto Clemente mark. “The hallmark of a

       constitutionally protected property right is the right to exclude others.” Coll. Sav.

       Bank, 527 U.S. at 673; Kaiser Aetna v. United States, 444 U.S. 164, at 176 (1979).


       Flavors, 183 F.3d at 1366). Yet the quote merely states that registration of the
       trademark itself doesn’t create the property interest. On the contrary, a property
       interest arises from the trademark holder’s use of the trademark.

                                                47
Case: 23-1922   Document: 00118118414        Page: 63    Date Filed: 03/11/2024    Entry ID: 6628045




       Under common law, the property right in a trademark grants the right of the owner

       to exclude all others from using the mark. S.F. Arts & Ath., Inc. v. United States

       Olympic Comm., 483 U.S. 522, 534, (1987) (citing Trade-Mark Cases, 100 U.S. at

       92). “Trademark law, like contract law, confers private rights, which are themselves

       rights of exclusion.” K Mart Corp. v. Cartier, 485 U.S. 176, 185, (1988); Hanover

       Star Milling Co., 240 U.S. at 413. The Lanham Act also grants the holder of a

       trademark the exclusive use of the mark. 15 U.S.C. §§ 1057(b), 1065, 1115(b); see

       also Coll. Sav. Bank, 527 U.S. at 673 (noting that the owner of trademark has the

       right to exclude others and that the Lanham Act’s section on trademark infringement

       likely protects a cognizable property interest due to the owner’s right to exclude).

       Trademarks thus contain one of the primary and most important attributes of a

       protected property interest: the right to exclude others.

             The intangible nature of trademarks does not diminish the traditional property

       law principles inherent in a trademark. The Supreme Court has elaborated that when

       intangible forms of property, such as trade secrets, contain similar traits to tangible

       property, a protected property right exists. See, e.g., Ruckelshaus, 467 U.S. at 1002.

       Trademarks, like trade secrets, also resemble tangible property. A trademark is

       assignable, 15 U.S.C. § 1060, and perpetual (provided renewal applications are

       timely filed). 15 U.S.C. § 1059. As discussed above, trademarks are established by

       an individual’s or business’s use of the mark—through labor—which is another


                                                 48
Case: 23-1922     Document: 00118118414      Page: 64     Date Filed: 03/11/2024    Entry ID: 6628045




       traditional principle of what constitutes property. Ruckelshaus, 467 U.S. at 1002

       (citing 2 W. Blackstone, Commentaries 405; J. Locke, The Second Treatise of Civil

       Government, ch. 5 (J. Gough ed. 1947)). Trademarks thus bear the common

       characteristics found in tangible property and merit protection under the Taking

       Clause. Id, at 103.

             In all, trademarks embody all the traditional characteristics of property rights

       and derive from independent sources such as state and common law. The Roberto

       Clemente trademark is therefore a cognizable property right under the Fifth

       Amendment’s Takings Clause.

             b.     Puerto Rico’s appropriation and unauthorized use of the Roberto
                    Clemente trademark is a categorical taking requiring just
                    compensation

             Puerto Rico by using the Roberto Clemente trademark under Resolution 16

       and 17, and Act 67-2022 against the wishes of the Clementes, appropriated the

       Roberto Clemente trademark. The district court concluded that there was no taking

       because the Clementes could still use the Roberto Clemente mark, and that the mark

       retained economic value. Add. 55-56. But when governments directly appropriate

       private property for their own use, it is a classic taking and they have the categorical

       duty to compensate the owner. Tahoe-Sierra Pres. Council, Inc. v. Tahoe Reg’l Plan.




                                                 49
Case: 23-1922   Document: 00118118414        Page: 65     Date Filed: 03/11/2024    Entry ID: 6628045




       Agency, 535 U.S. 302, 322 (2002); Cedar Point Nursery v. Hassid, 141 S. Ct. 2063,

       2077–78 (2021) (defining “appropriation” as “taking as one’s own.”).

             Puerto Rico has taken the Roberto Clemente trademark to use as its own.

       Under Resolutions 16 and 17, Puerto Rico charged drivers for the Roberto Clemente

       trademark embedded in license plates and vehicle registration labels, and obtained

       around 15 million dollars for its unauthorized use. A17–18 (¶¶ 3.27; 3.33). Also,

       under Act 67-2022, Puerto Rico intends to further use and rely on the Roberto

       Clemente mark, against the express wishes of the Clemente family, for the

       development of the Roberto Clemente Sports District. Puerto Rico’s actions show

       that it used, and will continue to use, the Roberto Clemente trademark to obtain

       revenue from the people of Puerto Rico at the expense of the Clementes and Roberto

       Clemente’s legacy.

             The district court’s analysis on whether the Clementes could still use the

       Roberto Clemente trademark focused on the wrong property right taken from the

       Clementes. The owner of a trademark has the right to exclude others from using the

       mark. K Mart Corp, 485 U.S. at 185. The Supreme Court has conclusively

       established that the right to exclude “falls within [the] category of interests that the

       Government cannot take without compensation.” Cedar Point, 141 S. Ct. at 2073

       (quotations omitted).




                                                 50
Case: 23-1922   Document: 00118118414      Page: 66    Date Filed: 03/11/2024    Entry ID: 6628045




             Puerto Rico’s use of the Roberto Clemente mark deprived the Clementes of

       their right to exclude others from using the mark and destroyed the goodwill and

       image of Roberto Clemente. A20–21 (¶¶ 3.44–47). “If the law will not protect one’s

       claim of right to exclude others from using an alleged trademark, then he does not

       own a ‘trademark,’ for that which all are free to use cannot be a trademark.” In re

       Deister Concentrator Co., 48 C.C.P.A. 952, 963 n.6, 289 F.2d 496, 501

       (C.C.P.A. 1961). In effect, Puerto Rico has taken the Roberto Clemente mark and

       has destroyed the essence of the trademark—the right to exclude others from using

       the mark to protect the goodwill and reputation of Roberto Clemente’s legacy. The

       Clementes’ right to exclude others from using the Roberto Clemente mark is so

       fundamental that it “cannot be balanced away” by claiming that the Clementes can

       still use the Roberto Clemente mark or that it retains economic value. Cedar Point,

       141 S. Ct. at 2077.

             That the Roberto Clemente mark still retains economic value after Puerto

       Rico’s use of the mark is irrelevant when the government appropriates property for

       its own use. See Horne, 576 U.S. at 363. When the government takes away the right

       of a property owner to exclude others and appropriates the property for its use, the

       remaining economic value or benefit from the property does not relieve the

       government from the categorical duty to compensate the owner. Id. The Supreme

       Court in Loretto held that the government took a property right even when the


                                               51
Case: 23-1922    Document: 00118118414       Page: 67     Date Filed: 03/11/2024     Entry ID: 6628045




       infringement arguably increased the market value of the property.19 Phillips, 524

       U.S. at 170 (citing Loretto v. Teleprompter Manhattan CATV Corp., 458 U.S. 419,

       437 n.15 (1982)). And even if the appropriation is not permanent there is still a taking

       of property. See Cedar Point, 141 S. Ct. at 2074 (“the duration of an appropriation—

       just like the size of an appropriation, bears only on the amount of compensation.”)

       (citation omitted).

             Nor does the fact that the Clementes can still use the Roberto Clemente mark

       defeat their categorical takings claim. That a property owner may retain the use of

       the property does not defeat the government’s obligation to pay just compensation.

       Loretto, 458 U.S. at 430. The district court’s logic that a categorical taking does not

       occur when the government appropriates property private if the property owner can

       still use their property, is contrary to Supreme Court precedent. For example, in

       Cedar Point, the access regulation at issue only allowed union organizers to enter

       the growers’ land for 3 hours per day, 120 days per year. Cedar Point, 141 S. Ct. at

       2072. The growers still had use of their land and retained an interest in their property,

       even if union organizers could access their land on limited occasions. But the

       Supreme Court held that since the access regulation took the right of the growers to

       exclude others from their property, it was still a categorical taking. Id. at 2077.


       19
         The taking committed by Puerto Rico has tarnished and damaged the Roberto
       Clemente trademark and the goodwill associated with the mark. App. 32 (¶¶ 3.99–
       104).
                                                  52
Case: 23-1922   Document: 00118118414       Page: 68     Date Filed: 03/11/2024    Entry ID: 6628045




       Likewise, in Loretto, the fact that the government installed only a small cable box

       on Loretto’s rooftop did not stop the Supreme Court from finding a taking. Horne,

       576 U.S. at 363 (citing Loretto, 458 U.S. at 430); see also United States v. Causby,

       328 U.S. 256, 262, (1946) (even though the property owner still retained some use

       and enjoyment of the property, the government’s appropriation of the property

       constituted a taking). This is particularly true with trademarks, because the core

       value of a trademark is the exclusive right to use it. A trademark that can be used by

       everyone ceases to be a trademark. In sum, the Clementes’ amended complaint

       properly pleaded a claim under the Takings Clause.

       V.    Defendants are not entitled to qualified immunity for their appropriation
             of the Roberto Clemente trademark
             As discussed above (on pages 24–25), the Lanham Act abrogated any

       qualified immunity that territorial government officials could have had.

       Additionally, the qualified immunity defense was waived because the argument was

       not properly developed. United States v. Zannino, 895 F.2d 1, 17 (1st Cir.1990).

             Defendants only allege that a reasonable public official in their situation could

       have concluded that no trademark or proprietary rights were being violated, since

       requisites of commercial advertising or promotion and intention to influence

       potential customers are missing from the pleadings, 20 and there is no relief under the


       20
         It is clear from the preceding discussion that there are no legal bases for the
       supposed requirements, and in any case, they would have been met.
                                                 53
Case: 23-1922   Document: 00118118414        Page: 69     Date Filed: 03/11/2024    Entry ID: 6628045




       Lanham Act because PR Law-139-2011 controls. Defendants didn’t raise the

       qualified immunity defense in connection with the unauthorized use and

       misappropriation of the Roberto Clemente trademark in the creation of the Roberto

       Clemente Sports District, nor the false advertising claim regarding that issue. Hence,

       the qualified immunity defense was waived regarding all the other Lanham Act

       claims. Gómez v. Toledo, 100 S. Ct. 1920, 1924 (1980) (“Since qualified immunity

       is a defense, the burden of pleading it rests with the defendant); Guillemard-Ginorio

       v. Contreras-Gómez, 490 F.3d 31, 37 (1st Cir. 2007) (qualified immunity issues

       adverted to in a perfunctory manner, unaccompanied by some effort at developed

       argumentation, are deemed waived).

             In any case, the territorial government officials are not entitled to qualified

       immunity. The qualified immunity defense in §1983 claims stems from the tenet that

       “government officials performing discretionary functions generally are shielded

       from liability for civil damages insofar as their conduct does not violate clearly

       established statutory or constitutional rights of which a reasonable person would

       have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). To evaluate whether

       a defendant deserves qualified immunity, the court must consider “(1) whether

       plaintiff’s allegations, if true, establish a constitutional violation; (2) whether that

       right was clearly established at the time of the alleged violation; and (3) whether a

       similarly situated reasonable official would have understood that the challenged


                                                 54
Case: 23-1922    Document: 00118118414       Page: 70     Date Filed: 03/11/2024     Entry ID: 6628045




       action violated the constitutional right at issue.” Mihos v. Swift, 358 F.3d 91, 102 (1st

       Cir. 2004) (citing Suboh v. District Att’y’s Off. of Suffolk Dist., 298 F.3d 81, 90 (1st

       Cir. 2002). The analysis is no different when officials are acting according to an

       invalid or unconstitutional law, if “a reasonable official in their position would have

       known” that the law violated constitutional or federal rights. Guillemard-Ginorio,

       490 F.3d at 40–41.

             To resolve a qualified immunity issue raised in a motion to dismiss, the initial

       inquiry or threshold question is: “Taken in the light most favorable to the party

       asserting the injury, do the facts alleged show the officer’s conduct violated a

       constitutional right?” Saucier v. Katz, 533 U.S. 194, 201 (2001). When the defense

       is raised by way of a Rule 12(b)(6) motion, the level of specificity of the allegations

       doesn’t have to be too high. Riverdale Mills Corp. v. Pimpare, 392 F.3d 55, 61 (1st

       Cir. 2004).

             Therefore, even if the court conducts the qualified immunity analysis—and it

       should not—Defendants are not entitled to qualified immunity. The Clementes’

       registration of the Roberto Clemente trademark constitutes “constructive notice of

       the Clementes’ claim of ownership thereof.” 15 U.S.C. § 1072; see also Tam, 582

       U.S. at 226–227. Federal registration “confers important legal rights and benefits on

       trademark owners” and serves as “prima facie evidence of the validity of the

       registered mark and of the registration of the mark, of the owner’s ownership of the


                                                  55
Case: 23-1922   Document: 00118118414        Page: 71     Date Filed: 03/11/2024    Entry ID: 6628045




       mark, and of the owner’s exclusive right to use the registered mark.” Tam, 582 U.S.

       at 226–27. “Registration serves as constructive notice to the public of the registrant’s

       ownership of the mark . . . and thus prevents another user of the mark from claiming

       innocent misappropriation as a trademark infringement defense.” In re Int’l Flavors

       & Fragrances, Inc., 183 F.3d 1361, 1367 (Fed. Cir. 1999); see also Value House v.

       Phillips Mercantile Co., 523 F.2d 424, 429 (10th Cir. 1975); Geoffrey, Inc. v. Toys ’R

       Us (Nosotros Somos Los Juguetes), Inc., 756 F. Supp. 661, 665 (D.P.R. 1991). The

       statute prohibits thus the defense of good faith in which qualified immunity is rooted.

       See Harlow, 457 U.S. at 807. (“Nonetheless, we held that a governor and his aides

       could receive the requisite protection from qualified or good-faith immunity.”). In

       the end, Defendants are not entitled to qualified immunity because the registration

       of the Roberto Clemente trademark eliminated any possible good faith defense.

             It is clearly established that a registered trademark cannot be used by another

       and that a reasonable officer would have understood that the use of the registered

       trademark violated the Clementes’ constitutional and statutory rights. Defendants do

       not dispute actual knowledge of the registered trademark and that they violated the

       general prohibitions of the Lanham Act.21 That should be the end of the analysis.

       Defendants’ after-the-fact rationalization that one of the officers could have thought



       21
          The Amended Complaint, A14, A23, explains that Defendants had constructive
       and actual knowledge of the registered trademark.
                                                 56
Case: 23-1922   Document: 00118118414       Page: 72     Date Filed: 03/11/2024    Entry ID: 6628045




       that its use was covered by an exception to trademark infringement does not suffice.

       See Dkt. 38 at 45–46. Qualified immunity shields from liability an officer that acts

       in good faith, not an officer that acts with knowledge of the violation and gambles

       to find an exception that will allow the conduct—particularly where the exception

       has no basis in the law. If to be entitled to qualified immunity, a defendant has only

       to invent some extremely far-fetched situation in which his conduct may have not

       violated a constitutional or statutory right, no cause of action would ever survive

       qualified immunity.

             Additionally, the involvement of the individual Defendants in the violation of

       the Clementes’ rights is unquestionable. This case presents a comprehensive

       governmental scheme, implemented by three laws, that violates Clementes’

       constitutional and statutory rights. Defendants are the leaders of the agencies

       invested by the laws to execute the governmental scheme. And the Governor, as the

       principal officer of the executive branch, implements the laws, and signed these laws

       giving them effectiveness and enforceability.

             The complaint shows how most of the unlawful conduct were facilitated by

       the heads of the pertinent agencies. A17–20, 25–30 (listing the most relevant

       allegations). 22 The Clementes’ other allegations against individual Defendants show



       22
         Defendants failed to consider the entirety of the allegations in the Amended
       Complaint regarding the individual Defendants involvement, therefore the argument
                                                57
Case: 23-1922   Document: 00118118414       Page: 73     Date Filed: 03/11/2024    Entry ID: 6628045




       that their involvement in the Lanham Acts violations surpasses a mere compliance

       with a law. See id.

             For example, 23 before Governor Pierluisi signed into law Joint Resolutions

       No. 16 and No. 17, he was specifically informed by Luis Roberto Clemente that the

       name Roberto Clemente and its image was a registered trademark and its use

       required prior authorization and that they had not received communication or design

       of the proposal license plate or tag for approval. Therefore, Governor Pierluisi signed

       the laws knowing they constituted an unauthorized use of the trademark and were

       illegal. A21–23.

             On her part, Secretary Vélez issued written comments to the legislature,

       before the approval of Joint Resolution No. 16, in which she favored the approval as

       long as it was amended to make the purchase of the commemorative license plate of

       Roberto Clemente mandatory for all license plates purchased during 2022.

       Therefore, she was directly responsible for the monies collected through the

       unauthorized use of the Roberto Clemente trademark, name and likeness in license

       plates. Additionally, Secretary Vélez made false statements in an interview televised

       on January 17, 2022, that the monies collected were destined to the Roberto


       was not properly developed and it should be considered waived. Zannino, 895 F.2d
       at 17.
       23
         The Clementes include only a few examples to sustain their position, but more can
       be found in their amended complaint. See A11.
                                                 58
Case: 23-1922   Document: 00118118414       Page: 74     Date Filed: 03/11/2024    Entry ID: 6628045




       Clemente Foundation (a foundation backed by the trademark) and the charge was

       for the restoration of Ciudad Deportiva Roberto Clemente (project backed by the

       trademark). A24–25.

             Secretary Quiñones also endorsed H.R. 489, which was enacted as Law 67-

       2022, and indicated that he envisions its development as the most advanced sports

       training center, as well as a source of jobs and tourist attraction for those who enjoy

       sports tourism. He is in the particular position of being one of the members of the

       Board of Directors of Ciudad Deportiva Roberto Clemente and therefore, has

       firsthand knowledge of how Ciudad Deportiva Roberto Clemente is one of the most

       valuable and recognizable endeavors backed by the Roberto Clemente trademark.

       Therefore, Secretary Quiñones is directly responsible for the creation of the Roberto

       Clemente Sports District which is an unauthorized use of the Roberto Clemente

       trademark and name, and is an imitation of Ciudad Deportiva Roberto Clemente,

       making the infringement even more blatant. A31.

             Finally, the District Authority endorsed H.R. 489, asked to be the entity that

       develops the administration of the projects carried out in the Roberto Clemente

       Sports District and recommended itself to be responsible for the planning and

       organization of the Roberto Clemente Sports District, which will perpetually

       infringe the Roberto Clemente trademark. All of the Authority’s requests were

       granted and, as a part of the comprehensive scheme here, the Authority receives,


                                                 59
Case: 23-1922   Document: 00118118414      Page: 75     Date Filed: 03/11/2024       Entry ID: 6628045




       from Puerto Rico, an annual income of one hundred and fifty thousand dollars

       ($150,000.00) from the monies the Commonwealth collected through the

       unauthorized sale of the Roberto Clemente trademark in license plates and vehicle

       registration labels. A25–32. Defendants are not entitled to qualified immunity.

                                        CONCLUSION

             This Court should reverse the district court’s judgment and remand the case

       for further proceedings.

       Dated: March 4, 2024.

                                                         Respectfully submitted,

                                                         s/ Wencong Fa
                                                         Wencong Fa
                                                         Beacon Center of Tennessee
                                                         1200 Clinton Street, #205
                                                         Nashville, TN 37203
                                                         Tel.: 615-383-6431
                                                         Fax: 615-383-6432
                                                         wen@beacontn.org
                                                         Admitted to practice only in
                                                         California

                                                         /s/ Tanaira Padilla-Rodriguez
                                                         Tanaira Padilla-Rodriguez
                                                         Ave. Ponce de León 1225
                                                         VIG Tower, Suite 1500
                                                         San Juan, PR 00907
                                                         787-620-0527
                                                         tanairapadilla@yahoo.com

                                                         Attorneys for Plaintiffs-
                                                         Appellants


                                               60
Case: 23-1922   Document: 00118118414      Page: 76     Date Filed: 03/11/2024   Entry ID: 6628045




                             CERTIFICATE OF COMPLIANCE

             I hereby certify that this document complies with this Court’s order granting

       Appellants leave to file an oversized brief because, excluding the parts of the

       document exempted by Fed. R. App. P. 32(f), this document contains 14,289 words.

       This document complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

       and the type-style requirements of Fed. R. App. P. 32(a)(6).

       Dated: March 4, 2024.

                                                           s/ Wencong Fa
                                                           Wencong Fa
                                                           Counsel for Appellants




                                               61
Case: 23-1922   Document: 00118118414     Page: 77    Date Filed: 03/11/2024   Entry ID: 6628045




                                CERTIFICATE OF SERVICE

             I hereby certify that on March 4, 2024, I submitted the foregoing motion to

       the Clerk of the Court via the CM/ECF system, which served those documents on

       all counsel of record.

                                                        s/ Wencong Fa
                                                        Wencong Fa
                                                        Counsel for Appellants




                                              62
Case: 23-1922   Document: 00118118414   Page: 78   Date Filed: 03/11/2024   Entry ID: 6628045




                                ADDENDUM
Case: 23-1922      Document: 00118118414                    Page: 79           Date Filed: 03/11/2024      Entry ID: 6628045




                                                TABLE OF CONTENTS

                                                                                            Record      Addendum
       Description of Item                                                                  Entry No.   Page No.

       Opinion and Order (09/22/2023) .................................. R.67                             Add.1

       Judgment (09/22/2023)................................................. R.68                       Add.70

       U.S. Const. art. IV (Territorial Clause of
       Article IV) ....................................................................                  Add.71

       U.S. Const. amend. V. ..................................................                          Add.72

       U.S. Const. amend. XI..................................................                           Add.73

       Lanham Act, 15 U.S.C. § 1114 ...................................                                  Add.74

       Lanham Act, 15 U.S.C. § 1122 ...................................                                  Add.78

       Lanham Act, 15 U.S.C. § 1125 (a)-(c). .......................                                     Add.79

       Lanham Act, 15 U.S.C. § 1127. ..................................                                  Add.82

       Joint Resolution No. 16 of 2021 [and English
       Translation]...................................................................                   Add.86

       English Translation of Joint Resolution No. 16
       of 2021 ..........................................................................                Add.89

       Joint Resolution No. 17 of 2021 [and English
       Translation]...................................................................                   Add.93

       English Translation of Joint Resolution No. 17
       of 2021 ..........................................................................                Add.98

       Act 67-2022 [and English Translation]. .......................                                    Add.104

       English Translation of Act 67-2022 .............................                                  Add.116

                                                                    i
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 8067 Date
                                                    Filed Filed: 03/11/2024
                                                          09/22/23   Page 1 of Entry
                                                                               69 ID: 6628045



                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO



         Clemente Properties, Inc., et al., Civil No. 22-1373 (GMM)
                    Plaintiffs,
                              v.
            Hon. Pedro R. Pierluisi Urrutia,
            Governor of Puerto Rico, in his
            Official and Individual Capacity
              and as representative of the
             Commonwealth of Puerto Rico; et
                          als.,
                       Defendants.


                                       OPINION AND ORDER

              Pending before the Court are three motions to dismiss: (1)

       Amended and Restated Motion to Dismiss Complaint And Amended

       Complaint Under FRCP 12(B)(6) (“Authority’s Motion to Dismiss”)

       filed by the Puerto Rico Convention Center District Authority’s

       (the “Authority”) (Docket No. 36); (2) Motion to Dismiss Amended

       Complaint for Failure to State a Claim Under Federal Rule Of Civil

       Procedure     12(B)(6)      filed   by    the    Commonwealth      of   Puerto   Rico

       (“Commonwealth”),        Hon.    Pedro     R.    Pierluisi-Urrutia       (“Governor

       Pierluisi”),     in     his     official    capacity    as    Governor      of   the

       Commonwealth and in his personal capacity; Eileen M. Vélez-Vega,

       in    her   official    capacity    as     Secretary   of    the    Department    of

       Transportation and Public Works (“Department of Transportation”)

       and in her personal capacity (“Secretary of Transportation”);


                                                Add.1
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 8167 Date
                                                    Filed Filed: 03/11/2024
                                                          09/22/23   Page 2 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -2-


       Francisco Parés-Alicea in his official capacity as Secretary of

       the Department of the Treasury and in his personal                   capacity

       (“Secretary of Treasury”), and Ray J. Quiñones-Vázquez, in his

       personal capacity as Secretary of the Department of Sports and

       Recreation (“Secretary of Sports and Recreation”) (collectively,

       “Defendants”)(Docket No. 38); and (3) Motion to Dismiss filed by

       the Secretary of Sports and Recreation, in his official capacity

       (Docket No. 42).

                  I.    RELEVANT FACTUAL AND PROCEDURAL BACKGROUND

             On August 5, 2022, Clemente Properties, Inc.; 21 In Right,

       Inc.; Roberto Clemente Jr.; Luis Roberto Clemente; and Roberto

       Enrique Clemente (“Plaintiffs”) filed a Complaint against the

       Commonwealth, Governor Pierluisi, in his official and individual

       capacity and as representative of the Commonwealth; the Secretary

       of Transportation, in her official and individual capacity and as

       representative of the conjugal partnership composed by her and

       John Doe; the Secretary of Treasury, in his official and individual

       capacity; the Secretary of Sports and Recreation, in his official

       and individual capacity and as representative of the conjugal

       partnership composed of him and Jane Doe; and the Authority.

       (Docket No. 1) (the “Complaint”).

             Therein,     Plaintiffs      seek:    (1)     declaratory      judgment

       determining that the use of the Roberto Clemente mark, name, and

       likeness pursuant to Puerto Rico Joint Resolutions No. 16 and 17


                                           Add.2
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 8267 Date
                                                    Filed Filed: 03/11/2024
                                                          09/22/23   Page 3 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -3-


       of    2021   and    Act    67-2022     is    unlawful,    violates   due    process,

       constitutes        trademark      infringement,       violates    the      right   of

       publicity, and constitutes a taking; (2) declaratory judgment

       decreeing that Puerto Rico Joint Resolutions No. 16 and 17 of 2021

       and    Act   67-2022      are    unconstitutional;       (3)   injunctive     relief

       proscribing Defendants’ use of the Roberto Clemente mark and name

       pursuant to Puerto Rico Joint Resolutions No. 16 and 17 of 2021,

       without just compensation; (4) declaratory judgment “decreeing

       that just compensation for the use of the mark pursuant to Joint

       Resolutions No. 16 and 17 of 2021 is no less than $3,150,000.00

       for the temporary taking of the trademark”; (5) “payment of just

       compensation to Plaintiffs for the temporary use of the Roberto

       Clemente      mark,       name   and    likeness”;       (6)   injunctive     relief

       proscribing Defendants’ use of the Roberto Clemente mark pursuant

       to Puerto Rico Act 67-2022 and enjoining the creation of the

       Roberto Clemente Sports District; and (7) “judgment for three times

       the profits or damages, whichever amount is greater, or for

       damages, in a sum of not less than $45,000,000.00”. -
                                                           Id.
                                                             --
                                                                at 41-42.

              Plaintiffs’ claims are brought pursuant to 28 U.S.C.A. § 2201

       and 2202; Rule 65 of the Federal Rules of Civil Procedure, 42

       U.S.C.A. § 1983 (“Section 1983”); the Lanham Trade-Mark Act, 15

       U.S.C. §§ 1051–1127 (“Lanham Act”); the Takings Clause of the

       Constitution of the United States, U.S. Const. Amend. V., the Due

       Process      Clause,      U.S.    Const.       U.S.   Const.   Amend.      XIV,    and


                                                   Add.3
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 8367 Date
                                                    Filed Filed: 03/11/2024
                                                          09/22/23   Page 4 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -4-


       supplemental claims under Puerto Rico Act 139 of 2011 (“Act 139”),

       P.R. Laws Ann. Tit. 32 §§ 3151 et seq., and the Puerto Rico

       Trademarks Act, Act 169 of 2009 (“Act 169”), P.R. Laws Ann. Tit.

       10 §§ 223 et seq. Id. at 2.

             Plaintiffs     claim     that    pursuant      to     Puerto     Rico    Joint

       Resolution No. 16 of 2021, at the beginning of calendar year 2022,

       the Commonwealth —led by Governor Pierluisi through the Department

       of Transportation— began to impose the mandatory purchase of a

       commemorative     license     plate    for     the   fiftieth     anniversary      of

       Roberto Clemente’s “Hit 3000.” The Commonwealth charged twenty-

       one   dollars   ($21.00)     for   the    commemorative       plate.    Plaintiffs

       allege that the license plate had an image of Roberto Clemente and

       included the name “Clemente” with the number “21,” the number “50,”

       the word “anniversary,” and the phrase “3000 hits.” Also, that

       pursuant to Joint Resolution No. 17 of 2021, there was a mandatory

       charge of five dollars ($5.00) in addition to the regular costs

       for   duties,   tariffs,     and   fines,      for   a    commemorative       vehicle

       certificate tag. The vehicle certificate tag was yellow, had the

       figure of Roberto Clemente with the name “Clemente,” the number

       “21,” the number “50,” and phrase “3000                    hits.”    According to

       Plaintiffs, the cost charged to the citizens of Puerto Rico was

       transferred     to   the     Roberto     Clemente        Sports   District     Fund,

       administered by the Department of Treasury, for the exclusive use

       of the Department of Sports and Recreation. Id. at 8-10.


                                              Add.4
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 8467 Date
                                                    Filed Filed: 03/11/2024
                                                          09/22/23   Page 5 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -5-


             In   addition,     Plaintiffs       argue   that     Defendants    acted

       willfully, intentionally, and with full awareness about the mark’s

       misappropriation, because it is allegedly common knowledge that

       the Plaintiffs are the owners of the Roberto Clemente mark, his

       right of publicity, his likeness, and the legacy it represents.

       Plaintiffs claim that the Roberto Clemente mark has been in use

       since 1955 and Clemente Properties, Inc. registered the mark with

       the United States Patent and Trademark Office (“USPTO”) under

       Registration No. 5,176,650, Serial number 86048262. Id. at 5.

       Therefore, they argue that the unauthorized use by the Commonwealth

       constitutes    an   infringement     of   a   registered   trademark    and   a

       violation of the Takings and Due Process Clauses of the United

       States Constitution.

             On November 23, 2022, Plaintiffs filed an Amended Complaint1,

       which maintained the same allegations, but included additional

       assertions regarding the adoption of the Joint Resolution No. 16.

       They posit that before its adoption, they had already authorized

       Ciudad Deportiva Roberto Clemente to use the trademark, name, and

       likeness of Roberto Clemente for vehicles’ license plates. (Docket

       No. 27). Plaintiffs add that Ciudad Deportiva Roberto Clemente


       1 On September 28, 2022, the Authority filed a motion to dismiss for failure to
       state a claim. (Docket No. 14). On November 2, 2022, Governor Pierluisi and
       Defendants filed a motion to dismiss for failure to state a claim. (Docket No.
       19). The Secretary of Sports and Recreation also filed a Motion for Joinder to
       the motion to dismiss at Docket No. 19. (Docket No. 22). On December 2, 2023,
       these motions to dismiss were denied without prejudice as moot due to the filing
       of the Amended Complaint. See Docket No. 32.


                                           Add.5
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 8567 Date
                                                    Filed Filed: 03/11/2024
                                                          09/22/23   Page 6 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -6-


       planned to raise funds by the issuing of commemorative license

       plates to be available to the public in exchange for a voluntary

       donation of $2.10. -
                          Id.
                            --
                               at 12.

             On December 26, 2023, the Authority filed its Motion to

       Dismiss.      (Docket    No.    36).    The    Authority   argues      dismissal   is

       warranted under Rule 12 (b)(6) since: (1) it is not acting under

       color    of     state     law      to    illegally,    culpably,       negligently,

       intentionally,      knowingly,          or    willfully,   use   and    pretend    to

       continue using the Roberto Clemente mark, name, and likeness in

       contravention of the aforementioned legal provisions; (2) the

       Authority’s only involvement is incidental and only regards its

       participation in the legislative process before the adoption of

       Act 67-2022; (3) there is no relief sought from the Authority as

       there is no claim that it has caused any breach, violation, damage,

       and/or unlawful use of Plaintiffs’ property, and the allegations

       regarding the Authority relate to obligations which the Authority

       will legally perform under state law. According to the Authority,

       Act 67-2022 imposes obligations to be carried out once the property

       is   transferred        to   the    Commonwealth,      obligations       which     the

       Authority cannot even perform to date; and (4) that the Authority,

       as a government entity created under Puerto Rico Act 351-2000, has

       a legal obligation to be bound by the laws duly enacted by the

       Puerto Rico legislature, in which case, the Authority has no




                                                Add.6
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 8667 Date
                                                    Filed Filed: 03/11/2024
                                                          09/22/23   Page 7 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -7-


       influence on which laws are enacted, and thus, no bearing on the

       passing of Act 67-2022. Id. at 6-11.

             On January 9, 2023, the Defendants filed a Motion to Dismiss

       Amended Complaint for Failure to State a Claim under Federal Rule

       of Civil Procedure 12 (b)(6). (Docket No. 38). First, Defendants

       argue that Plaintiffs’ claims against the Commonwealth and the

       official capacity Defendants are barred by sovereign immunity as

       provided     by   the    Eleventh     Amendment       of   the      United     States

       Constitution. Specifically, they claim that this Court does not

       have jurisdiction to entertain suits under the Lanham Act, because

       suits against states and its officers, in their official capacity,

       are barred by the Eleventh Amendment immunity, as determined by

       the Supreme Court in College Savings Bank v. Florida Prepaid

       Postsecondary Education Expense Board, 527 U.S. 666 (1999). In

       addition, Defendants posit that the monetary claim pursuant to the

       Fifth Amendment Takings Clause against the Commonwealth is also

       barred by the Eleventh Amendment immunity.

             Second,     Defendants       argue    that,    under    the     Lanham      Act,

       Plaintiffs    lack      standing    to     claim    damages   suffered       by   the

       corporations Clemente Properties, Inc., and 21 In Right, Inc.

             Third, Defendants assert that Plaintiffs lack standing to

       claim damages suffered by Ciudad Deportiva Roberto Clemente, Inc.,

       an independent corporate entity which is not a party to this case.

       Defendants contend that Plaintiffs also lack standing to assert


                                             Add.7
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 8767 Date
                                                    Filed Filed: 03/11/2024
                                                          09/22/23   Page 8 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -8-


       the land transfer claims mandated by Act 67-2022 and that the Court

       lacks jurisdiction over such matters since the requested relief

       would entail the Court enjoining the land transfer mandated by

       this statute, from Ciudad Deportiva Roberto Clemente, Inc., back

       to the Commonwealth, through the Sports and Recreation Department.

             Fourth, Defendants argue that Plaintiffs fail to state a claim

       for violations of their right to Substantive Due Process under the

       Fourteenth Amendment and that having asserted a Fifth Amendment

       Takings Clause claim, the alleged infringement of their property

       rights      are   to   be   ruled    upon   under    the    standards   of   that

       constitutional clause, and not the due process clause.

             Fifth, Defendants posit that Plaintiffs fail to state a claim

       under the Lanham Act for individual liability against Defendants

       in their personal capacity.

             Sixth, Defendants contend that Plaintiffs fail to establish

       a   false    advertising     claim    and   that    there   is   no   “commercial

       advertising or promotion” nor “intention to influence potential

       customers” in this case which would activate liability under the

       Lanham Act.

             Seventh, Defendants allege that image rights and rights of

       publicity are determined not by federal law but by state law, and

       that under Puerto Rico Act 139, such right extends up to twenty-

       five years after the person’s death. They posit that in Roberto

       Clemente’s case, this period expired in 1998.


                                             Add.8
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 8867 Date
                                                    Filed Filed: 03/11/2024
                                                          09/22/23   Page 9 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -9-


             Eighth,     Defendants      argue    that    Plaintiffs’    request       for

       injunctive relief for the alleged trademark violations has become

       moot since the sale of license plates and license labels mandated

       by Joint Resolutions 16-2021 and 17-2021 expired by its own terms

       on December 31, 2022.

             Ninth, Defendants contend that Plaintiffs failed to state a

       claim against personal capacity Defendants under Section 1983,

       since their personal involvement, as described in the Amended

       Complaint, does not support a liability finding against them under

       that statute.

             Tenth,    that   Defendants    who    were    sued   in   their    personal

       capacity are entitled to qualified immunity, to the extent that

       they were carrying out their legal duties by enforcing statutes

       validly    enacted     by   the   Commonwealth’s      Legislative       Assembly,

       against which no constitutional challenge has been raised by

       Plaintiffs.

             Eleventh,    Defendants      argue   that    after   dismissing     all    of

       Plaintiffs’ federal claims the Court should decline to exercise

       supplemental jurisdiction over claims brought under the Puerto

       Rico’s Constitution and laws.

             On January 17, 2023, the Secretary of Sports and Recreation

       filed a Motion to Dismiss. (Docket No. 42). He argues that Eleventh

       Amendment immunity bars any claim for monetary relief against him

       in his official capacity as Secretary of Sports and Recreation. In


                                            Add.9
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 8967 Filed
                                                    Date 09/22/23
                                                          Filed: 03/11/2024
                                                                     Page 10 ofEntry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -10-


       addition, for the same reasons, he contends that claims under

       Section 1983 brought against him in his official capacity must be

       dismissed. Moreover, he states that as Secretary of Sports and

       Recreation he is immune from suit under the Takings Clause and the

       Lanham Act. Furthermore, he maintains that Plaintiffs have not

       raised a claim upon which a relief may be granted since he has not

       yet executed his rights, duties and function pursuant to Act 67-

       2022.

             On   February    24,    2023,      Plaintiffs   filed     a   Response   in

       Opposition to Puerto Rico Convention Center District Authority’s

       Motion to Dismiss Amended Complaint. (Docket No. 44). Plaintiffs

       argue that the Authority’s Motion to Dismiss must be disregarded,

       because there was a straightforward trademark infringement claim.

       Specifically, they contend that the Roberto Clemente mark is

       registered in International Class 41 which includes entertainment

       services. Furthermore, they posit that that the image and likeness

       of   Roberto   Clemente      are   an    integral   part   of   the   registered

       trademark and that Section 43 (a) of the Lanham Act, provides the

       federal equivalent protection of the right for publicity and can

       thus protect an individual’s image or likeness from unauthorized

       use. Additionally, they argue that the Authority has actively

       pursued and contributed to the creation of the Roberto Clemente

       Sports District and had a leading role in its development. For

       that reason, injunctive relief is warranted.


                                               Add.10
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 9067 Filed
                                                    Date 09/22/23
                                                          Filed: 03/11/2024
                                                                     Page 11 ofEntry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -11-


             Also on February 24, 2023, the Plaintiffs filed a Response in

       Opposition    to    Secretary    of    the     Department      of    Sports      and

       Recreation’s Motion to Dismiss Amended Complaint. (Docket No. 45).

       Therein, they argue that the Amended Complaint should not be

       dismissed based on Eleventh Amendment immunity, since no legal or

       judicial doctrine in place justifies applying the principles of

       Eleventh    Amendment    immunity     in     Puerto    Rico.    Moreover,     they

       maintain   that    claims   pursuant   to     the     Lanham   Act   may   not   be

       dismissed on Eleventh Amendment grounds, because the Supreme Court

       of the United States has only determined that States’ sovereign

       immunity cannot be validly abrogated in relation to a false-

       advertising claim under the Lanham Act. Id. at 10-17. Regarding

       the Takings Clause, they also allege that Eleventh Amendment

       immunity does not apply. Lastly, Plaintiffs allege that they are

       entitled to monetary and equitable remedies against the Department

       of Sports and Recreation “for the creation and further development

       of the Roberto Clemente Sports District using and taking the

       Plaintiffs’ trademark, and for the unauthorized use and taking of

       the Roberto Clemente trademark in license plates and vehicle

       certificate labels, which generated earnings for [them].” Id. at

       19. They claim that they are entitled to prospective injunctive

       relief against state officials in their official capacity and that

       these claims cannot be dismissed based on the Secretary of Sports

       and Recreation’s allegation that they are not yet the owner of the


                                           Add.11
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 9167 Filed
                                                    Date 09/22/23
                                                          Filed: 03/11/2024
                                                                     Page 12 ofEntry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -12-


       property or lands of the Roberto Clemente Sports District and that

       they have not executed any duties as owners.

             On March 17, 2023, Plaintiffs filed a Response in Opposition

       to Government and Individual Defendants’ Motion to Dismiss Amended

       Complaint. (Docket No. 53). Plaintiffs reiterate that “Puerto Rico

       possesses no sovereign immunity or Eleventh Amendment immunity

       from federal law or federal-court suits.” -
                                                 Id.
                                                   --
                                                      at 9. Additionally,

       they assert that there is no immunity from the application of the

       Lanham Act. Furthermore, Plaintiffs contend that the reference to

       Act 139 asserts an additional or alternative source of ownership

       of the Roberto Clemente image, name, and likeness in violation of

       that property right under the statute. They also argue that they

       have standing as to these claims since they are the heirs of

       Roberto Clemente, to whom the law, without any other legal contract

       or act, invests with the property and transference rights to

       Roberto   Clemente’s     image.   Regarding    the   alleged     due   process

       violation, Plaintiffs contend that their claim is valid, since

       even if commemorating Roberto Clemente could be a legitimate

       government interest -which they allege it is not- there is no need

       for the misappropriation of the trademark to pursue that goal.

             Plaintiffs also specifically respond to arguments regarding

       liability pursuant to the Lanham Act. Regarding the individual

       liability    of   Defendants,     Plaintiffs    allege    that   Defendants’

       argument for lack of involvement or participation in the Lanham


                                          Add.12
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 9267 Filed
                                                    Date 09/22/23
                                                          Filed: 03/11/2024
                                                                     Page 13 ofEntry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -13-


       Act violations is meritless.          As to the claims of commercial

       advertising or promotion and intention to influence potential

       customers, Plaintiffs argue that the false advertising claim must

       stand, since Defendants made misleading and false descriptions of

       facts, in relation to the sales of Roberto Clemente name, image,

       likeness, and trademark in the license plates and license labels,

       and in relation to the Roberto Clemente Sports District project -

       that would generate significant revenue for the government, and

       have therefore caused damages. On the other hand, regarding the

       mootness of the request for injunctive relief, Plaintiffs contend

       that the temporary taking of the trademark persists until just

       compensation is awarded and that equitable relief for trademark

       violations for the sale of license plates and license labels is

       still in order.

             Regarding the Section 1983 claims, Plaintiffs respond that

       Defendants are not entitled to qualified immunity regarding the

       constitutional violations because they all originate from the

       unauthorized use or appropriation of the registered trademark.

             On May 22, 2023, the Commonwealth, Governor Pierluisi, the

       Secretary of Transportation, the Secretary of Treasury, and the

       Secretary of Sports and Recreation filed Reply to Opposition to

       Motion to Dismiss Amended Complaint. (Docket No. 64). Regarding

       Eleventh Amendment immunity, Defendants argue that the doctrine

       still stands and is applicable to this case. Furthermore, they


                                          Add.13
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 9367 Filed
                                                    Date 09/22/23
                                                          Filed: 03/11/2024
                                                                     Page 14 ofEntry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -14-


       cite Allen v. Cooper, 140 S. Ct. 994 (2020) to sustain that

       Congress has not abrogated the State’s sovereign immunity under

       the Eleventh Amendment regarding intellectual property claims. As

       to the claims under the Lanham Act, Defendants respond that

       “Plaintiffs do not sell license plates nor yearly license labels

       and no amount of artful pleading can establish the pleading

       requisite of consumers withholding trade from them.” Id. at 11.

       Also, in addressing the arguments relating to the substantive due

       process claims, Defendants assert that Plaintiffs’ claims fall

       outside the very limited scope defined by applicable law and find

       no   support    in   current    substantive   due   process      standards.    In

       addition,      Defendants   posit    there    are   no   legal    grounds     for

       injunctive relief for official capacity Defendants to stop acting

       when the statutory authorization, provided by Act 67-2022, for

       them to carry those actions has already expired. They argue that

       this is strictly a legal question that arises from Act 67-2022 and

       requires no evidence to adjudicate it. Lastly, Defendants allege

       that Plaintiffs provided no basis to establish any congressional

       intention to abolish qualified immunity as a possible defense in

       Lanham Act claims.

                                      II. LEGAL STANDARD

       A.    Motion to Dismiss

             To survive a motion to dismiss, a complaint must contain a

       “short and plain statement of the claim showing that the pleader


                                           Add.14
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 9467 Filed
                                                    Date 09/22/23
                                                          Filed: 03/11/2024
                                                                     Page 15 ofEntry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -15-


       is entitled to relief.” Fed. R. Civ. P. 8(a). The complaint “must

       contain sufficient factual matter, accepted as true, to ‘state a

       claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,

       556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550

       U.S. 544, 570 (2007)). This pleading standard does not require

       “detailed factual allegations,” but does require “more than labels

       and conclusions, and a formulaic recitation of the elements of a

       cause of action will not do.” Twombly, 550 U.S. at 555. “A claim

       has facial plausibility when the plaintiff pleads factual content

       that allows the court to draw the reasonable inference that the

       defendant is liable for the misconduct alleged.” Iqbal, 556 U.S.

       at 678. “Where a complaint pleads facts that are ‘merely consistent

       with’ a defendant's liability, it ‘stops short of the line between

       possibility and plausibility of “entitlement to relief.” ’ ” Id.

       (quoting Twombly, 550 U.S. at 557). See also Álvarez-Maurás v.

       Banco Pop. of Puerto Rico, 919 F.3d 617, 622 (1st Cir. 2019).

             1.    Federal Rule of Civil Procedure 12(b)(1)

             It is settled that the standard followed by the Court when

       considering a dismissal request under Rule 12(b)(1), is that the

       court “must accept as true all well-pleaded factual claims and

       indulge    all   reasonable   inferences    in   plaintiff’s    favor.”    See

       Viqueira v. First Bank, 140 F.3d 12, 16 (1st Cir. 1998), as

       restated in Rolon v. Rafael Rosario & Associates, Inc., et al.,

       450 F.Supp.2d 153, 156 (D.P.R. 2006). Moreover, [m]otions brought


                                          Add.15
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 9567 Filed
                                                    Date 09/22/23
                                                          Filed: 03/11/2024
                                                                     Page 16 ofEntry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -16-


       under Rule 12(b)(1) are subject to the same standard of review as

       Rule 12(b)(6). See Negron-Gaztambide v. Hernandez-Torres, 35 F.3d

       25, 27 (1st Cir. 1994); De Leon v. Vornado Montehiedra Acquisition

       L.P.,    166    F.   Supp.     3d     171,   173   (D.P.R.    2016).    As     such,

       “[d]etermining whether a complaint states a plausible claim for

       relief will. . .be a context-specific task that requires the

       reviewing court to draw on its judicial experience and common

       sense.” Iqbal, 556 U.S. at 679.

             A motion to dismiss based on state sovereign immunity is

       appropriate under both Rule 12(b)(1) and Rule 12(b)(6). The defense

       of sovereign immunity is a claim that a court lacks the subject-

       matter jurisdiction to hear a case and thus can be brought under

       Rule 12(b)(1). See Valentin v. Hosp. Bella Vista, 254 F.3d 358,

       362-63 (1st Cir. 2001) (citing Murphy v. United States, 45 F.3d

       520, 522 (1st Cir. 1995)). In Valentin v. Hospital Bella Vista,

       the Court held that Fed. R. Civ. P. 12(b)(1) is a “large umbrella,

       overspreading a variety of different types of challenges to subject

       matter    jurisdiction”        including      “considerations     of        ripeness,

       mootness,      sovereign     immunity,       and   the   existence     of    federal

       question jurisdiction”. Id. at 363.

             Where     subject      matter    jurisdiction      is   challenged       under

       12(b)(1), the party asserting jurisdiction bears the burden of

       demonstrating        the     existence        of    federal    subject        matter

       jurisdiction. See Skwira v. United States, 344 F.3d 64, 71 (1st


                                               Add.16
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 9667 Filed
                                                    Date 09/22/23
                                                          Filed: 03/11/2024
                                                                     Page 17 ofEntry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -17-


       Cir. 2003); Murphy v. United States, 45 F.3d 520, 522 (1st Cir.

       1995); McCulloch v. Velez, 364 F.3d 1, 5 (1st Cir.2004).

             2.    Federal Rule of Civil Procedure 12(b)(6)

             To survive a motion to dismiss for failure to state a claim

       under Rule 12(b)(6), the factual allegations in a complaint must

       “possess enough heft” to set forth “a plausible entitlement to

       relief.”   Twombly,      550   U.S.    at    544.    Stated      differently,   “[a]

       plaintiff must allege sufficient facts to show that he has a

       plausible entitlement to relief.” Sanchez v. Pereira-Castillo, 590

       F.3d 31, 41 (1st Cir. 2009). In analyzing the sufficiency of the

       complaint, the Court accepts the complaint’s allegations as true

       and draws all reasonable inferences in the plaintiff’s favor. See

       Langadinos v. American Airlines, Inc., 199 F.3d 68, 69 (1st Cir.

       2000)).

             Under Rule 12(b)(6), dismissal is proper when “it clearly

       appears, according to the facts alleged, that the plaintiff cannot

       recover on any viable theory.” Gonzalez-Morales v. Hernandez-

       Arencibia, 221 F.3d 45, 48 (1st Cir. 2000) (citing Correa-Martinez

       v. Arrillaga-Belendez, 903 F.2d 49, 52 (1st Cir. 1990)).

             Furthermore,      dismissal      for   failure       to   state   a   claim   is

       appropriate     if     the   complaint       fails    to    set    forth    “factual

       allegations,     either      direct     or     inferential,       respecting    each

       material     element     necessary      to     sustain     recovery     under   some

       actionable    legal     theory.”      Centro    Medico     del    Turabo,    Inc.   v.


                                              Add.17
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 9767 Filed
                                                    Date 09/22/23
                                                          Filed: 03/11/2024
                                                                     Page 18 ofEntry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -18-


       Feliciano de Melecio, 406 F.3d 1, 6 (1st Cir. 2005) (quoting Berner

       v. Delahanty, 129 F.3d 20, 25 (1st Cir. 1997)); Gagliardi v.

       Sullivan, 513 F.3d 301, 305 (1st Cir. 2008).

                         III. APPLICABLE LAW AND DISCUSSION

             Courts presented with motions to dismiss under both Rules

       12(b)(1) and 12(b)(6) should ordinarily decide jurisdictional

       questions before addressing the merits. See Deniz v. Municipality

       of Guaynabo, 285 F.3d 142, 149 (1st Cir. 2002). Thus, the Court

       begins its analysis with Defendants’ arguments regarding Eleventh

       Amendment    immunity.    Plaintiffs    argue    that   Puerto   Rico   is   a

       territory of the United States and, as such, the Eleventh Amendment

       immunity does not apply. To this end, Plaintiffs essentially allege

       that the Eleventh Amendment exists for States, not territories

       like the Commonwealth. Plaintiffs base their arguments mainly on

       Puerto Rico v. Sánchez Valle, 579 U.S. 59 (2016). Furthermore,

       Plaintiffs argue that Congress validly abrogated immunity for of

       all the governmental entities and individuals within the United

       States, including territories, under the Lanham Act through the

       Trademark Amendments Act of 1999.

             The Commonwealth and official capacity Defendants, on the

       other hand, posit that the case against them should be dismissed

       pursuant to the Eleventh Amendment. According to them, and in line

       with Supreme Court precedent established in College Savings Bank

       and reiterated most recently in Allen v. Cooper, Congress did not


                                          Add.18
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 9867 Filed
                                                    Date 09/22/23
                                                          Filed: 03/11/2024
                                                                     Page 19 ofEntry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -19-


       abrogate state sovereign immunity in the amendments to the Lanham

       Act.

       A.     The Doctrine of Stare Decisis Controls this Case

              Since the Plaintiffs contend that this Court should disregard

       First Circuit precedent based on their interpretation of the United

       States Supreme Court’s case law on the applicability of the state

       sovereign immunity doctrine to the Commonwealth, we must first

       discuss the doctrine of stare decisis.

              This doctrine comes from the Latin maxim “stare decisis et

       non quieta movere,” meaning “to stand by the thing decided and not

       disturb the calm.”      Ramos v. Louisiana, ––– U.S. ––––, 140 S. Ct.

       1390, 1411, 206 L.Ed.2d 583 (2020). “The doctrine of stare decisis

       renders the ruling of law in a case binding in future cases before

       the same court or other courts owing obedience to the decision.”

       Gately v. Massachusetts, 2 F.3d 1221, 1226 (1st Cir. 1993). It is

       “a foundation stone of the rule of law.”           Allen v. Cooper, 140 S.

       Ct. at 1003(quoting Michigan v. Bay Mills Indian Cmty., 572 U.S.

       782, 798, 134 S.Ct. 2024, 188 L.Ed.2d 1071 (2014)).

              Commonly, the doctrine of stare decisis is divided into

       horizontal and vertical precedent. See Bryan A. Garner et al., The

       Law of Judicial Precedent 27 (2016). Pertinent here, vertical

       precedents are decisions in “the path of appellate review,” meaning

       Supreme Court decisions control all lower federal courts, and

       circuit court decisions control the dispositions of the federal


                                          Add.19
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 9967 Filed
                                                    Date 09/22/23
                                                          Filed: 03/11/2024
                                                                     Page 20 ofEntry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -20-


       district courts in their circuits. Id. at 28. The Supreme Court

       has repeatedly stressed the importance of both circuit and district

       courts faithfully following vertical precedent. See Eberhart v.

       United States, 546 U.S. 12, 19-20 (2005). Hence, we are obliged to

       follow circuit precedent unless undermined by intervening Supreme

       Court precedent or some other compelling authority. See Reisman v.

       Associated Facs. of Univ. of Maine, 939 F.3d 409, 414 (1st Cir.

       2019) (citing United States v. Barbosa, 896 F.3d 60, 74 (1st Cir.

       2018)).

             Absent     guidance    of   the     Supreme     Court      regarding   the

       Commonwealth’s Eleventh Amendment immunity, this Court is bound by

       First   Circuit    rulings    until     any    doctrinal   developments      are

       established by Supreme Court precedent.

       B.    Eleventh Amendment Immunity

             1. Generally

             The Eleventh Amendment of the United States Constitution

       provides that “[t]he Judicial power of the United States shall not

       be construed to extend to any suit in law or equity, commenced or

       prosecuted against one of the United States by Citizens of another

       State, or by Citizens or Subjects of any Foreign State.” U.S.

       Const. amend. XI.

             Grounded    in   the   principles       of   federalism,    the   Eleventh

       Amendment provides that each state is a sovereign entity and

       therefore “not amenable to suit without its consent.” Seminole


                                          Add.20
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 100   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 21 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -21-


       Tribe of Fla. v. Florida, 517 U.S. 44, 54 (1996). Essentially, the

       Eleventh Amendment decrees that states cannot be sued in federal

       court. The amendment “acts as a gatekeeper to the enforcement of

       federal law against state actors.” See LAURA E. LITTLE, EXAMPLES

       & EXPLANATIONS: FEDERAL COURTS 371 (3rd ed. 2013). In fact, “[t]he

       very object and purpose of the [Eleventh] Amendment were to prevent

       the indignity of subjecting a State to the coercive process of

       judicial tribunals at the instance of private parties.” Puerto

       Rico Aqueduct and Sewer Authority v. Metcalf & Eddy, Inc., 506

       U.S. 139, 146 (1993) (quoting In re Ayers, 123 U.S. 443, 505

       (1887)). That is the essence of Eleventh Amendment immunity, also

       known as sovereign immunity.

             2. Eleventh Amendment Immunity and Puerto Rico

             Regarding     the   Commonwealth,     “[t]he    First    Circuit    has

       consistently held that Puerto Rico, though obviously not a state,

       is entitled to Eleventh Amendment immunity.” See What Constitutes

       the State for Eleventh Amendment Purposes, 9C Charles Alan Wright

       & Arthur R. Miller, Federal Practice and Procedure § 3524.2 (3d

       ed.) The First Circuit first embraced this holding in 1981, in an

       opinion by then Judge Stephen Breyer. See Ezratty v. Puerto Rico,

       648 F.2d 770(1st Cir. 1981). Since 1981 —for over four decades—

       the First Circuit has reiterated the holding “at least twenty-

       eight times —about once a year— and described it as ‘settled,’ a

       ‘verity,’ ‘consistently held,’ and ‘beyond dispute.’” Adam D.


                                          Add.21
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 101   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 22 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -22-


       Chandler, Puerto Rico’s Eleventh Amendment Status Anxiety, 120

       Yale L.J. 2183, 2189 (2011). The Court has even referred to these

       precedents as a “phalanx of cases.” Id. (quoting Jusino Mercado v.

       Commonwealth of Puerto Rico, 214 F.3d 34, 39 (1st Cir. 2000)). See

       for example, the following cases where the First Circuit has held

       that Puerto Rico enjoys Eleventh Amendment protection: Borrás-

       Borrero v. Corporación del Fondo del Seguro del Estado, 958 F.3d

       26, 33 (1st Cir. 2020) (noting that “Puerto Rico is treated as a

       state for Eleventh Amendment purposes” but avoiding consideration

       of the constitutional immunity question because the state entity

       clearly prevailed on the merits) (quoting Fresenius Med. Care

       Cardiovascular Res., Inc. v. P.R. and Caribbean Cardiovascular

       Ctr. Corp., 322 F.3d 56, 61 (1st Cir. 2003)); Grajales v. P.R.

       Ports Auth., 831 F.3d 11, 15 (1st Cir. 2016) (acknowledging that

       Puerto Rico “enjoys” sovereign immunity in the same way as the

       states) (citing Jusino Mercado v. Puerto Rico, 214 F.3d 34, 39

       (1st Cir. 2000)); Guillemard-Ginorio v. Contreras-Gomez, 585 F.3d

       508, 530 n.23 (1st Cir. 2009) (“We further note that ‘[t]he

       Commonwealth of Puerto Rico is treated as a state for purposes of

       Eleventh Amendment immunity analysis.’”) (quoting Díaz–Fonseca v.

       Puerto Rico, 451 F.3d 13, 33 (1st Cir.2006)); Maysonet-Robles v.

       Cabrero, 323 F.3d 43, 48 n.3 (1st Cir. 2003) (“This circuit has

       consistently held that Puerto Rico enjoys immunity from suit

       equivalent to that afforded to the States under the Eleventh


                                          Add.22
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 102   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 23 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -23-


       Amendment.”); Arecibo Community Health Care, Inc. v. Cmmw. of

       Puerto Rico, 270 F.3d 17, 21 n.3 (1st Cir. 2001)(“It is well

       settled in this circuit that the Commonwealth of Puerto Rico ‘is

       protected by the Eleventh Amendment to the same extent as any

       state...’”); Ortiz-Feliciano v. Toledo-Dávila, 175 F.3d 37, 39

       (1st   Cir.   1999)(“This        circuit    has   already   decided    that   the

       Commonwealth is protected by the Eleventh Amendment to the same

       extent as any state...”); Metcalf & Eddy, Inc. v. Puerto Rico

       Aqueduct and Sewer Auth., 991 F.2d 935, 939 n.3 (1st Cir. 1993)(“We

       have consistently treated Puerto Rico as if it were a state for

       Eleventh Amendment purposes.”).

              In addition, and pertinent to this case, this District has

       previously ruled in intellectual property cases that the Eleventh

       Amendment applies to the Commonwealth. In Berio-Ramos v. Flores-

       Garcia,    2016   WL    270385    (D.P.R.    2016),     this   Court   addressed

       arguments that the Senate of Puerto Rico is not immune from

       copyright infringement suits.          On that occasion —citing Maysonet-

       Robles v. Cabrero, 323 F.3d at 53 and Porto Rico v. Castillo, 227

       U.S. 270, 273 (1913)— the Court ruled that the Copyright Remedy

       Clarification     Act    did   not   abrogate     the   Eleventh   Amendment’s

       sovereign immunity for Puerto Rico; that Puerto Rico is considered

       a state for purposes of federal immunity; and that the application

       of Eleventh Amendment immunity is not limited to states and applies




                                            Add.23
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 103   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 24 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -24-


       to territories like Puerto Rico. Specifically, the Court rebutted

       the same arguments that Plaintiffs bring here by concluding:

             The argument overlooks the fact that in 1913, when Puerto
             Rico was subject to the Jones Act, the Supreme Court
             held that as an unincorporated territory of the United
             States its government is entitled to Eleventh Amendment
             immunity.   Porto Rico v. Castillo, 227 U.S. 270, 273
             (1913). And that situation has not changed after 1952
             under the Federal Relations Act. See, Maysonet-Robles,
             323 F.3d at 53 (1st Cir. 2003) (“Even though Puerto Rico
             is an unincorporated territory of the United States, its
             government has always been considered a sovereign entity
             entitled to immunity from suit without its consent”).

       Berio-Ramos v. Flores-Garcia, supra. See also, Rodriguez v. Casa

       Salsa Restaurant, 260 F. Supp. 2d 413 (D.P.R. 2003) (In an opinion

       dismissing Lanham Act trade dress infringement claims under Fed.

       R. Civ. P. 12(b)(6), the court noted that it had previously

       dismissed the claims against co-defendant Commonwealth based on

       Eleventh Amendment immunity).

             Moreover, quite recently the United States Supreme Court in

       Financial Oversight & Management. Board. for P.R. v. Centro de

       Periodismo Investigativo, Inc., 598 U.S. 339 (2023), “assum[ed]

       without deciding that Puerto Rico is immune from suit in federal

       district court. . .” Although it did not decide if the Commonwealth

       is entitled to sovereign immunity, the Court acknowledged that

       “Circuit precedent ha[s] settled Puerto Rico’s own immunity. . .”

       Id. at 345.

             It is certainly clear that (1) the First Circuit has long

       treated Puerto Rico like a state for Eleventh Amendment purposes


                                          Add.24
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 104   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 25 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -25-


       and (2) the Supreme Court has expressly reserved the question of

       whether    Eleventh     Amendment   immunity       principles    apply    to   the

       Commonwealth. Hence, as discussed above, this Court is required to

       follow    the   First   Circuit,    and    rules     that   Eleventh   Amendment

       sovereign immunity applies to the Commonwealth.

             3. Exceptions to Eleventh Amendment immunity

             The United States Supreme Court has recognized “only two

       circumstances in which an individual may sue a State: First,

       Congress may authorize such a suit in the exercise of its power to

       enforce the Fourteenth Amendment. . .Second, a State may waive its

       sovereign immunity by consenting to suit.” College Savings Bank,

       527 U.S. at 670.

                   a. Abrogation

             The Supreme Court has held that to abrogate the states’

       immunity under the Eleventh Amendment, Congress “must make its

       intent to abrogate sovereign immunity ‘unmistakably clear in the

       language of the statute.’” Fin. Oversight & Mgmt. Bd. for Puerto

       Rico v. Centro de Periodismo Investigativo, Inc., 598 U.S. at 346

       (quoting Kimel v. Florida Bd. of Regents 528 U.S. 62, 73 (2000)).

       Supreme    Court   precedent    has       recently    reiterated   this    point

       stating, “[i]f a defendant enjoys sovereign immunity, abrogation

       requires an ‘unequivocal declaration’ from Congress.” Id. at 347

       (quoting Dellmuth v. Muth, 491 U.S. 223, 232 (1989)); see also

       Seminole Tribe of Fla., 517 U.S. at 55.


                                           Add.25
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 105   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 26 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -26-


                          i.     Congress has not abrogated sovereign immunity
                                 under the Lanham Act

              Regarding    intellectual      property,    Congress     has   enacted

       statutes barring state entities from asserting sovereign immunity

       in infringement matters. Yet, the Supreme Court has invalidated

       these statutes.         In Florida Prepaid Postsecondary Educ. Expense

       Bd. v. College Savings Bank, 527 U.S. 627 (1999), the Court found

       that the Patent and Plant Variety Protection Remedy Clarification

       Act,   which   abrogated     state   immunity   from   patent   infringement

       suits, was unconstitutional. Likewise, in College Savings Bank,

       527 U.S. at 670, a decision issued on the same day as Florida

       Prepaid, the Court found that the Trademark Remedy Clarification

       Act, which abrogated state sovereign immunity for claims under the

       Lanham Act, was unconstitutional. More recently, in Allen v.

       Cooper, the Court ruled that the Copyright Remedy Clarification

       Act of 1990, which abrogated state immunity for liability for

       copyright infringement, was also unconstitutional.

              Hence, “Congress has not abrogated immunity for intellectual

       property claims, including trademark claims, brought under the

       Lanham Act and subsequent amendments.” Kentucky Mist Moonshine,

       Inc. v. University of Kentucky, 192 F.Supp.3d 772 (2016) (citing

       Florida Prepaid Postsecondary Educ. Expense Bd., 527 U.S. at 631

       n.1; College Savings Bank, 527 U.S. at 691). To date, all federal

       courts that have addressed this issue have concluded the same. See



                                            Add.26
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 106   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 27 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -27-


       also Board of Regents of the Univ. of Wisconsin Sys. v. Phoenix

       Int’l Software, Inc., 653 F.3d 448, 458 (7th Cir. 2011) (Observing

       that “these [Supreme Court] decisions appear to foreclose any

       argument that Congress has properly abrogated” state sovereign

       immunity to liability in trademark actions); Jackson v. State of

       Connecticut Dep’t of Pub. Health, No. 3:15-CV-750 (CSH), 2016 WL

       3460304, at *12 (D. Conn. June 20, 2016) (“Just as the Eleventh

       Amendment precludes suits against the State in § 1983 actions,

       such immunity also exists with respect to the Lanham Act[.]”);

       Utah Republican Party v. Herbert, 141 F. Supp. 3d 1195, 1200 (D.

       Utah 2015) (“College Savings Bank made clear that “the Trademark

       Remedy Clarification Act did not abrogate sovereign immunity for

       actions brought under the Lanham Act.”).

             Moreover, Plaintiffs misread the purpose of the Trademark

       Amendments Act of August 5, 1999, PL 106–43 (S 1259), which they

       argue was enacted by Congress after the Florida Prepaid cases to

       reinstate their intention to abrogate state sovereign immunity. A

       review of the Congressional record suggests otherwise: “our bill

       will amend the Lanham Act to subject the federal government to

       suit for trademark infringement and dilution.” 145 Cong. Rec.

       S7452-04, 145 Cong. Rec. S7452-04, S7454, 1999 WL 412237. The

       congressional record clearly reflects the legislature’s intention

       was not to reinstate the dispositions regarding state sovereign

       immunity, which had just been declared unconstitutional:


                                          Add.27
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 107   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 28 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -28-


             The Hatch-Leahy Trademark Amendments Act is significant
             legislation to enhance protection for trademark owners
             and consumers by making it possible to prevent trademark
             dilution before it occurs, by clarifying the remedies
             available under the Federal trademark dilution statute
             when it does occur, by providing recourse against the
             Federal Government for its infringement of others'
             trademarks, and by creating greater certainty and
             uniformity in the area of trade dress protection.

                                             . . .

             Third, the bill amends the Lanham Act to allow for
             private citizens and corporate entities to sue the
             Federal Government for trademark infringement and
             dilution. Currently, the Federal Government may not be
             sued for trademark infringement, even though the Federal
             Government competes in some areas with private business
             and may sue others for infringement. This bill would
             level the playing field, and make the Federal Government
             subject to suit for trademark infringement and dilution.
             I note that the Lanham Act also subjects the States to
             suit,   but   that   provision   has   now   been   held
             unconstitutional. Last week, the Supreme Court held in
             College    Savings   Bank    versus   Florida    Prepaid
             Postsecondary Education Expense Board that federal
             courts were without authority to entertain these suits
             for false and misleading advertising, absent the State's
             waiver of sovereign immunity. This case (as well as the
             other two Supreme Court cases decided the same day),
             raise a number of important copyright, federalism and
             other issues, but do not effect the provision in the
             bill that waives Federal government immunity from suit.

       See 145 Cong. Rec. S8252-01, 145 Cong. Rec. S8252-01, S8253-54,

       1999 WL 484889 (emphasis added).

             In other words, the congressional intention when adopting the

       Trademark    Amendments       Act   was   to   establish   sovereign    immunity

       abrogation    as   to   the    federal     government,     not   for   states   or

       territories.




                                             Add.28
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 108   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 29 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -29-


             In   addition,    recent     congressional      work   confirms    that   —

       contrary    to   Plaintiffs’      arguments—   Congress      did   not   validly

       abrogate state sovereign immunity as to trademark claims under the

       Lanham Act and its amendments. The United States Senate recently

       requested a study from the United States Patent and Trademark

       Office, in light of the ruling in Allen v. Cooper, which to their

       understanding “created a situation in which copyright owners are

       without remedy if a State infringes their copyright and claims

       State sovereign immunity under the Eleventh Amendment of the U.S.

       Constitution”, which “was already the case in patent law and some

       aspects of federal trademark law following two Supreme Court

       decisions in 1999.” See U.S. PATENT            AND   TRADEMARK OFFICE, REPORT   TO

       CONGRESS: INFRINGEMENT DISPUTES BETWEEN PATENT AND TRADEMARK RIGHTS HOLDERS AND

       STATES AND STATE ENTITIES (Aug. 31, 2021) 20. As per letter from Senators

       Patrick Leahy and Thom Tillis, dated April 28, 2020, “Allen v.

       Cooper provided Congress a blueprint for how to validly abrogate

       State   sovereign      immunity    from   certain     patent    and   trademark

       infringement claims.” To that extent, they requested guidance on

       whether legislative action was necessary to address this matter.

             Plaintiffs argue that their trademark claims are not barred

       because Congress has abrogated the Commonwealth’s immunity under

       the Eleventh Amendment. Yet, as discussed, the Supreme Court made

       clear in College Savings that Congress did not abrogate sovereign

       immunity for actions brought under the Lanham Act. This means that,


                                           Add.29
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 109   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 30 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -30-


       to date, the Commonwealth enjoys sovereign immunity with respect

       to Lanham Act claims, unless it has waived its sovereign immunity.

                     b. Waiver

              Sovereign immunity is “a personal privilege which [a State or

       entity of the State] may waive at pleasure.” College Saving Bank,

       527 U.S. at 675 (quoting Clark v. Barnard, 108 U.S. 436, 447

       (1883)).      However,     the   decision    to   waive    such   immunity       “is

       altogether voluntary on the part of the sovereignty.” Id. (quoting

       Beers v. Arkansas, 20 How. 527, 529, 15 L.Ed. 991 (1858)). A waiver

       may be found where (1) a State “voluntarily invokes jurisdiction”

       by filing suit in federal court, or (2) a State “makes a ‘clear

       declaration’ that it intends to submit itself to. . . [the court’s]

       jurisdiction[.]” Id. (quoting Great Northern Life Ins. Co. v. Read,

       322 U.S. 47, 54, 64 S.Ct. 873, 88 L.Ed. 1121 (1944)). When

       reviewing a state’s words, courts should infer waiver only “by the

       most express language or by such overwhelming implications from

       the    text   as   (will)    leave    no   room   for    any   other   reasonable

       construction.”            Edelman v. Jordan, 415 U.S. 651, 673 (1974)

       (quoting Murray v. Wilson Distilling Co., 213 U.S. 151, 171, 29

       S.Ct. 458, 464, 53 L.Ed. 742 (1909)).

              In other words, after College Savings, any waiver of sovereign

       immunity by a state, or in this case by the Commonwealth, must be

       express and voluntary, and cannot be implied or constructive. Under

       this    “stringent”       standard,    Plaintiffs       must   show    express    or


                                             Add.30
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 110   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 31 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -31-


       unequivocal waiver of immunity by the Commonwealth with respect to

       Lanham Act claims. They fail to do so. There is no suggestion in

       Plaintiffs’ Amended Complaint that the Commonwealth has expressly

       consented    to   being   sued   in    federal   court,    nor   is   there   any

       suggestion that it has, in some other way, waived its right to

       sovereign immunity and thus exposed itself to a suit in the federal

       jurisdiction. In fact, the Amended Complaint is completely devoid

       of any allegation or explanation of how Plaintiffs contend that

       they can bypass the Commonwealth’s sovereign immunity in order to

       bring these claims for damages and injunctive relief against it.

                   c. Ex Parte Young: Defendants in their Official Capacity

             There is one remaining exception to the sovereign immunity

       doctrine. The Eleventh Amendment generally bars suits against

       states and state officers in their official capacity. “However,

       the exception to Eleventh Amendment immunity laid out in Ex parte

       Young, 209 U.S. 123 (1908), allows federal courts to “‘grant [ ]

       prospective injunctive relief to prevent a continuing violation of

       federal     law,’   in    part    because      ‘a   suit    challenging       the

       constitutionality of a state official’s action in enforcing state

       law is not one against the State.’” Doe v. Shibinette, 16 F.4th

       894, 903 (1st Cir. 2021) (quoting Negrón-Almeda v. Santiago, 528

       F.3d at 24); see also Green v. Mansour, 474 U.S. 64, 68, (1985).

             While it is true that claims for prospective injunctive relief

       may be advanced against state officials under the Ex parte Young


                                             Add.31
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 111   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 32 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -32-


       exception, claims for “retroactive monetary relief” are barred.

       “It has remained abundantly clear. . .that the Eleventh Amendment

       protects a state official, acting in his official capacity, from

       any claim for retrospective monetary relief, just as if it were a

       suit against the state itself.” Mills v. Maine, 118 F.3d 37, 54

       (1st Cir. 1997). “The Ex parte Young doctrine does not apply in

       cases where plaintiffs seek monetary relief for past violations of

       federal law, regardless of whether the party the plaintiffs seek

       to designate as a defendant is nominally a state officer sued in

       his official capacity.” Vega Castro v. Puerto Rico, 43 F.Supp.2d

       186, 191 (D.P.R. 1999).

              “In determining whether the doctrine of Ex parte Young avoids

       an Eleventh Amendment bar to suit, a court need only conduct a

       ‘straightforward inquiry into whether [the] complaint alleges an

       ongoing    violation    of     federal   law   and    seeks      relief     properly

       characterized as prospective.’” Verizon Md., Inc. v. Pub. Serv.

       Comm’n, 535 U.S. 635, 645 (2002) (quoting Idaho v. Coeur d'Alene

       Tribe of Idaho, 521 U.S. 261, 296, 117 S.Ct. 2028, 138 L.Ed.2d 438

       (1997) (O’Connor, J., concurring in part and concurring in the

       judgment)) (emphasis added). “[T]he pivotal question to be decided

       when   a   defendant   brings     a   motion   to    dismiss     is    whether   the

       requested    relief    would    directly   bring      an   end    to   an    ongoing

       violation of federal law.” Hootstein v. Collins, 670 F. Supp. 2d

       110, 114 (D. Mass. 2009) (citing Papasan v. Allain, 478 U.S. 265,


                                             Add.32
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 112   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 33 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -33-


       278 (1986)). In addition, to pursue the claims for prospective

       injunctive relief, the state officer named in the suit “must have

       some connection with the enforcement of the act, or else [the

       plaintiff] is merely making him a party as a representative of the

       state, and thereby attempting to make the state a party. Ex parte

       Young, 209 U.S. at 157.

             We must also review if the requested equitable relief has

       become moot. “The doctrine of mootness enforces the mandate ‘that

       an actual controversy must be extant at all stages of the review,

       not merely at the time the complaint is filed.’” ACLU of Mass. v.

       U.S. Conf. of Cath. Bishops, 705 F.3d 44, 52 (1st Cir. 2013)

       (quoting Mangual v. Rotger–Sabat, 317 F.3d 45, 60 (1st Cir. 2003)).

       “A case might become moot if subsequent events made it absolutely

       clear that the allegedly wrongful behavior could not reasonably be

       expected to recur.” United States v. Concentrated Phosphate Exp.

       Ass’n, 393 U.S. 199, 203 (1968). One “reason for mootness is that

       a court cannot provide meaningful relief to the allegedly aggrieved

       party,”    especially     when   “the   only    relief   requested     is   an

       injunction,” and “there is no ongoing conduct left for the court

       to enjoin.” U.S. Conf. of Cath. Bishops, 705 F.3d at 53.

             Declaratory    judgements     deeming    past   conduct   illegal     are

       similarly disfavored because “[t]he Supreme Court has admonished

       that federal courts ‘are not in the business of pronouncing that

       past actions [that] have no demonstrable continuing effect were


                                          Add.33
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 113   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 34 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -34-


       right or wrong.’” Id. (quoting Spencer v. Kemna, 523 U.S. 1, 18,

       118 S. Ct. 978, 140 L. Ed. 2d 43 (1998)). For declaratory relief

       to survive a mootness challenge, the facts alleged must “show that

       there is a substantial controversy. . .of sufficient immediacy and

       reality to warrant the issuance of a declaratory judgment.” Preiser

       v. Newkirk, 422 U.S. 395, 402 (1975) (quoting Md. Cas. Co. v. Pac.

       Co., 312 U.S. 270, 273 (1941)).

             This court now employs the inquiry to determine if the

       Plaintiffs’ Ex parte Young claims proceed. In the instant case,

       Plaintiffs are seeking monetary relief for the damages allegedly

       caused   by   the   Commonwealth    and   official   capacity    Defendants.

       Plaintiffs also seek declaratory and injunctive relief regarding

       the Puerto Rico Joint Resolutions No. 16 and 17 of 2021 and Law

       67-2022 which they allege provide for the use of the Roberto

       Clemente trademark and thus violate their due process rights and

       constitute trademark infringement. To determine whether Ex parte

       Young applies, the Court must evaluate whether the complaint: (1)

       alleges an ongoing violation of federal law; and (2) seeks relief

       properly characterized as prospective monetary relief which is

       barred by the Eleventh Amendment.

             As to the first part of the Ex parte Young inquiry, Plaintiffs

       only seek declaratory judgment that Defendants past conduct was

       unlawful. On this matter, there is no real question of conflicting




                                          Add.34
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 114   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 35 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -35-


       legal    interests     for   the    Court    to   consider.     Accordingly,

       Plaintiffs’ request for declaratory judgment must be denied.

             Plaintiffs also seek injunctive relief barring Defendants

       from the “use [of] the Roberto Clemente mark, name and likeness,

       pursuant to Puerto Rico Joint Resolutions No. 16 and 17 of 2021

       without just compensation.”         While Plaintiffs      seek prospective

       relief, they have provided the Court with no basis from which it

       can infer any possibility of an ongoing violation of federal law.

       Moreover, the Plaintiffs’ request for injunctive relief on the

       trademark violations has turned moot since the sale of license

       plates and license labels mandated by Joint Resolutions 16-2021

       and 17-2021 expired by its own terms on December 31, 2022. The

       Plaintiffs have not made any allegations that the Commonwealth or

       individual Defendants continued the sales and alleged trademark

       infringement beyond the date of expiration, and that such specific

       conduct is capable of repetition. Therefore, the Court cannot

       provide meaningful relief, as there is no ongoing conduct left for

       the Court to enjoin. See U.S. Conf. of Cath. Bishops, 705 F.3d at

       53. Accordingly, the Plaintiffs request for injunctive relief must

       also be denied.

             Furthermore, as explained in more detail in the sections that

       follow, even if Plaintiffs were not barred from pursuing claims

       against the Commonwealth in federal court —which they are— and

       even if the claims where to survive prospective, injunctive relief


                                          Add.35
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 115   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 36 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -36-


       for    alleged   ongoing    violations    of   federal   law,   specifically

       trademark infringement, those claims fail because Plaintiffs have

       not stated a viable trademark infringement claim pursuant to the

       Lanham Act.

       C.     Failure to State a Claim for Trademark Infringement pursuant
              to the Lanham Act

              Plaintiffs    allege    that     Defendants   infringed     on     their

       trademark under various provisions of the Lanham Act, 15 U.S.C. §§

       1114    (“Section   32”),     1125(a)    (“Section   43(a)”)    and     1125(c)

       (“Section 43(c)”). Specifically, Plaintiffs posit that “[t]hrough

       the enactment and implementation of Joint Resolution No. 16,

       Defendants incurred in an unauthorized use of the trademark, name

       and likeness of Roberto Clemente in an identical product that the

       one that was going to be sponsored by the trademark owners.”

       (Docket No. 27 at 12-13). They further allege that “[t]he Roberto

       Clemente trademark, his right to publicity and likeness, the legacy

       it represents and the trademarks, names and likeness of his sons

       as individual businessmen and representatives of the mark are

       severally damaged by the actions of the Defendants” and that “[t]he

       actions of the Defendants have caused Plaintiffs losses of business

       opportunities and revenues”. Id. at 23. Also, that the “actions of

       the Defendants constitute a gross misappropriation, discredit

       dilution by blurring and by tarnishment and use in multiple ways

       of the mark of Roberto Clemente, his right to publicity and



                                          Add.36
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 116   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 37 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -37-


       likeness     in     an    illegal,       negligent,      culpable,     willful    and

       unauthorized      manner.         They    also     tarnished     the     Plaintiffs’

       trademarks, persons, names and their own likeness.” Id. at 23-24.

             As to the false advertising claim, Plaintiffs allege that the

       use of the Roberto Clemente mark in license plates and labels

       “constitutes false advertising because it implies that the funds

       would go to the Plaintiffs, owners of the Roberto Clemente mark.

       It is also a use of the mark.” Id. at 11. They further posit that

       Defendants    are        “using   the    Roberto     Clemente    trademark       as   a

       subterfuge to collect money from the People.” Id. In addition,

       they state that the use of the mark has encouraged contempt which

       has led to “innumerable attacks and disdains in the televised,

       written and on-line press, in social networks, in events, and

       during every day activities.” Id.

             1. Each Lanham Act Claim Requires Proof of Use in Commerce
                and Commercial Use

             “Trademark law seeks to prevent one seller from using the

       same ‘mark’ as —or one similar to— that used by another in such a

       way that. . .confuses the public about who really produced the

       goods (or service).” DeCosta v. Viacom Int’l, Inc., 981 F.2d 602,

       605   (1st   Cir.    1992).       Liability      under   each   Lanham    Act    claim

       expressly requires that a plaintiff establishes “use in commerce.”

       Section 32 prohibits the unauthorized reproduction or use in

       commerce of registered trademarks, while Section 43(a) proscribes



                                                Add.37
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 117   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 38 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -38-


       the use in commerce of words or symbols that misidentify the source

       or affiliation of a product or service. As to the dilution claim,

       the Lanham Act expressly excludes dilution liability based on any

       noncommercial      use   of   a   mark.   See   15   U.S.C.   §   1125(c)(3(C).

       Furthermore —separate and independent of the “use in commerce”

       element—    each   Lanham     Act   claim   also     requires,    expressly   or

       implicitly, that the allegedly infringing use be a “commercial

       use” of the plaintiff’s mark.

             More specifically, Section 32 prohibits, in relevant part,

       the unauthorized

             use in commerce [of] any reproduction, counterfeit,
             copy, or colorable imitation of a registered mark in
             connection   with   the   sale,   offering   for   sale,
             distribution, or advertising of any goods or services on
             or in connection with which such use is likely to cause
             confusion, or to cause mistake, or to deceive...

       15 U.S.C. § 1114.

       Likewise, Section 43(a) makes liable

             [a]ny person who, on or in connection with any goods or
             services, or any container for goods, uses in commerce
             any word, term, name, symbol, or device, or any
             combination thereof, or any false designation of origin,
             false or misleading description of fact, or false or
             misleading representation of fact, which -- is likely to
             cause confusion, or to cause mistake, or to deceive as
             to the affiliation, connection, or association of such
             person with another person, or as to the origin,
             sponsorship, or approval of his or her goods, services,
             or commercial activities by another person....

       15 U.S.C. § 1125(a)(1)(A).




                                            Add.38
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 118   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 39 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -39-


             In addition, the Lanham Act prohibits “commercial advertising

       or promotion” that “misrepresents the nature, characteristics,

       [or] qualities” of a product. 15 U.S.C. § 1125(a)(1)(B). Also,

       Section 43(c) provides, in pertinent part: “(3) Exclusions. The

       following shall not be actionable as dilution by blurring or

       dilution    by   tarnishment    under   this   subsection:.     .   .(C)   Any

       noncommercial use of a mark.” 15 U.S.C. § 1125(c)(3)(C).

             Federal trademark rights are created by actual “use” of the

       mark in commerce. Kusek v. Family Circle, Inc., 894 F.Supp. 522,

       531 (D. Mass. 1995) (citing 15 U.S.C. § 1051). Concurrently,

             infringement of a federal trademark right is defined as
             the unauthorized ‘use in commerce’ of any reproduction,
             counterfeit, copy or colorable imitation of a registered
             mark on goods or services ... and/or ‘use in commerce’
             of any word, term, or false designation of origin, false
             or misleading description of fact or false or misleading
             representation of fact, which is likely to cause
             confusion.

       Id. (citing 15 U.S.C. §§ 1114(1)(a) and (b), 1125(a)). Hence, it

       is not just any use of a trademark that will subject a defendant

       to liability. Instead, these sections of the statute, which rely

       on the Commerce Clause as their constitutional basis, prohibit

       infringement only if a trademark is “use[d] in commerce” “in

       connection with” “goods or services.” 15 U.S.C. §§ 1114(1)(a),

       1125(a).

             “The term ‘use in commerce’ means the bona fide use of a mark

       in the ordinary course of trade.” Id. § 1127. This can occur when



                                          Add.39
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 119   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 40 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -40-


       the trademark is used on goods for sale, or “in the sale or

       advertising of services.” Id. Furthermore, Sections 32 and 43(a)

       “do not even reach an unauthorized use unless it is ‘in connection

       with any goods or services.’” Int’l Ass’n of Machinists & Aerospace

       Workers, AFL-CIO v. Winship Green Nursing Ctr., 914 F. Supp. 651,

       654 (D. Me. 1996), aff'd, 103 F.3d 196 (1st Cir. 1996) (discussing

       15 U.S.C. §§ 1114(1)(a), (b), and 1125(a)).

             Thus, a trademark infringement injury under the Lanham Act is

       limited to redressing acts that create consumer confusion:

             [A] trademark is not property in the ordinary sense but
             only a word or symbol indicating the origin of a
             commercial product. The owner of the mark acquires the
             right to prevent the goods to which the mark is applied
             from being confused with those of others and to prevent
             his own trade from being diverted to competitors through
             their use of misleading marks. There are no rights in a
             trademark beyond these.

       Natl. Licensing Assn. v. Inland Joseph Fruit Co., 361 F. Supp.2d

       1244, 1255 (E.D. Wash. 2004) (citing Dresser Industries, Inc. v.

       Heraeus Engelhard Vacuum, Inc., 395 F.2d 457, 464 (3rd Cir. 1968)

       (emphasis added).

             “[T]he Lanham Act was enacted to protect trademarks and

       service marks from use ‘in commerce’ by competitors in order to

       avoid   confusion     among   consumers.”     Utah   Republican    Party   v.

       Herbert, 141 F.Supp.3d 1195, 1204 (D. Utah 2015). “To invoke the

       protections of the Lanham Act, a plaintiff must show that the

       alleged infringer used the plaintiff’s mark ‘in connection with



                                          Add.40
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 120   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 41 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -41-


       any goods or services.’” Id. at 1205. “The Lanham Act is intended

       to protect the ability of consumers to distinguish among competing

       producers, not to prevent all unauthorized uses.” Id. “Unless there

       is a competing good or service labeled or associated with the

       plaintiff’s trademark, the concerns of the Lanham Act are not

       invoked.” Id. at 1204–1205. “[A] trademark, unlike a copyright or

       patent, is not a ‘right in gross’ that enables a holder to enjoin

       all reproductions.” Boston Athletic Ass’n v. Sullivan, 867 F.2d

       22, 35 (1st Cir.1989) (citing Univ. of Notre Dame Du Lac v. J.C.

       Gourmet Food Imports Co., 703 F.2d 1372, 1374 (Fed. Cir. 1983)).

             2. Trademark Infringement under Section 32

                    “[T]o succeed on a claim of trademark infringement, a

       plaintiff must establish (1) that its mark is entitled to trademark

       protection, and (2) that the allegedly infringing use is likely to

       cause consumer confusion.” Boston Duck Tours, LP v. Super Duck

       Tours, LLC, 531 F.3d 1, 12 (1st Cir. 2008); see also Star Financial

       Services, Inc. v. AASTAR Mortg. Corp., 89 F.3d 5, 9 (1st Cir. 1996)

       (quoting DeCosta v. Viacom Int’l, Inc., 981 F.2d 602, 605 (1st

       Cir. 1992)). Nationwide Payment Sols., LLC v. Plunkett, Civil No.

       2:09-600 (GZS), 2011 WL 446077, at *10 (D. Me. Feb. 3, 2011),

       report and recommendation adopted, 2011 WL 1045137 (D. Me. Mar.

       16, 2011); Venture Tape Corp. v. McGills Glass Warehouse, 540 F.3d

       56, 61 n.6 (1st Cir. 2008) (holding that claims under both 15

       U.S.C. §§ 1114 and 1125(a) require plaintiff to allege use in


                                          Add.41
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 121   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 42 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -42-


       commerce of a trademark or marks that misidentify the affiliation

       or source of a service, and likelihood of consumer confusion).

              The Court finds the first prong has been satisfied by the

       federal trademark registration that entitles Plaintiffs to the

       trademark rights. Yet, the Court does not need to review the second

       prong    which     focuses    on    the    possibility   that   the    allegedly

       infringing use is likely to cause consumer confusion. Plaintiffs

       have failed to allege how the Defendants have used their mark in

       commerce “in connection with” “goods or services.”

              Mere, alleged, unauthorized use of a trademark is not enough

       to     establish    standing       for    trademark   infringement.     Although

       Plaintiffs allege Defendants engaged in unauthorized use of a

       trademark of “an identical product that the one that was going to

       be sponsored by the trademark owners,” they have not alleged that

       they actually provide the same “goods or services.” Moreover, “just

       as copyright law does not protect ideas but only their concrete

       expression, neither does trade dress law protect an idea, a

       concept, or a generalized type of appearance.” Bonazoli v. R.S.V.P.

       Int’l, Inc., 353 F. Supp. 2d 218, 229 (D.R.I. 2005) (citing Jeffrey

       Milstein, Inc. v. Greger, Lawlor, Roth, Inc., 58 F.3d 27, 32 (2d

       Cir.    1995)).    Also,     the   eight-factor   confusion     test   generally

       applied in the First Circuit is not applied to assess confusion in

       the abstract; it is focused on the likelihood that commercially




                                                Add.42
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 122   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 43 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -43-


       relevant     persons       or    entities       will     be      confused.        Astra

       Pharmaceutical Prods., Inc. v. Beckman Instruments, 718 F.2d 1201,

       1204–09 (1st Cir. 1983); Pignons S.A. de Mecanique v. Polaroid

       Corp., 657 F.2d 482, 487–92 (1st Cir. 1981). Moreover, cases

       analyzing    the    Lanham      Act   speak     of     confusion    in   terms      of

       “customers,” “consumers,” and “products” or “goods.”

             Here, the alleged “goods or services” in controversy are

       license    plates    and    vehicle     certificate       tags     issued    by    the

       Department of Transportation.           Like many states, the Commonwealth

       uses the vehicle license plate program not only to identify

       vehicles but as a revenue source. “Automobile license plates are

       governmental property intended primarily to serve a governmental

       purpose, and inevitably they will be associated with the state

       that issues them.” Perry v. McDonald, 280 F.3d 159, 169 (2d Cir.

       2001). Consequently, not only are these not the classes of products

       or services that trademark law protects, but issuing motor vehicle

       license plates and tags cannot be considered commercial use, as it

       is a clear government activity. See Walker v. Texas Div., Sons of

       Confederate Veterans, Inc., 576 U.S. 200 (2015).

             Moreover, as described in the Amended Complaint, the license

       plate and tags in controversy depict the figure of Roberto Clemente

       in the context of the fiftieth anniversary of his 3,000th hit. This

       was an event of historical significance for both, Puerto Rico and

       Major     League    Baseball,     and    thus    the     significance        of    its


                                             Add.43
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 123   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 44 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -44-


       memorialization cannot be understated. Courts have recognized the

       public value of information about the game of baseball and its

       players, referring to baseball as “the national pastime.” See

       Cardtoons, L.C. v. Major League Baseball Players Ass’n, 95 F.3d

       959, 972 (10th Cir.1996). To that extent it must be noted that:

             Major league baseball is followed by millions of people
             across this country on a daily basis. . .The public has
             an enduring fascination in the records set by former
             players and in memorable moments from previous games. .
             .The records and statistics remain of interest to the
             public because they provide context that allows fans to
             better appreciate (or deprecate) today’s performances.

       C.B.C. Distribution & Mktg., Inc. v. Major League Baseball Advanced

       Media, L.P., 505 F.3d 818, 823 (8th Cir. 2007) (quoting Gionfriddo

       v. Major League Baseball, 94 Cal.App.4th 400, 411, 114 Cal.Rptr.2d

       307 (2001)).

             In the end, the issue is whether the Commonwealth, through

       Joint Resolutions No. 16 and 17 of 2021 and Act 67-2022, provides

       a “good or service” in commerce that infringes on the Plaintiffs

       trademark. The Plaintiffs have not made a plausible allegation

       that the Commonwealth or Defendants did so, and their claim is

       thus unsuccessful because Plaintiffs failed to state an essential

       element    of   their    trademark     infringement     cause   of   action.

       Accordingly, Plaintiffs lack standing and have failed to state a

       redressable claim under Section 32.




                                          Add.44
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 124   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 45 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -45-


             3. False Advertising Under the Lanham Act

                   Plaintiffs allege that Defendants are liable for false

       advertising in violation of Section 43 of the Lanham Act.

             Section 43(a) creates two distinct bases of liability: false

       association and false advertising. See Lexmark Int’l, Inc. v.

       Static Control Components, Inc., 572 U.S. 118, 122 (2014). The

       Lanham Act prohibits “commercial advertising or promotion” that

       “misrepresents the nature, characteristics, [or] qualities” of a

       product. 15 U.S.C. § 1125(a)(1)(B).

             False advertising claims focus on whether a defendant has

       made some false statement in advertising about the product that

       fundamentally misrepresents its qualities. A false association

       claim    under   subsection   A,   on   the   other   hand,   serves   as   the

       functional equivalent of a traditional trademark infringement

       claim for unregistered marks and trade dress. See 1-800 Contacts,

       Inc. v. Lens.Com, Inc., 722 F.3d 1229, 1238 (10th Cir. 2013). That

       is, the focus of the claim is on whether the mark causes confusion

       by leading consumers to think that two products from different

       sources are from the same source. “Claims brought under this

       section are traditionally referred to as ‘false sponsorship’ or

       ‘false    endorsement’    claims   and   are    traditionally    limited     to

       celebrity plaintiffs.” Ji v. Bose Corp., 538 F. Supp. 2d 349, 351

       (D. Mass. 2008) (citing Parks v. LaFace Records, 329 F.3d 437 (6th

       Cir. 2003)).


                                          Add.45
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 125   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 46 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -46-


              To state a claim for false advertising, a plaintiff must prove

       that “(1) the defendant made a false or misleading description of

       fact or representation of fact in a commercial advertisement about

       his    own    or    another’s     product;      (2)    the   misrepresentation     is

       material,      in   that     it   is   likely     to   influence   the    purchasing

       decision; (3) the misrepresentation actually deceives or has the

       tendency to deceive a substantial segment of its audience; (4) the

       defendant placed the false or misleading statement in interstate

       commerce; and (5) the plaintiff has been or is likely to be injured

       as a result of the misrepresentation, either by direct diversion

       of    sales   or    by   a   lessening    of    goodwill     associated    with   its

       products.” Cashmere & Camel Hair Mfrs. Inst. v. Saks Fifth Ave.,

       284 F.3d 302, 310–11 (1st Cir. 2002). Moreover, to qualify as a

       “commercial advertisement,” for purposes of a Lanham Act false

       advertising claim, a representation must (1) constitute commercial

       speech; (2) made with the intent of influencing potential customers

       to purchase the speaker’s goods or services; (3) made by a speaker

       who is a competitor of the plaintiff in some line of trade or

       commerce; and (4) disseminated to the consuming public in such a

       way as to constitute “advertising” or “promotion.” See Genzyme

       Corp. v. Shire Human Genetic Therapies, Inc., 906 F.Supp.2d 9 (D.

       Mass. 2012).

              Based on the foregoing, Plaintiffs’ claims under Section

       43(a) equally fail as a matter of law.


                                                Add.46
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 126   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 47 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -47-


             First, Plaintiffs lack standing to sue the Commonwealth and

       Defendants under this section of the Lanham Act. In Lexmark, the

       Supreme Court provided the framework for determining whether a

       plaintiff has standing to raise a claim under Section 43(a). The

       Supreme Court held that that a plaintiff invoking Section 43(a)

       must show that his claim falls within the “zone of interests”

       protected by that statute and that his injury was proximately

       caused    by   the    alleged   violation.      In   this    case,   the   Amended

       Complaint fails to plead, much less meet, the proximate cause

       requirement established in Lexmark.

             The Court in Lexmark held “that a plaintiff suing under §

       1125(a) ordinarily must show economic or reputational injury flows

       directly       from   the   deception      wrought      by    the     defendant’s

       advertising; and that that occurs when deception of consumers

       causes them to withhold trade from the plaintiff.” Lexmark Int’l,

       Inc., 572 U.S. at 133. Here, however, not only is there is no

       allegation, or even a suggestion, by Plaintiffs in their Amended

       Complaint, that the Commonwealth or Defendants’ use of the Roberto

       Clemente trademark caused “consumers” to withhold trade from them,

       but as with their Section 32 claim, they again fail to allege “use

       in commerce” and “in connection with goods or services.”

             Moreover, as a false advertising claim, Plaintiffs’ cause is

       plainly    insufficient.        They   fail     to   plead    the    elements   of

       “commercial advertisement” and “commercial speech” as required to


                                              Add.47
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 127   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 48 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -48-


       state claim for false advertising under Lanham Act. Not only are

       the license plates and tags not considered “goods or services”

       under    the     statute,           but   they     also    cannot       be    considered

       advertisements, and Plaintiffs have not even alleged as much.

       Furthermore —and pertinent to this case— we must point out what

       other courts have held in similar false advertising claims. In

       Pirone v. MacMillan, Inc., 894 F.2d 579 (2nd Cir. 1990), the Second

       Circuit rejected a trademark claim asserted by the daughters of

       baseball legend Babe Ruth. There, plaintiffs objected to the use

       of Ruth’s likeness in three photographs which appeared in a

       calendar published by the defendant. The court rejected their

       claim, holding that “a photograph of a human being, unlike a

       portrait    of   a    fanciful        cartoon    character,       is    not   inherently

       ‘distinctive’        in   the       trademark    sense    of    tending      to   indicate

       origin.” Id. at 583. The court noted that Ruth “was one of the

       most photographed men of his generation, a larger than life hero

       to millions and an historical figure in whom interest still runs

       high.” Id.; ETW Corp. v. Jireh Pub., Inc., 332 F.3d 915, 922 (6th

       Cir. 2003) (“[A]s a general rule, a person’s image or likeness

       cannot    function        as    a    trademark.”)    The       Second   Circuit      Court

       concluded that a consumer could not reasonably believe that Ruth

       sponsored the calendar:

             [A]n ordinarily prudent purchaser would have no
             difficulty discerning that these photos are merely the
             subject matter of the calendar and do not in any way


                                                 Add.48
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 128   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 49 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -49-


             indicate sponsorship. No reasonable jury could find a
             likelihood of confusion.


       Id. at 923. Certainly, the same can be applied here to the alleged

       facts regarding the use of the image of Roberto Clemente.

             In addition, Plaintiffs have not pled that Defendants made

       any false or misleading statement beyond the use of the mark. The

       only allegations related to any sort of false or misleading

       statement are the bold conclusory assertions that Defendants’ use

       of the Roberto Clemente mark in the license plates and labels

       “constitutes false advertising because it implies that the funds

       would go to the Plaintiffs, owners of the Roberto Clemente mark”

       and that they are “using the Roberto Clemente trademark as a

       subterfuge    to       collect   money    from   the   People.”    Furthermore,

       Plaintiffs allegations of harm from the alleged violation of the

       statute are conclusory statements of unspecified injury and of the

       type that was not intended to be protected by the Lanham Act.

             Second, Plaintiffs’ Lanham Act claim falls short of the

       factual detail needed to plead plausibility as required by Iqbal

       and   Twombly.     A    review   of    the   Amended   Complaint    reflects   a

       conclusory and formulaic recitation of certain elements of a

       trademark infringement cause of action that is insufficient to

       survive a motion to dismiss. Far from pleading facts showing a

       plausible    cause      of   action,     Plaintiffs    simply   parrot   certain

       statutory language tied with facts that do not amount to a valid


                                              Add.49
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 129   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 50 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -50-


       statutory claim. Likewise, as explained above with respect to

       Plaintiffs’ failure to plead damages meeting the proximate cause

       requirement for actions under Section 43(a) set forth in Lexmark,

       Plaintiffs’ damages allegations —stating no more than that they

       have been harmed from the alleged violation of the statute— come

       nowhere    close   to   meeting   the   Iqbal   and   Twombly   plausibility

       requirement. Plaintiffs’ failure to sufficiently plead damages is

       thus an independent basis on which to dismiss Plaintiffs’ Lanham

       Act claims.

             There is no need for the Court to further analyze Plaintiffs’

       dilution claim, as it also fails on the same grounds as the other

       two Lanham Act claims.

       D.    Takings Clause of the Fifth Amendment in the United States
             Constitution

             Additionally, the Plaintiffs allege that Defendants’ actions

       constituted a taking under the Constitution.

             The Takings Clause of the Fifth Amendment to the United States

       Constitution states that “private property [shall not] be taken

       for public use, without just compensation.” U.S. Const. Amend. V.

       “[A] government violates the Takings Clause when it takes property

       without compensation, and. . .a property owner may bring a Fifth

       Amendment claim under § 1983 at that time.” Knick v. Twp. of Scott,

       Pennsylvania, 139 S. Ct. 2162, 2177, 204 L.Ed.2d 558 (2019).




                                          Add.50
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 130   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 51 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -51-


             The classic taking which requires just compensation is the

       physical appropriation of real or personal private property by the

       government.     For much of the Nation’s history, the Takings Clause

       was thought only to embrace such physical takings and not to apply

       to the regulation of property.          See Lingle v. Chevron U.S.A. Inc.,

       544 U.S. 528, 537 (2005). However, in Pennsylvania Coal Co. v.

       Mahon, 260 U.S. 393, 415 (1922) the United States Supreme Court

       recognized    that    the    regulation       of    private      property    may   be

       considered a taking if the regulation “goes too far.” See also

       Lingle, 544 U.S. at 538. The Supreme Court has identified three

       factors which are helpful in analyzing a regulatory taking: (1)

       the economic impact of the regulation on the property owner; (2)

       the extent to which the regulation has interfered with distinct

       investment-backed      expectations;      and       (3)    the   character   of    the

       government regulation.           See Lingle, 544 U.S. at 539.

             A question raised by the motions before the Court is whether

       a trademark is the type of private property protected by the

       Takings Clause. The question is debatable and far from settled.

       See Dustin Marlan, Trademark Takings: Trademarks As Constitutional

       Property Under the Fifth Amendment Takings Clause, 15 U. Pa. J.

       Const. L. 1581, 1583 (2013). The Supreme Court has recognized other

       intangible    property      as    protected    by    the    Takings   Clause.      See

       Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1004 (1984) (holding an

       intangible property interest in trade secrets is a right protected


                                             Add.51
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 131   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 52 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -52-


       by the Taking Clause of the Fifth Amendment); College Savings Bank,

       527 U.S. at 673 (noting that “the Lanham Act may well contain

       provisions    that     protect     constitutionally        cognizable     property

       interests. . .”); but see In re Int’l Flavors & Fragrances, Inc.,

       183 F.3d 1361, 1366 (Fed. Cir. 1999) (noting that “[t]he federal

       registration of a trademark does not create an exclusive property

       right in the mark.”).

             Plaintiffs       claim     damages,     injunctive      relief,    and   just

       compensation pursuant to Section 1983, alleging that Defendants

       “knowingly, intentionally and in bad faith misappropriated and

       used a trademark and likeness belonging to Plaintiffs for the

       purpose of obtaining the monies of the People of Puerto Rico.”

       (Docket No. 27 at 33). The Commonwealth and Defendants claim that

       Eleventh Amendment immunity also bars the Plaintiffs’ takings

       claim.

             The    Supreme     Court     has     not    addressed    whether    Eleventh

       Amendment immunity applies to takings claims against states or

       territories. Yet, some parties have argued that the recent decision

       in Knick created an exception to the sovereign immunity doctrine

       for Takings Clause claims. However, “[t]he takings claim in Knick

       was brought against a municipality, not the state, and for that

       reason the Supreme Court did not address sovereign immunity.”

       Soscia Holdings, LLC v. Rhode Island, No. 22-CV-266-LM, 2023 WL

       4230720, at *7 (D.R.I. June 15, 2023); See also Pharm. Research &


                                                Add.52
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 132   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 53 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -53-


       Mfrs. of Am. v. Williams, 64 F.4th 932, 949 n.13 (8th Cir. 2023)

       (“Knick did not address sovereign immunity, as it involved a suit

       against a town.”); Skatemore, Inc. v. Whitmer, 40 F.4th 727, 734

       (6th Cir. 2022)(“[n]othing in Knick alters. . .bedrock principles

       of sovereign immunity law.”); Zito v. N.C. Coastal Resources

       Comm’n, 8 F.4th 281, 286 (4th Cir. 2021)(“Thus, every circuit to

       address Knick’s effect on sovereign immunity has concluded that

       Knick   did   not   abrogate    State    sovereign    immunity   in    federal

       court.”); Ladd v. Marchbanks, 971 F.3d 574, 579-80 (6th Cir. 2020);

       Bay Point Props. v. Miss. Transp. Comm’n, 937 F.3d 454, 456-57

       (5th Cir. 2019) (“Nor does anything in Knick even suggest, let

       alone require, reconsideration of longstanding sovereign immunity

       principles    protecting    states      from   suit   in   federal   court.”);

       William v. Utah Dep’t of Corr., 928 F.3d 1209, 1214 (10th Cir.

       2019) (“But Knick did not involve Eleventh Amendment immunity,

       which is the basis of our holding in this case. Therefore, we hold

       that the takings claim against the [Utah Department of Corrections]

       must be dismissed based on Eleventh Amendment immunity. . .”).

             This District has followed the same reasoning in Puma Energy

       Caribe LLC v. Puerto Rico, Civil No. 20-1591 (DRD), 2021 WL

       4314234, at *1 (D.P.R. Sept. 22, 2021):

             The Court fails to see how Knick-which involves a
             Municipality, instead of a state or a state official,
             and essentially addresses the state forum exhaustion of
             just compensation claims for government takings under
             state law- would aid them in their quest as it does not


                                          Add.53
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 133   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 54 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -54-


             discuss Eleventh Amendment immunity nor its interplay
             with the self-executing just compensation clause of the
             Fifth Amendment. Therefore, this Court must apply the
             law as it stands.

             Furthermore, the Court in Puma Energy —founded on settled

       Section 1983 caselaw— concluded that plaintiffs could not pursue

       their Fifth Amendment claim under Section 1983 since it did not

       apply when suing the Commonwealth or its officers in their official

       capacities for monetary relief and the Eleventh Amendment equally

       barred their request for monetary relief. See Id. at *1 n.3 (citing

       Fredyma v. Com. of Mass., 961 F.2d 1565 (1st Cir. 1992)) (“Neither

       states, nor state officials acting in their official capacity, or

       government entities that are ‘arms of the State’ are ‘persons’

       under § 1983 for Eleventh Amendment purposes; they cannot be sued

       for monetary damages.”); Toledo v. Sanchez, 454 F.3d 24, 31 (1st

       Cir. 2006); O’Neill v. Baker, 210 F.3d 41, 47 (1st Cir. 2000);

       Caraballo v. Commonwealth of P.R., 990 F.Supp.2d 165, 172-174

       (D.P.R. 2014) (Dominguez, J.)).

             Though the First Circuit has not dwelled on this thorny

       subject, the consensus among most federal courts of appeals is to

       allow state governments to mount sovereign immunity defenses as to

       takings claims. See Hutto v. S.C. Ret. Sys., 773 F.3d 536, 551-52

       (4th Cir. 2014); DLX, Inc. v. Kentucky, 381 F.3d 511, 528 (6th

       Cir. 2004); Garrett v. Illinois, 612 F.2d 1038, 1040 n.1 (7th Cir.

       1980); Jachetta v. United States, 653 F.3d 898, 912 (9th Cir.



                                          Add.54
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 134   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 55 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -55-


       2011); Robinson v. Georgia Department of Transportation, 966 F.2d

       637, 640 (11th Cir. 1992).

             Therefore, even though Plaintiffs argue that the Eleventh

       Amendment Immunity does not apply and that there is no local remedy

       to redress their takings claim, the Court must conclude that their

       claim under the Takings Clause is equally barred by the sovereign

       immunity doctrine, for the same reasons discussed in section B of

       this Opinion. Also, as discussed before, Ex Parte Young bars

       recovery of monetary damages. Plaintiffs’ request for injunctive

       relief equally fails as to their takings claim.

             Even if this Court assumes —for the sake of argument— that

       trademarks are constitutionally protected property and that the

       sovereign immunity doctrine does not apply, Plaintiffs’ Takings

       Clause claims are still unsupported. Plaintiffs contend that the

       alleged    trademark   infringement     promoted    by   Puerto     Rico   Joint

       Resolutions No. 16 and 17 of 2021 and Act 67-2022 constitute a

       taking of their trademark.

             The latter contention is easily dismissed. A regulation may

       be a categorical or per se regulatory taking when government causes

       a property owner to “suffer a permanent physical invasion of

       [t]he[i]r property” or a regulation completely deprives a property

       owner   of   “all   economically    beneficial     use   of   her   property.”

       Lingle, 544 U.S. at 538. However, as per the allegations in the

       Amended Complaint, neither Puerto Rico Joint Resolutions No. 16


                                          Add.55
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 135   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 56 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -56-


       and 17 of 2021 nor Act 67-2022 seem to deprive Plaintiffs of any

       use of their trademarks, much less “all economically beneficial

       use”   of   the    property.      Plaintiffs      remain     free    to    use   their

       trademarks as they wish.

       E.     Due Process Clause of the Fifth and Fourteenth Amendment

              Plaintiffs also allege that the Defendants are “using and

       pretend     to    continue      using    Plaintiffs     property,     the     Roberto

       Clemente mark, without due process of law.” (Docket No. 27 at 34).

       They add that those actions “constitute a substantive due process

       violation”       because   it    is     “a   governmental    scheme       designed    to

       misappropriate       a   trademark       and   also   the   products,      goods     and

       services of the mark [and that it] shocks the conscience and must

       stop.” (Docket No. 27 at 35).

              The Fourteenth Amendment to the United States Constitution

       prohibits a state from depriving any person of “life, liberty, or

       property, without due process of law.” U.S. Const. amend. XIV, §

       1. “The touchstone of this due process guarantee is the protection

       of   the    individual     against       arbitrary     action   of    government.”

       DePoutot v. Raffaelly, 424 F.3d 112, 117 (1st Cir. 2005) (internal

       quotation marks omitted). The substantive due process guarantee

       “safeguards       individuals      against      certain     offensive      government

       action, notwithstanding that facially fair procedures are used to

       implement them.” Id. The Due Process Clause applies to Puerto Rico.




                                                Add.56
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 136   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 57 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -57-


       See Posadas de Puerto Rico Associates v. Tourism Company of Puerto

       Rico, 478 U.S. 328 (1986).

             To set out a substantive due process claim, a plaintiff

       challenging      specific      acts     of     government        officials        must

       sufficiently     allege    that:   (1)       the    officials’      “acts    were   so

       egregious as to shock the [contemporary] conscience”; and (2) that

       the acts “deprived [them] of a protected interest in life, liberty,

       or property.” Pagan v. Calderon, 448 F.3d 16, 32 (1st Cir. 2006);

       Abdisamad v. City of Lewiston, 960 F.3d 56, 59–60 (1st Cir. 2020)

       (holding that a substantive due process claim must allege facts

       “so    extreme    and     egregious     as     to     shock   the     contemporary

       conscience.”); see also DePoutot, 424 F.3d at 118. The question

       whether “the challenged conduct shocks the contemporary conscience

       is a threshold matter that must be resolved before a constitutional

       right to be free from such conduct can be recognized.” DePoutot,

       424 F.3d at 118. To meet that standard, the officers’ conduct must

       be “truly outrageous, uncivilized, and intolerable.” Harron v.

       Town of Franklin, 660 F.3d 531, 536 (1st Cir. 2011).

             The First Circuit has depicted certain guidelines to direct

       the analysis of conduct’s egregiousness. See Gonzalez-Fuentes v.

       Molina,    607   F.3d   864,   880-81    (1st       Cir.   2010).    On     one   hand,

       “negligence, without more, is simply insufficient to meet the

       conscience-shocking standard.”           Id.       at 881 (internal quotation

       marks omitted). On the other, allegations that state officials had


                                             Add.57
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 137   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 58 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -58-


       “an intent to injure in some way unjustifiable by any government

       interest is likely sufficient” to meet the conscience-shocking

       threshold. Id. (internal quotation marks and brackets omitted).

       Between these two lines are cases that present “closer calls.” Id.

       Ultimately,     though,    the    shocks-the-conscience       threshold    is

       necessarily a “high one,” to prevent the Constitution from being

       demoted to a “font of tort law.” Drake v. Town of New Bos., No.

       16-CV-470-SM, 2017 WL 2455045, at *13 (D.N.H. June 6, 2017)

       (quoting County of Sacramento v. Lewis, 523 U.S. 833, 847 n.8

       (1998)).

             The First Circuit has collected representative cases in which

       plaintiffs established a viable substantive due process claim. See

       Cruz-Erazo v. Rivera-Montanez, 212 F.3d 617, 623 (1st Cir. 2000);

       Harrington v. Almy, 977 F.2d 37, 44 (1st Cir. 1992); see also

       Ortolano v. City of Nashua, No. 22-CV-326-LM, 2023 WL 4237366, at

       *5 (D.N.H. June 28, 2023); Spencer v. Doran, No. 18-CV-1191-LM,

       2020 WL 4904826, at *5 (D.N.H. Aug. 20, 2020) (quoting Cummings v.

       McIntire, 271 F.3d 341, 346 (1st Cir. 2001)). Yet, here, none of

       the allegations against the Defendants come remotely close to

       establishing a claim for a violation of Plaintiffs’ substantive

       due process rights. Their allegations not only fall short of

       complying with the Iqbal and Twombly pleading standards, but they

       pay scant notice to the guidelines outlined by the First Circuit.

       Therefore, the allegations in Plaintiffs’ Amended Complaint are


                                          Add.58
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 138   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 59 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -59-


       insufficient       to    state   a   claim    for   relief    under   a   theory   of

       substantive due process.

       F.    Defendants in their individual capacity

             The individual liability standard [under the Lanham Act]
             does not ask whether the individual participated or
             engaged in some infringing act; instead, it asks whether
             he actively participated as a moving force in the
             decision to engage in the infringing acts, or otherwise
             caused the infringement as a whole to occur.

       Chanel, Inc. v. Italian Activewear of Fla., Inc., 931 F.2d 1472,

       1478 n.8 (11th Cir. 1991). Under this standard, a “corporate

       officer who directs, controls, ratifies, participates in, or is

       the moving force behind the infringing activity” is personally

       liable. See Babbit Elecs., Inc. v. Dynascan Corp., 38 F.3d 1161,

       1184 (11th Cir. 1994).

             It is not clear from current caselaw that the Lanham Act’s

       individual liability disposition also applies to state officers in

       their individual capacity. Regardless, “[a]s a general rule, suits

       seeking    damages        from   state       officials   in    their      individual

       capacities are not barred by the Eleventh Amendment.” Hafer v.

       Melo, 502 U.S. 21, 25 (1991); see also Papasan v. Allain, 478 U.S.

       265, 277 n.11 (1986). Thus, a suit for monetary damages may be

       prosecuted against a state officer in his                     or her      individual

       capacity     for        unconstitutional       or   wrongful     conduct      fairly

       attributable to the officer himself or herself, so long as the




                                              Add.59
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 139   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 60 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -60-


       relief is sought not from the state treasury but from the officer

       personally. Hafer, 502 U.S. at 31.

             Yet, as previously discussed in section C, Plaintiffs have

       failed to adequately plead a claim pursuant to the Lanham Act. On

       motion to dismiss, the Court “need not credit a complaint’s bald

       assertions    or   legal   conclusions.”     Glassman    v.   Computervision

       Corp., 90 F.3d 617, 628 (1st Cir. 1996). Moreover, the Amended

       Complaint must set forth “factual allegations, either direct or

       inferential, respecting each material element necessary to sustain

       recovery under some actionable legal theory.” Gooley v. Mobil Oil

       Corp., 851 F.2d 513, 515 (1st Cir. 1988) This reasoning is equally

       applicable to determining individual liability against Governor

       Pierluisi or the other individual Defendants. Plaintiffs’ Lanham

       Act claims should thus also be dismissed against Defendants in

       their personal capacity because they have failed to allege the

       essential elements of such a claim.

             Likewise, the Court has determined that Plaintiffs’ Amended

       Complaint contains insufficient allegations to establish plausible

       entitlement to relief for any constitutional violations. These

       allegations are equally lacking to hold Defendants liable in their

       individual capacities. Here, Plaintiffs fail to allege any facts

       which demonstrate wrongdoing by the individual Defendants. The

       mere fact that they have enforced the resolution and statute in

       controversy is irrelevant in the absence of allegations that their


                                          Add.60
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 140   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 61 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -61-


       actions were motivated by some improper purpose or acting outside

       the scope of their official duties. In other words, Plaintiffs’

       averments     fall     woefully    short     of    the      “special       showing”

       requirement. Plaintiffs’ conclusory statements, standing alone,

       run afoul of their obligation to outline a claim with sufficient

       supporting facts.

             1. Qualified Immunity

             To protect officials from unnecessary litigation burdens, the

       Supreme    Court     and   First   Circuit   have        often    emphasized    the

       importance of addressing issues of qualified immunity “at the

       earliest possible stage in litigation.” Haley v. City of Boston,

       657 F.3d 39, 47 (1st Cir. 2011) (quoting Hunter v. Bryant, 502

       U.S. 224, 227 (1991)); See, e.g., Est. of Rahim by Rahim v. Doe,

       51 F.4th 402, 411 (1st Cir. 2022) (concluding it was an error for

       the district court to find “that consideration of the ‘clearly

       established’ prong of the qualified immunity defense was premature

       before discovery.”). Thus, although additional factual development

       may be beneficial to this Court’s analysis, the Court addresses

       Defendants’ qualified immunity claims at this stage.

             “When   government     officials     are    sued    in     their   individual

       capacities for money damages, the doctrine of qualified immunity

       shields    them    from    pecuniary   liability         unless    their    conduct

       violated ‘clearly established statutory or constitutional rights

       of which a reasonable person would have known.’” Lawless v. Town


                                           Add.61
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 141   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 62 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -62-


       of Freetown, 63 F.4th 61, 67 (1st Cir. 2023) (quoting Pearson v.

       Callahan, 555 U.S. 223, 231, 129 S.Ct. 808, 172 L.Ed.2d 565

       (2009)). Officials are shielded by qualified immunity to permit

       them    to     fulfill     their     professional      responsibilities       without

       hesitation born of the fear of liability. Anderson v. Creighton,

       483 U.S. 635, 638 (1987).

              Qualified immunity applies where: (1) a federal right was

       violated, and (2) “the unlawfulness of the conduct was clearly

       established at the time.” Lawless, 63 F.4th at 67. Courts may begin

       the    qualified        immunity     analysis    by    considering     the    clearly

       established prong. See Id.

              To     determine    whether     the    allegedly     violated    rights   were

       clearly established, the Court must decide the following: “(1) the

       relative clarity of the governing law to a reasonable official on

       the    date    of   the    alleged    wrong     and   (2)   whether    the   specific

       characteristics of the situation confronted by the official would

       have made it clear to a reasonable official how the governing law

       applied in the given situation.” Id. The governing law must be so

       clear as to put “the statutory or constitutional question beyond

       debate”       because     officials    may    “make    reasonable      but   mistaken

       judgments.” City & Cnty. of San Francisco v. Sheehan, 575 U.S.

       600, 611 (2015). Qualified immunity protects “all but the plainly

       incompetent or those who knowingly violate the law.” Id. (quoting

       Ashcroft v. al-Kidd, 563 U.S. 731, 743, 131 S.Ct. 2074, 179 L.Ed.2d


                                               Add.62
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 142   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 63 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -63-


       1149 (2011)). The plaintiff bears the burden to demonstrate that

       the law was clearly established. Est. of Rahim by Rahim, 51 F.4th

       at 410.

             To    avoid    qualified    immunity      in     the   context    of    their

       constitutional       claims,     Plaintiffs     must     identify      controlling

       authority or a consensus of persuasive cases that provide a clear

       signal     that    the   challenged   conduct    violates     a   constitutional

       right. See Alfano v. Lynch, 847 F.3d 71, 75 (1st Cir. 2017).

             Here, Plaintiffs have failed to provide clearly established

       law that enforcing the Puerto Rico Joint Resolutions No. 16 and 17

       of 2021 and Act 67-2022, in the circumstances of this case, would

       violate their federal constitutional rights. On the contrary, as

       discussed before, it is clear that Plaintiffs’ allegations do not

       plausibly establish a claim under the Lanham Act, the Takings

       Clause, the Due Process Clause, or any other statute cited in their

       Amended Complaint. Moreover, here, Governor Pierluisi as well as

       the other individual Defendants were merely complying with their

       official duties to enforce a law as adopted by the legislature. As

       per the caselaw and other applicable law to date, any reasonable

       public official in their situation could have concluded that no

       trademark     or    proprietary    rights     were   being    violated       by   the

       imposition of the license fees that Plaintiffs have challenged in

       this case.




                                             Add.63
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 143   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 64 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -64-


       G.    Failure to State a Claim Against the Authority

             Pending before the Court is also the Authority’s Motion to

       Dismiss. The Authority contends that Plaintiffs’ Amended Complaint

       must be dismissed against them since it fails to state a plausible

       claim for relief.

             “Dismissal for failure to state a claim is appropriate if the

       complaint fails to set forth factual allegations, either direct or

       inferential, respecting each material element necessary to sustain

       recovery    under   some    actionable    legal   theory.”      Gagliardi   v.

       Sullivan, 513 F.3d at 305 (quoting Centro Médico del Turabo, Inc.,

       406 F.3d at 6) (internal quotations omitted).            At the start, “an

       inquiring court first must separate wheat from chaff; that is, the

       court must separate the complaint’s factual allegations (which

       must be accepted as true) from its conclusory legal allegations

       (which need not be credited).” Morales–Cruz v. Univ. of P.R., 676

       F.3d 220, 224 (1st Cir. 2012). The Court must only accept those

       facts that are “well pleaded,” limiting its inquiry into the

       allegations of the complaint. See Litton Indus., Inc. v. Colon,

       587 F.2d 70, 74 (1st Cir. 1978). Then, the court must determine

       whether the well-pleaded facts, taken in their entirety, permit

       “the reasonable inference that the defendant is liable for the

       misconduct alleged.” Morales–Cruz, 676 F.3d at 224. The Court is

       not    obligated    to     accept   a    plaintiff’s    “bald    assertions,




                                           Add.64
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 144   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 65 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -65-


       unsupportable conclusions, periphrastic circumlocutions, and the

       like.” Aulson v. Blanchard, 83 F.3d 1, 3 (1st Cir. 1996).

             In addition, an action is frivolous if it “lacks an arguable

       basis either in law or in fact.” Neitzke v. Williams, 490 U.S.

       319, 325 (1989). Under 28 U.S.C. § 1915(e)(2)(B)(i), a court may

       dismiss a complaint as frivolous if it is “based on an indisputably

       meritless legal theory” or a “clearly baseless” or “fantastic or

       delusional” factual scenario. See Neitzke, 490 U.S. at 327-28.

             It   is   with   this   progression    in   mind   that    we   turn    to

       Plaintiffs’ declaratory array against the Authority.

             Plaintiffs intend to bring a claim for damages and injunctive

       relief against the Authority pursuant to the Lanham Act and the

       Takings Clause. Yet, the allegations as to the Authority are

       limited to a recital of the dispositions included in Act 67-2022

       which refer to the public corporation as the entity designated by

       that statute as “responsible for the planning and organization of

       the   Roberto     Clemente    Sports    District,    which      includes     the

       development, reconstruction and construction of facilities for its

       proper functioning” and as the recipient of public funds to execute

       those responsibilities. (Docket No. 27 at 8, 16, 18, 20 and 22).

             As to the trademark infringement claim, Plaintiffs allege

       that the Authority has illegally used the Roberto Clemente mark,

       by its mere inclusion or mention in the dispositions of Act 67-

       2022. Yet, the Amended Complaint is void of allegations as to how


                                          Add.65
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 145   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 66 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -66-


       the Authority has used the trademark in violation to the Lanham

       Act. The only allegations that refer to the alleged trademark

       infringement generally read as follows:

              Therefore, Puerto Rico Convention District Authority is
              directly responsible for the creation and the further
              development and administration of the Roberto Clemente
              Sports District which is an unauthorized use of the
              Roberto Clemente trademark and name, and is an imitation
              of Ciudad Deportiva Roberto Clemente which is one of the
              most valuable and recognizable endeavors backed by the
              Roberto Clemente trademark, making the infringement even
              more blatant.

              Defendants in their individual capacities and the Puerto
              Rico Convention District Authority acting under color of
              state    law,    illegally,    culpably,    negligently,
              intentionally, knowingly and willfully, used, are using
              and pretend to continue using the Roberto Clemente mark,
              name and likeness in contravention to the aforementioned
              legal provisions.

              Moreover, Plaintiffs failed to allege how the Authority has

       used   their   mark   in   commerce   “in   connection    with”   “goods   or

       services.” As stated before, mere, alleged, unauthorized use of a

       trademark is not enough to establish standing for a trademark

       infringement claim. Plaintiffs simply fail to plead any of the

       necessary elements of a Lanham Act violation. The plausibility

       standard requires more than a possibility that the Authority has

       acted unlawfully. Their Amended complaint falls short of the

       factual detail needed to plead plausibility as to the Lanham Act

       claim as required by Iqbal and Twombly.

              Regarding the Takings Clause claim, Plaintiffs merely allege

       that “Defendants in their individual capacity and the Puerto Rico


                                          Add.66
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 146   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 67 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -67-


       Convention    District    Authority,       are   compelled    to   redress   the

       damages for the violation of the Plaintiffs’ right to not be

       deprived of property without just compensation.” (Docket No. 27 at

       34). This allegation is only backed by the series of assertions

       that just parrot the dispositions of Act 67-2022, which again,

       mention    the   Authority    only    to    designate    it   as   the   entity

       responsible for implementing part of the public policy established

       in said statute.

             Furthermore, Plaintiffs make the following blank assertion

       that is far from establishing a valid claim under the Takings

       Clause:

             The Puerto Rico Convention District Authority also
             endorsed H.R. 489 and indicated that it was in a unique
             position for the development of the Sports District,
             which goes hand in hand with the Convention District, as
             it is an opportunity to allow them to be the entity that
             develops the administration of the projects carried out
             in the Sports District. Recommended that the Authority
             be responsible for the planning and organization of the
             Sports District, maximizing its potential.

       As the Authority posits, its involvement with Act 67-2022 is

       imposed by the statute and its participation in the legislative

       process cannot amount to liability under the Takings Clause. Also,

       there is no plausible allegation that the Authority has caused any

       breach,    violation,     damage,    or    unlawful     use   of   Plaintiffs’

       property. The combined allegations, taken as true, simply do not

       state a plausible case for relief.




                                            Add.67
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 147   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 68 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -68-


             It is true that the pleadings need not contain detailed

       factual allegations. But, they must provide more than labels and

       conclusions. Naked assertions and mere conclusory statements are

       insufficient     to   survive    dismissal.      The    claims    against   the

       Authority lack an arguable basis in fact and law and the Amended

       Complaint fails to state a claim on which relief can be granted.

       H.    Claims regarding the Puerto Rico Laws

             This Court has supplemental jurisdiction to hear state law

       claims when it has original jurisdiction over the action and the

       claims “form part of the same case or controversy.” 28 U.S.C. §

       1367(a). However, where “all federal-law claims are eliminated

       before trial, the balance of factors to be considered under the

       pendent     jurisdiction    doctrine—judicial          economy,    convenience,

       fairness,     and     comity—point     toward     declining       to   exercise

       jurisdiction over the remaining state-law claims.” Carnegie-Mellon

       Univ. v. Cohill, 484 U.S. 343, 350 n.7 (1988); see also Jesus v.

       Town of Pembroke, NH, 977 F.3d 93, 114 (1st Cir. 2020) (“We have

       held that a district court may decline to exercise supplemental

       jurisdiction when it has dismissed all claims over which it has

       original     jurisdiction,      and     absent     certain        circumstances

       inapplicable here, doing so is not an abuse of discretion.”).

       Moreover, “if it appears that the state issues substantially

       predominate, whether in terms of proof, of the scope of the issues

       raised, or of the comprehensiveness of the remedy sought, the state


                                            Add.68
Case: 23-1922 Case
                Document:  00118118414 Document
                   3:22-cv-01373-GMM     Page: 148   Date09/22/23
                                                 67 Filed Filed: 03/11/2024
                                                                    Page 69 of Entry
                                                                               69 ID: 6628045
       Civil No. 22-1373(GMM)
       Page -69-


       claims may be dismissed without prejudice and left for resolution

       to state tribunals.” United Mine Workers of Am. v. Gibbs, 383 U.S.

       715, 726-27 (1966).      Here, the balance of factors favors declining

       the exercise of supplemental jurisdiction and, therefore, the

       Court hereby DISMISSES WITHOUT PREJUDICE Plaintiffs’ state law

       claims.

                                      IV. CONCLUSION

             For the reasons set forth above, the Court GRANTS the motions

       to dismiss at Docket Nos. 36, 38 and 42 and Plaintiffs’ claims are

       hereby DISMISSED WITH PREJUDICE. In addition, Plaintiffs’ state

       law claims are DISMISSED WITHOUT PREJUDICE. Judgment will be

       entered accordingly.



             IT IS SO ORDERED.

             In San Juan, Puerto Rico, September 22, 2023.


                                            s/Gina R. Méndez-Miró
                                            GINA R. MÉNDEZ-MIRÓ
                                            UNITED STATES DISTRICT JUDGE




                                          Add.69
Case: 23-1922 Case
               Document: 00118118414 Document
                   3:22-cv-01373-GMM  Page: 14968 Date
                                                  Filed Filed: 03/11/2024
                                                        09/22/23   Page 1 of Entry
                                                                             1     ID: 6628045



                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO



         Clemente Properties, Inc., et al., Civil No. 22-1373 (GMM)
                    Plaintiffs,
                            v.
          Hon. Pedro R. Pierluisi Urrutia,
          Governor of Puerto Rico, in his
          Official and Individual Capacity
            and as representative of the
           Commonwealth of Puerto Rico; et
                        als.,
                       Defendants.


                                          JUDGMENT

             Pursuant to this Court’s Opinion and Order at Docket No. 67,

       Judgment is hereby entered DISMISSING WITH PREJUDICE Plaintiffs’

       claims against all Defendants. In addition, Plaintiffs’ state law

       claims are DISMISSED WITHOUT PREJUDICE. The case is now closed for

       statistical purposes.

             IT IS SO ORDERED.

             In San Juan, Puerto Rico, September 22, 2023.


                                            s/Gina R. Méndez-Miró
                                            GINA R. MÉNDEZ-MIRÓ
                                            UNITED STATES DISTRICT JUDGE




                                           Add.70
Case: 23-1922   Document: 00118118414       Page: 150     Date Filed: 03/11/2024    Entry ID: 6628045




                                      U.S. Const. Article IV
       Section 1.
       Full faith and credit shall be given in each state to the public acts, records, and
       judicial proceedings of every other state. And the Congress may by general laws
       prescribe the manner in which such acts, records, and proceedings shall be proved,
       and the effect thereof.
       Section 2.
       The citizens of each state shall be entitled to all privileges and immunities of
       citizens in the several states.
       A person charged in any state with treason, felony, or other crime, who shall flee
       from justice, and be found in another state, shall on demand of the executive
       authority of the state from which he fled, be delivered up, to be removed to the
       state having jurisdiction of the crime.
       No person held to service or labor in one state, under the laws thereof, escaping
       into another, shall, in consequence of any law or regulation therein, be discharged
       from such service or labor, but shall be delivered up on claim of the party to whom
       such service or labor may be due.
       Section 3.
       New states may be admitted by the Congress into this union; but no new states
       shall be formed or erected within the jurisdiction of any other state; nor any state
       be formed by the junction of two or more states, or parts of states, without the
       consent of the legislatures of the states concerned as well as of the Congress.
       The Congress shall have power to dispose of and make all needful rules and
       regulations respecting the territory or other property belonging to the United
       States; and nothing in this Constitution shall be so construed as to prejudice any
       claims of the United States, or of any particular state.
       Section 4.
       The United States shall guarantee to every state in this union a republican form of
       government, and shall protect each of them against invasion; and on application of
       the legislature, or of the executive (when the legislature cannot be convened)
       against domestic violence.




                                              Add.71
Case: 23-1922   Document: 00118118414      Page: 151     Date Filed: 03/11/2024    Entry ID: 6628045




                                   U.S. Const. Amendment V
       No person shall be held to answer for a capital, or otherwise infamous crime,
       unless on a presentment or indictment of a grand jury, except in cases arising in the
       land or naval forces, or in the militia, when in actual service in time of war or
       public danger; nor shall any person be subject for the same offense to be twice put
       in jeopardy of life or limb; nor shall be compelled in any criminal case to be a
       witness against himself, nor be deprived of life, liberty, or property, without due
       process of law; nor shall private property be taken for public use, without just
       compensation.




                                             Add.72
Case: 23-1922   Document: 00118118414      Page: 152     Date Filed: 03/11/2024   Entry ID: 6628045




                                  U.S. Const. Amendment XI
       The judicial power of the United States shall not be construed to extend to any suit
       in law or equity, commenced or prosecuted against one of the United States by
       citizens of another state, or by citizens or subjects of any foreign state.




                                             Add.73
Case: 23-1922   Document: 00118118414      Page: 153     Date Filed: 03/11/2024    Entry ID: 6628045




       15 U.S.C. § 1114 - Remedies; infringement; innocent infringement by printers
                                      and publishers
       (1)Any person who shall, without the consent of the registrant—
       (a) use in commerce any reproduction, counterfeit, copy, or colorable imitation of
       a registered mark in connection with the sale, offering for sale, distribution, or
       advertising of any goods or services on or in connection with which such use is
       likely to cause confusion, or to cause mistake, or to deceive; or
       (b) reproduce, counterfeit, copy, or colorably imitate a registered mark and apply
       such reproduction, counterfeit, copy, or colorable imitation to labels, signs, prints,
       packages, wrappers, receptacles or advertisements intended to be used
       in commerce upon or in connection with the sale, offering for sale, distribution, or
       advertising of goods or services on or in connection with which such use is likely
       to cause confusion, or to cause mistake, or to deceive,
       shall be liable in a civil action by the registrant for the remedies hereinafter
       provided. Under subsection (b) hereof, the registrant shall not be entitled to recover
       profits or damages unless the acts have been committed with knowledge that such
       imitation is intended to be used to cause confusion, or to cause mistake, or to
       deceive.
       As used in this paragraph, the term “any person” includes the United States, all
       agencies and instrumentalities thereof, and all individuals, firms, corporations, or
       other persons acting for the United States and with the authorization and consent of
       the United States, and any State, any instrumentality of a State, and any officer or
       employee of a State or instrumentality of a State acting in his or her official
       capacity. The United States, all agencies and instrumentalities thereof, and all
       individuals, firms, corporations, other persons acting for the United States and with
       the authorization and consent of the United States, and any State, and any such
       instrumentality, officer, or employee, shall be subject to the provisions of this
       chapter in the same manner and to the same extent as any nongovernmental entity.
       (2)Notwithstanding any other provision of this chapter, the remedies given to the
       owner of a right infringed under this chapter or to a person bringing an action
       under section 1125(a) or (d) of this title shall be limited as follows:
       (A) Where an infringer or violator is engaged solely in the business of printing
       the mark or violating matter for others and establishes that he or she was an
       innocent infringer or innocent violator, the owner of the right infringed
       or person bringing the action under section 1125(a) of this title shall be entitled as
       against such infringer or violator only to an injunction against future printing.




                                              Add.74
Case: 23-1922   Document: 00118118414      Page: 154     Date Filed: 03/11/2024    Entry ID: 6628045




       (B) Where the infringement or violation complained of is contained in or is part of
       paid advertising matter in a newspaper, magazine, or other similar periodical or in
       an electronic communication as defined in section 2510(12) of title 18, the
       remedies of the owner of the right infringed or person bringing the action
       under section 1125(a) of this title as against the publisher or distributor of such
       newspaper, magazine, or other similar periodical or electronic communication shall
       be limited to an injunction against the presentation of such advertising matter in
       future issues of such newspapers, magazines, or other similar periodicals or in
       future transmissions of such electronic communications. The limitations of this
       subparagraph shall apply only to innocent infringers and innocent violators.
       (C) Injunctive relief shall not be available to the owner of the right infringed
       or person bringing the action under section 1125(a) of this title with respect to an
       issue of a newspaper, magazine, or other similar periodical or an electronic
       communication containing infringing matter or violating matter where restraining
       the dissemination of such infringing matter or violating matter in any particular
       issue of such periodical or in an electronic communication would delay the
       delivery of such issue or transmission of such electronic communication after the
       regular time for such delivery or transmission, and such delay would be due to the
       method by which publication and distribution of such periodical or transmission of
       such electronic communication is customarily conducted in accordance with sound
       business practice, and not due to any method or device adopted to evade this
       section or to prevent or delay the issuance of an injunction or restraining order with
       respect to such infringing matter or violating matter.
       (D)
       (i)
       (I) A domain name registrar, a domain name registry, or other domain
       name registration authority that takes any action described under clause (ii)
       affecting a domain name shall not be liable for monetary relief or, except as
       provided in subclause (II), for injunctive relief, to any person for such action,
       regardless of whether the domain name is finally determined to infringe or dilute
       the mark.
       (II)A domain name registrar, domain name registry, or other domain
       name registration authority described in subclause (I) may be subject to injunctive
       relief only if such registrar, registry, or other registration authority has—
       (aa)
       not expeditiously deposited with a court, in which an action has been filed
       regarding the disposition of the domain name, documents sufficient for the court to
       establish the court’s control and authority regarding the disposition of the
       registration and use of the domain name;




                                              Add.75
Case: 23-1922   Document: 00118118414       Page: 155     Date Filed: 03/11/2024     Entry ID: 6628045




       (bb) transferred, suspended, or otherwise modified the domain name during the
       pendency of the action, except upon order of the court; or
       (cc) willfully failed to comply with any such court order.
       (ii)An action referred to under clause (i)(I) is any action of refusing to register,
       removing from registration, transferring, temporarily disabling, or permanently
       canceling a domain name—
       (I) in compliance with a court order under section 1125(d) of this title; or
       (II) in the implementation of a reasonable policy by such registrar, registry, or
       authority prohibiting the registration of a domain name that is identical to,
       confusingly similar to, or dilutive of another’s mark.
       (iii) A domain name registrar, a domain name registry, or other domain
       name registration authority shall not be liable for damages under this section for
       the registration or maintenance of a domain name for another absent a showing of
       bad faith intent to profit from such registration or maintenance of the domain
       name.
       (iv) If a registrar, registry, or other registration authority takes an action described
       under clause (ii) based on a knowing and material misrepresentation by any
       other person that a domain name is identical to, confusingly similar to, or dilutive
       of a mark, the person making the knowing and material misrepresentation shall be
       liable for any damages, including costs and attorney’s fees, incurred by the domain
       name registrant as a result of such action. The court may also grant injunctive relief
       to the domain name registrant, including the reactivation of the domain name or
       the transfer of the domain name to the domain name registrant.
       (v) A domain name registrant whose domain name has been suspended, disabled,
       or transferred under a policy described under clause (ii)(II) may, upon notice to
       the mark owner, file a civil action to establish that the registration or use of
       the domain name by such registrant is not unlawful under this chapter. The court
       may grant injunctive relief to the domain name registrant, including the
       reactivation of the domain name or transfer of the domain name to the domain
       name registrant.
       (E)As used in this paragraph—
       (i) the term “violator” means a person who violates section 1125(a) of this title;
       and
       (ii) the term “violating matter” means matter that is the subject of a violation
       under section 1125(a) of this title.
       (3)
       (A) Any person who engages in the conduct described in paragraph (11) of section
       110 of title 17 and who complies with the requirements set forth in that paragraph
       is not liable on account of such conduct for a violation of any right under this
       chapter. This subparagraph does not preclude liability, nor shall it be construed to


                                              Add.76
Case: 23-1922   Document: 00118118414      Page: 156    Date Filed: 03/11/2024   Entry ID: 6628045




       restrict the defenses or limitations on rights granted under this chapter, of
       a person for conduct not described in paragraph (11) of section 110 of title 17,
       even if that person also engages in conduct described in paragraph (11) of section
       110 of such title.
       (B) A manufacturer, licensee, or licensor of technology that enables the making of
       limited portions of audio or video content of a motion picture imperceptible as
       described in subparagraph (A) is not liable on account of such manufacture or
       license for a violation of any right under this chapter, if such manufacturer,
       licensee, or licensor ensures that the technology provides a clear and conspicuous
       notice at the beginning of each performance that the performance of the motion
       picture is altered from the performance intended by the director or copyright holder
       of the motion picture. The limitations on liability in subparagraph (A) and this
       subparagraph shall not apply to a manufacturer, licensee, or licensor of technology
       that fails to comply with this paragraph.
       (C) The requirement under subparagraph (B) to provide notice shall apply only
       with respect to technology manufactured after the end of the 180-day period
       beginning on April 27, 2005.
       (D) Any failure by a manufacturer, licensee, or licensor of technology to qualify
       for the exemption under subparagraphs (A) and (B) shall not be construed to create
       an inference that any such party that engages in conduct described in paragraph
       (11) of section 110 of title 17 is liable for trademark infringement by reason of
       such conduct.




                                             Add.77
Case: 23-1922   Document: 00118118414       Page: 157    Date Filed: 03/11/2024    Entry ID: 6628045




        15 U.S.C. § 1122 - Liability of United States and States, and instrumentalities
                                      and officials thereof
       (a)WAIVER OF SOVEREIGN IMMUNITY BY THE UNITED STATES
       The United States, all agencies and instrumentalities thereof, and all individuals,
       firms, corporations, other persons acting for the United States and with the
       authorization and consent of the United States, shall not be immune from suit in
       Federal or State court by any person, including any governmental or
       nongovernmental entity, for any violation under this chapter.
       (b)WAIVER OF SOVEREIGN IMMUNITY BY STATES
       Any State, instrumentality of a State or any officer or employee of a State or
       instrumentality of a State acting in his or her official capacity, shall not be
       immune, under the eleventh amendment of the Constitution of the United States or
       under any other doctrine of sovereign immunity, from suit in Federal court by
       any person, including any governmental or nongovernmental entity for any
       violation under this chapter.
       (c)REMEDIES
       In a suit described in subsection (a) or (b) for a violation described therein,
       remedies (including remedies both at law and in equity) are available for the
       violation to the same extent as such remedies are available for such a violation in a
       suit against any person other than the United States or any agency or
       instrumentality thereof, or any individual, firm, corporation, or other person acting
       for the United States and with authorization and consent of the United States, or a
       State, instrumentality of a State, or officer or employee of a State or
       instrumentality of a State acting in his or her official capacity. Such remedies
       include injunctive relief under section 1116 of this title, actual damages, profits,
       costs and attorney’s fees under section 1117 of this title, destruction of infringing
       articles under section 1118 of this title, the remedies provided for under sections
       1114, 1119, 1120, 1124 and 1125 of this title, and for any other remedies provided
       under this chapter.




                                              Add.78
Case: 23-1922   Document: 00118118414      Page: 158     Date Filed: 03/11/2024    Entry ID: 6628045




        15 U.S.C. § 1125 - False designations of origin, false descriptions, and dilution
                                           forbidden
       (a) CIVIL ACTION
       (1) Any person who, on or in connection with any goods or services, or any
       container for goods, uses in commerce any word, term, name, symbol, or device, or
       any combination thereof, or any false designation of origin, false or misleading
       description of fact, or false or misleading representation of fact, which—
       (A) is likely to cause confusion, or to cause mistake, or to deceive as to the
       affiliation, connection, or association of such person with another person, or as to
       the origin, sponsorship, or approval of his or her goods, services, or commercial
       activities by another person, or
       (B) in commercial advertising or promotion, misrepresents the nature,
       characteristics, qualities, or geographic origin of his or her or another person’s
       goods, services, or commercial activities,
       shall be liable in a civil action by any person who believes that he or she is or is
       likely to be damaged by such act.
       (2) As used in this subsection, the term “any person” includes any State,
       instrumentality of a State or employee of a State or instrumentality of a State
       acting in his or her official capacity. Any State, and any such instrumentality,
       officer, or employee, shall be subject to the provisions of this chapter in the same
       manner and to the same extent as any nongovernmental entity.
       (3) In a civil action for trade dress infringement under this chapter for trade dress
       not registered on the principal register, the person who asserts trade dress
       protection has the burden of proving that the matter sought to be protected is not
       functional.
       (b) IMPORTATION
       Any goods marked or labeled in contravention of the provisions of this section
       shall not be imported into the United States or admitted to entry at any
       customhouse of the United States. The owner, importer, or consignee of goods
       refused entry at any customhouse under this section may have any recourse by
       protest or appeal that is given under the customs revenue laws or may have the
       remedy given by this chapter in cases involving goods refused entry or seized.
       (c) DILUTION BY BLURRING; DILUTION BY TARNISHMENT
       (1) INJUNCTIVE RELIEF
       Subject to the principles of equity, the owner of a famous mark that is distinctive,
       inherently or through acquired distinctiveness, shall be entitled to an injunction
       against another person who, at any time after the owner’s mark has become


                                              Add.79
Case: 23-1922   Document: 00118118414     Page: 159     Date Filed: 03/11/2024   Entry ID: 6628045




       famous, commences use of a mark or trade name in commerce that is likely to
       cause dilution by blurring or dilution by tarnishment of the
       famous mark, regardless of the presence or absence of actual or likely confusion,
       of competition, or of actual economic injury.
       (2) DEFINITIONS
       (A) For purposes of paragraph (1), a mark is famous if it is widely recognized by
       the general consuming public of the United States as a designation of source of the
       goods or services of the mark’s owner. In determining whether a mark possesses
       the requisite degree of recognition, the court may consider all relevant factors,
       including the following:
       (i) The duration, extent, and geographic reach of advertising and publicity of
       the mark, whether advertised or publicized by the owner or third parties.
       (ii) The amount, volume, and geographic extent of sales of goods or services
       offered under the mark.
       (iii) The extent of actual recognition of the mark.
       (iv) Whether the mark was registered under the Act of March 3, 1881, or the Act
       of February 20, 1905, or on the principal register.
       (B) For purposes of paragraph (1), “dilution by blurring” is association arising
       from the similarity between a mark or trade name and a famous mark that impairs
       the distinctiveness of the famous mark. In determining whether a mark or trade
       name is likely to cause dilution by blurring, the court may consider all relevant
       factors, including the following:
       (i) The degree of similarity between the mark or trade name and the famous mark.
       (ii) The degree of inherent or acquired distinctiveness of the famous mark.
       (iii) The extent to which the owner of the famous mark is engaging in substantially
       exclusive use of the mark.
       (iv) The degree of recognition of the famous mark.
       (v) Whether the user of the mark or trade name intended to create an association
       with the famous mark.
       (vi) Any actual association between the mark or trade name and the famous mark.
       (C) For purposes of paragraph (1), “dilution by tarnishment” is association arising
       from the similarity between a mark or trade name and a famous mark that harms
       the reputation of the famous mark.
       (3) EXCLUSIONSThe following shall not be actionable as dilution by blurring or
       dilution by tarnishment under this subsection:
       (A)Any fair use, including a nominative or descriptive fair use, or facilitation of
       such fair use, of a famous mark by another person other than as a designation of
       source for the person’s own goods or services, including use in connection with—




                                            Add.80
Case: 23-1922   Document: 00118118414       Page: 160     Date Filed: 03/11/2024     Entry ID: 6628045




       (i) advertising or promotion that permits consumers to compare goods or services;
       or
       (ii) identifying and parodying, criticizing, or commenting upon the
       famous mark owner or the goods or services of the famous mark owner.
       (B) All forms of news reporting and news commentary.
       (C) Any noncommercial use of a mark.
       (4) BURDEN OF PROOFIn a civil action for trade dress dilution under this chapter
       for trade dress not registered on the principal register, the person who asserts trade
       dress protection has the burden of proving that—
       (A) the claimed trade dress, taken as a whole, is not functional and is famous; and
       (B) if the claimed trade dress includes any mark or marks registered on the
       principal register, the unregistered matter, taken as a whole, is famous separate and
       apart from any fame of such registered marks.
       (5)ADDITIONAL REMEDIESIn an action brought under this subsection, the owner of
       the famous mark shall be entitled to injunctive relief as set forth in section 1116 of
       this title. The owner of the famous mark shall also be entitled to the remedies set
       forth in sections 1117(a) and 1118 of this title, subject to the discretion of the court
       and the principles of equity if—
       (A) the mark or trade name that is likely to cause dilution by blurring or dilution by
       tarnishment was first used in commerce by the person against whom the injunction
       is sought after October 6, 2006; and
       (B) in a claim arising under this subsection—
       (i) by reason of dilution by blurring, the person against whom the injunction is
       sought willfully intended to trade on the recognition of the famous mark; or
       (ii) by reason of dilution by tarnishment, the person against whom the injunction is
       sought willfully intended to harm the reputation of the famous mark.
       (6) OWNERSHIP OF VALID REGISTRATION A COMPLETE BAR TO ACTIONThe
       ownership by a person of a valid registration under the Act of March 3, 1881, or
       the Act of February 20, 1905, or on the principal register under this chapter shall
       be a complete bar to an action against that person, with respect to that mark, that—
       (A) is brought by another person under the common law or a statute of a State; and
       (B)
       (i) seeks to prevent dilution by blurring or dilution by tarnishment; or
       (ii) asserts any claim of actual or likely damage or harm to the distinctiveness or
       reputation of a mark, label, or form of advertisement.
       (7) SAVINGS CLAUSE
       Nothing in this subsection shall be construed to impair, modify, or supersede the
       applicability of the patent laws of the United States.
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                                              Add.81
Case: 23-1922    Document: 00118118414      Page: 161     Date Filed: 03/11/2024    Entry ID: 6628045




                15 U.S.C. § 1127 - Construction and definitions; intent of chapter
         In the construction of this chapter, unless the contrary is plainly apparent from
       the context—
         The United States includes and embraces all territory which is under its
       jurisdiction and control.
         The word “commerce” means all commerce which may lawfully be regulated
       by Congress.
         The term “principal register” refers to the register provided for by
       sections 1051 to 1072 of this title, and the term “supplemental register” refers to
       the register provided for by sections 1091 to 1096 of this title.
         The term “person” and any other word or term used to designate the applicant or
       other entitled to a benefit or privilege or rendered liable under the provisions of
       this chapter includes a juristic person as well as a natural person. The term
       “juristic person” includes a firm, corporation, union, association, or other
       organization capable of suing and being sued in a court of law.
         The term “person” also includes the United States, any agency or instrumentality
       thereof, or any individual, firm, or corporation acting for the United States and
       with the authorization and consent of the United States. The United States, any
       agency or instrumentality thereof, and any individual, firm, or corporation acting
       for the United States and with the authorization and consent of the United States,
       shall be subject to the provisions of this chapter in the same manner and to the
       same extent as any nongovernmental entity.
         The term “person” also includes any State, any instrumentality of a State, and
       any officer or employee of a State or instrumentality of a State acting in his or her
       official capacity. Any State, and any such instrumentality, officer, or employee,
       shall be subject to the provisions of this chapter in the same manner and to the
       same extent as any nongovernmental entity.
         The terms “applicant” and “registrant” embrace the legal representatives,
       predecessors, successors and assigns of such applicant or registrant.
         The term “Director” means the Under Secretary of Commerce for Intellectual
       Property and Director of the United States Patent and Trademark Office.




                                              Add.82
Case: 23-1922   Document: 00118118414      Page: 162     Date Filed: 03/11/2024    Entry ID: 6628045




         The term “related company” means any person whose use of a mark is controlled
       by the owner of the mark with respect to the nature and quality of the goods or
       services on or in connection with which the mark is used.
         The terms “trade name” and “commercial name” mean any name used by
       a person to identify his or her business or vocation.
         The term “trademark” includes any word, name, symbol, or device, or any
       combination thereof—
         (1) used by a person, or
         (2) which a person has a bona fide intention to use in commerce and applies to
       register on the principal register established by this chapter,
          to identify and distinguish his or her goods, including a unique product, from
       those manufactured or sold by others and to indicate the source of the goods, even
       if that source is unknown.
         The term “service mark” means any word, name, symbol, or device, or any
       combination thereof—
         (1) used by a person, or
         (2) which a person has a bona fide intention to use in commerce and applies to
       register on the principal register established by this chapter,
         to identify and distinguish the services of one person, including a unique service,
       from the services of others and to indicate the source of the services, even if that
       source is unknown. Titles, character names, and other distinctive features of radio
       or television programs may be registered as service marks notwithstanding that
       they, or the programs, may advertise the goods of the sponsor.
         The term “certification mark” means any word, name, symbol, or device, or any
       combination thereof—
         (1) used by a person other than its owner, or
         (2) which its owner has a bona fide intention to permit a person other than the
       owner to use in commerce and files an application to register on the principal
       register established by this chapter,
         to certify regional or other origin, material, mode of manufacture, quality,
       accuracy, or other characteristics of such person’s goods or services or that the
       work or labor on the goods or services was performed by members of a union or
       other organization.




                                             Add.83
Case: 23-1922   Document: 00118118414       Page: 163     Date Filed: 03/11/2024    Entry ID: 6628045




         The term “collective mark” means a trademark or service mark—
         (1) used by the members of a cooperative, an association, or other collective
       group or organization, or
         (2) which such cooperative, association, or other collective group or organization
       has a bona fide intention to use in commerce and applies to register on the
       principal register established by this chapter,
         and includes marks indicating membership in a union, an association, or other
       organization.
         The term “mark” includes any trademark, service mark, collective mark,
       or certification mark.
         The term “use in commerce” means the bona fide use of a mark in the ordinary
       course of trade, and not made merely to reserve a right in a mark. For purposes of
       this chapter, a mark shall be deemed to be in use in commerce—
         (1) on goods when—
         (A) it is placed in any manner on the goods or their containers or the displays
       associated therewith or on the tags or labels affixed thereto, or if the nature of the
       goods makes such placement impracticable, then on documents associated with the
       goods or their sale, and
         (B) the goods are sold or transported in commerce, and
         (2) on services when it is used or displayed in the sale or advertising of services
       and the services are rendered in commerce, or the services are rendered in more
       than one State or in the United States and a foreign country and
       the person rendering the services is engaged in commerce in connection with the
       services.
         A mark shall be deemed to be “abandoned” if either of the following occurs:
         (1) When its use has been discontinued with intent not to resume such use. Intent
       not to resume may be inferred from circumstances. Nonuse for 3 consecutive years
       shall be prima facie evidence of abandonment. “Use” of a mark means the bona
       fide use of such mark made in the ordinary course of trade, and not made merely to
       reserve a right in a mark.
         (2) When any course of conduct of the owner, including acts of omission as well
       as commission, causes the mark to become the generic name for the goods or
       services on or in connection with which it is used or otherwise to lose its




                                              Add.84
Case: 23-1922   Document: 00118118414      Page: 164     Date Filed: 03/11/2024    Entry ID: 6628045




       significance as a mark. Purchaser motivation shall not be a test for determining
       abandonment under this paragraph.
         The term “colorable imitation” includes any mark which so resembles
       a registered mark as to be likely to cause confusion or mistake or to deceive.
         The term “registered mark” means a mark registered in the United States Patent
       and Trademark Office under this chapter or under the Act of March 3, 1881, or the
       Act of February 20, 1905, or the Act of March 19, 1920. The phrase “marks
       registered in the Patent and Trademark Office” means registered marks.
         The term “Act of March 3, 1881”, “Act of February 20, 1905”, or “Act of March
       19, 1920”, means the respective Act as amended.
         A “counterfeit” is a spurious mark which is identical with, or substantially
       indistinguishable from, a registered mark.
         The term “domain name” means any alphanumeric designation which is
       registered with or assigned by any domain name registrar, domain name registry,
       or other domain name registration authority as part of an electronic address on
       the Internet.
         The term “Internet” has the meaning given that term in section 230(f)(1) of title
       47.
         Words used in the singular include the plural and vice versa.
          The intent of this chapter is to regulate commerce within the control
       of Congress by making actionable the deceptive and misleading use of marks in
       such commerce; to protect registered marks used in such commerce from
       interference by State, or territorial legislation; to protect persons engaged in
       such commerce against unfair competition; to prevent fraud and deception in
       such commerce by the use of reproductions, copies, counterfeits, or colorable
       imitations of registered marks; and to provide rights and remedies stipulated by
       treaties and conventions respecting trademarks, trade names, and unfair
       competition entered into between the United States and foreign nations.




                                             Add.85
Case: 23-1922    Document: 00118118414       Page: 165      Date Filed: 03/11/2024     Entry ID: 6628045




       (R. C. de la C. 83)


                             RESOLUCIÓN CONJUNTA NUM. 16
                                  5 DE AGOSTO DE 2021

       Para ordenar a la Secretaria del Departamento de Transportación y Obras Públicas
             confeccionar y expedir una tablilla conmemorativa de los cincuenta (50) años del
             “Hit 3,000” de Roberto Clemente Walker, a partir del 1 de enero de 2022 hasta el
             31 de diciembre de 2022; disponer sobre el diseño y los requisitos para adquirirla;
             ordenar al Secretario del Departamento de Hacienda y a la Secretaria del
             Departamento de Transportación y Obras Públicas aprobar o enmendar las
             normas, reglas y reglamentos necesarios y convenientes; y para otros fines
             relacionados.

                                      EXPOSICIÓN DE MOTIVOS

              Roberto Clemente Walker es uno de los más grandes deportistas que ha dado
       Puerto Rico. Su grandeza y humildad subyace de su calidad humana, que tanto dentro
       como fuera del terreno lo distinguía de entre otros peloteros talentosos. A pesar de su
       trágico fallecimiento el 31 de diciembre de 1972, mientras llevaba ayuda como parte de
       un viaje humanitario hacia Nicaragua, su legado ha permanecido a través de
       generaciones de puertorriqueños.

              En 1973, Roberto Clemente, se convirtió en el primer puertorriqueño e hispano
       en ser exaltado al Salón de la Fama del Béisbol de las Grandes Ligas. Tres meses antes
       del fatídico accidente aéreo que cobró su vida, Clemente alcanzó un “hit” que hasta el
       día de hoy solo han logrado treinta y dos (32) peloteros privilegiados en 144 años de
       historia de las Grandes Ligas. Fue un 30 de septiembre de 1972, cuando el astro boricua
       logro unirse al club de los 3,000 hits.

              El partido entre los Piratas de Pittsburgh y los Mets de Nueva York se encontraba
       en el inicio de la parte baja de la cuarta entrada cuando el pitcher abridor de los Mets,
       Jon Matlack, se enfrentaría a Clemente, Willie Stargell y Richie Zisk, el tercer, cuarto y
       quinto bate de los Piratas. Nuestro orgullo puertorriqueño y Jugador Más Valioso de la
       Serie Mundial de 1971, abrió la tanda por los Piratas ante los vítores de 13,117 fanáticos
       que se dieron cita al estadio Three Rivers de la Ciudad de Pittsburgh. Este fue el
       momento de gloria, cuando en el segundo lanzamiento rompiente fuera del plato el
       pelotero boricua conectó un imparable que terminó picando por el jardín izquierdo.
       Cuando llegó a segunda base se quitó la gorra en un humilde gesto de agradecimiento y
       el árbitro Doug Harvey detuvo brevemente el juego para darle la icónica pelota que
       acreditó su entrada al exclusivo grupo de grandes peloteros que han conseguido 3,000 o
       más hits en su carrera.



                                               Add.86
Case: 23-1922   Document: 00118118414         Page: 166      Date Filed: 03/11/2024      Entry ID: 6628045

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               Clemente llegó a los 3,000 hits en su decimoctava temporada en las Grandes
       Ligas, todas con los Piratas de Pittsburgh. Reconociendo los más altos valores y la
       inspiración que representa la figura de nuestro Roberto Clemente para los jóvenes y
       para las futuras generaciones de puertorriqueños, y con el propósito de honrar su
       memoria, esta Asamblea Legislativa entiende meritorio confeccionar y expedir una
       tablilla conmemorativa a este ilustre deportista puertorriqueño en ocasión a los
       cincuenta años del hit 3,000.

             De otra parte, uno de los sueños de Clemente consistía en crear un espacio para
       que los jóvenes puertorriqueños pudieran practicar sus actividades deportivas y a su
       vez desarrollar destrezas humanitarias, así como brindar clínicas deportivas a nuestra
       juventud. Para aportar a este sueño, esta medida legislativa transfiere veintiún dólares
       ($21) al Distrito Deportivo Roberto Clemente por cada tablilla vendida, para el
       desarrollo de obras y mejoras de estas facilidades deportivas.

              Por todo lo cual, esta Asamblea Legislativa del Estado Libre Asociado de Puerto
       Rico, honrando uno de los más importantes acontecimientos en la historia del deporte
       puertorriqueño, presenta esta Resolución Conjunta. Asimismo, mediante esta
       legislación le allegamos nuevos fondos al Distrito Deportivo, con el fin de asegurar que
       los mismos se desarrollen cabalmente y le puedan servir plenamente al pueblo de
       Puerto Rico, cumpliendo así con el sueño de nuestro Roberto Clemente Walker.

       RESUÉLVESE POR LA ASAMBLEA LEGISLATIVA DE PUERTO RICO:

              Sección 1.-Se ordena a la Secretaria del Departamento de Transportación y Obras
       Públicas, confeccionar y expedir una tablilla conmemorativa de los cincuenta (50) años
       del “Hit 3,000” de Roberto Clemente Walker, a partir del 1 de enero de 2022 hasta el 31
       de diciembre de 2022.

              Sección 2.-La Secretaria del Departamento Transportación y Obras Públicas será
       la encargada de elegir y confeccionar el diseño, tamaño, colores, composición y otros
       detalles físicos de la tablilla, conforme a lo establecido en los Artículos 2.19 y 2.20 de la
       Ley 22-2000, según enmendada, conocida como la “Ley de Vehículos y Tránsito de
       Puerto Rico”.

              Sección 3.-La compra de esta tablilla será obligatoria para todo conductor que
       adquiera una tablilla durante el año natural 2022. El cargo por la tablilla será de
       veintiún dólares ($21), los cuales serán transferidos al Fondo del Distrito Deportivo
       Roberto Clemente, administrado por el Departamento de Hacienda, para uso exclusivo
       del Departamento de Recreación y Deportes.




                                                 Add.87
Case: 23-1922   Document: 00118118414        Page: 167     Date Filed: 03/11/2024     Entry ID: 6628045

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              Sección 4.-Se autoriza al Departamento de Transportación y Obras Públicas y a
       las agencias pertinentes del Gobierno del Estado Libre Asociado de Puerto Rico, realizar
       una campaña informativa que le permita a los ciudadanos conocer sobre la
       disponibilidad de la tablilla conmemorativa de Roberto Clemente, su costo y el uso para
       el cual estarán destinados los fondos generados. Disponiéndose, que se deberá colocar
       un anuncio en las páginas cibernéticas del Gobierno a tal fin durante toda la duración
       de la emisión de las tablillas conmemorativas entre el 1 de enero de 2022 y el 31 de
       diciembre de 2022. Finalizado el periodo conmemorativo, la tablilla se mantendrá como
       opción de uso o colección para todo ciudadano que interese adquirirla conforme a las
       disposiciones de esta Resolución Conjunta.

               Sección 5.-Toda persona que desee cambiar la tablilla de su vehículo por la
       tablilla conmemorativa a Roberto Clemente deberá completar una solicitud a esos
       efectos, entregar la tablilla anterior y comprar los correspondientes Comprobantes de
       Rentas Internas por valor de veintiún dólares ($21) para el pago de la nueva tablilla, en
       adición de los costos ordinarios de dicha transacción. Esta Resolución Conjunta no será
       de aplicación a los dueños de tablillas que al amparo de la Ley 2-2016, deseen migrar su
       tablilla de un vehículo a otro.

               Sección 6.-Las corporaciones públicas, agencias, instrumentalidades y municipios
       del Gobierno del Estado Libre Asociado de Puerto Rico estarán obligados a adquirir la
       tablilla conmemorativa de Roberto Clemente para todo vehículo que estos adquieran a
       partir del 1 de enero de 2022 hasta el 31 de diciembre de 2022, en adición a todos los
       vehículos nuevos vendidos en el 2022.

             Sección 7.-El Secretario del Departamento de Hacienda y la Secretaria del
       Departamento de Transportación y Obras Públicas aprobarán y/o enmendarán las
       normas, reglas y reglamentos que sean necesarios y convenientes para garantizar el
       cumplimiento de lo dispuesto en esta Resolución Conjunta en un periodo de treinta (30)
       días.

              Sección 8.-Esta Resolución Conjunta comenzará a regir inmediatamente después
       de su aprobación.




                                               Add.88
Case: 23-1922     Document: 00118118414                       Page: 168   Date Filed: 03/11/2024   Entry ID: 6628045

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       Order #31349-6177328                                                                        Page 1 of 4


                                                               Add.89
Case: 23-1922     Document: 00118118414                       Page: 169   Date Filed: 03/11/2024   Entry ID: 6628045

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       (R. C. of the C. 83)


                                          JOINT RESOLUTION NUM. 16
                                              AUGUST 5 OF 2021

       To order the Secretary of the Department of Transportation and Public Works to
             prepare and issue a commemorative license plate of the fifty (50) years of
             Roberto Clemente Walker's “3,000 Hit”, starting on January 1, 2022 to December
             31, 2022 ; to provide the design and requirements in order to acquire it; to order
             the Secretary of the Department of Treasury and the Secretary of the Department
             of Transportation and Public Works to approve or amend the necessary and
             convenient guidelines, rules and regulations; and for other related purposes.

                                                               PREAMBLE

              Roberto Clemente Walker is one of the greatest athletes that Puerto Rico has ever
       given. His greatness and humility underlie of his human quality, which both on and off
       the field set him apart from other talented players. Despite his tragic death on
       December 31, 1972, while traveling with aid as part of a humanitarian trip to Nicaragua,
       his legacy has endured through generations of Puerto Ricans.

              In 1973, Roberto Clemente became the first Puerto Rican and Hispanic to be
       inducted into the Major League Baseball Hall of Fame. Three months before the fateful
       plane crash that took his life, Clemente achieved a “hit” that to this day only thirty-two
       (32) privileged players have achieved in 144 years of Major League history. It was on
       September 30, 1972, when the Puerto Rican star managed to join the 3,000 hits club.

               The game between the Pittsburgh Pirates and the New York Mets was at the
       beginning of the bottom part of the fourth entry when the Mets’ starting pitcher, Jon
       Matlack, would face Clemente, Willie Stargell and Richie Zisk, the third, fourth and
       fifth hitters of the Pirates. Our Puerto Rican pride and Most Valuable Player of the 1971
       World Series opened the round for the Pirates on front of the cheers of 13,117 fans who
       were gathered at Three Rivers Stadium in the City of Pittsburgh. This was the moment of
       glory, when on the second breaking pitch off the home plate the Puerto Rican player
       connected an unstoppable hit that ended up landing in left field. When he reached
       second base, he took off his cap in a humble gesture of gratitude and the referee Doug
       Harvey briefly stopped the game to give him the iconic ball that accredited his entry
       into the exclusive group of great baseball players who have had 3,000 or more hits in
       their career.

       Order #31349-6177328                                                                        Page 2 of 4


                                                               Add.90
Case: 23-1922     Document: 00118118414                       Page: 170   Date Filed: 03/11/2024   Entry ID: 6628045

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               Clemente reached 3,000 hits in his eighteenth season in the Major Leagues, all
       with the Pittsburgh Pirates. Recognizing the highest values and inspiration that the
       figure of our Roberto Clemente represents for young people and for future generations
       of Puerto Ricans, and with the purpose of honoring his memory, this Legislative
       Assembly considers it worthwhile to prepare and issue a commemorative license plate
       to this illustrious Puerto Rican athlete on the occasion of the fifty years of the 3,000 hits.

                On the other hand, one of Clemente's dreams was to create a space for young
       Puerto Ricans to practice their sports and, at the same time develop humanitarian skills
       and, provide sports clinics to our youth. To contribute to this dream, this legislative
       measure transfers twenty-one dollars ($21) to the Roberto Clemente Sports District for
       each license plate sold, for the development of works and improvements to these sports
       facilities.

             Therefore, this Legislative Assembly of the Commonwealth of Puerto Rico,
       honoring one of the most important events in the history of Puerto Rican sports,
       presents this Joint Resolution. Likewise, by way of this legislation we provide new
       funds to the Sports District, in order to ensure that the funds are precisely developed
       and can fully serve the people of Puerto Rico, thus fulfilling the dream of our Roberto
       Clemente Walker.

       SO ORDERED BY THE LEGISLATIVE ASSEMBLY OF PUERTO RICO:

              Section 1.- The Secretary of the Department of Transportation and Public Works
       is ordered to prepare and issue a commemorative license plate for the fifty (50) years of
       the “3,000 Hit” by Roberto Clemente Walker, from January 1, 2022 to December 31,
       2022.

              Section 2.- The Secretary of the Department of Transportation and Public Works
       will be the one in charge of choosing and preparing the design, size, colors, composition
       and other physical details of the license plate, in accordance with the provisions of
       Articles 2.19 and 2.20 of Law 22-2000, as amended, known as the “Puerto Rico Vehicle
       and Traffic Law”.

              Section 3.- The purchase of this license plate will be mandatory for every driver
       that acquires a license plate during the 2022 calendar year. The charge for the license
       plate will be twenty-one dollars ($21), which will be transferred to the Roberto
       Clemente Sports District Fund, managed by the Department of Treasury, for exclusive
       use of the Department of Sports and Recreation.



       Order #31349-6177328                                                                        Page 3 of 4


                                                               Add.91
Case: 23-1922     Document: 00118118414                       Page: 171   Date Filed: 03/11/2024   Entry ID: 6628045

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              Section 4.- The Department of Transportation and Public Works and the relevant
       agencies of the Government of the Commonwealth of Puerto Rico are authorized to
       carry out an information campaign that allows the citizens to learn about the
       availability of the Roberto Clemente commemorative license plate, its cost and the use
       to which the generated funds will be allocated on. Provided, that an announcement
       must be placed on the Government's websites during the entire duration of the issuance
       of the commemorative license plates between January 1, 2022, and December 31, 2022.
       Once the commemorative period has ended, the license plate will be maintained as an
       option for use or collection for any citizen who is interested in acquiring it in
       accordance with the provisions of this Joint Resolution.

              Section 5.- Any person who wishes to change the license plate of their vehicle for
       the Roberto Clemente commemorative license plate must complete an application for
       this purpose, and deliver the previous license plate and purchase the corresponding
       Internal Revenue Stamps for the value of twenty-one dollars ($21) for the payment of
       the new license plate, in addition to the ordinary costs of said transaction. This Joint
       Resolution will not apply to license plate owners who, under Law 2-2016, wish to
       migrate their license plate from one vehicle to another..

             Section 6.- Public corporations, agencies, instrumentalities and municipalities of
       the Government of the Commonwealth of Puerto Rico will be mandated to acquire the
       Roberto Clemente commemorative license plate for every vehicle they acquire from
       January 1, 2022 until December 31, 2022. in addition to all new vehicles sold in 2022.

              Section 7.- The Secretary of the Department of the Treasury and the Secretary of
       the Department of Transportation and Public Works will approve and/or amend the
       guidelines, rules and regulations that are necessary and convenient to guarantee the
       compliance of the provisions of this Joint Resolution in a period of thirty (30 ) days.

             Section 8.- This Joint Resolution will start taking effect immediately after its
       approval.




       Order #31349-6177328                                                                        Page 4 of 4


                                                               Add.92
Case: 23-1922    Document: 00118118414       Page: 172      Date Filed: 03/11/2024     Entry ID: 6628045



       (R. C. de la C. 84)
       (Conferencia)


                             RESOLUCIÓN CONJUNTA NUM. 17
                                  5 DE AGOSTO DE 2021

       Para ordenar a la Secretaria del Departamento de Transportación y Obras Públicas a
             confeccionar y expedir un marbete conmemorativo a los cincuenta (50) años del
             “Hit 3,000” de Roberto Clemente Walker para el año 2022; requerirle al Secretario
             de Hacienda que, en coordinación con la Secretaria de Transportación y Obras
             Públicas y los proveedores de servicios de cobro de pagos de marbete, establezca
             un procedimiento sobre los requisitos para el pago del marbete y donativos;
             enmendar las Secciones 1 y 3 de la Resolución Conjunta 8-2017; y para otros fines
             relacionados.

                                     EXPOSICIÓN DE MOTIVOS

              Roberto Clemente Walker es uno de los más grandes deportistas que ha dado
       Puerto Rico. Su grandeza y humildad subyace de su calidad humana, que tanto dentro
       como fuera del terreno lo distinguía de entre otros peloteros talentosos. A pesar de su
       trágico fallecimiento el 31 de diciembre de 1972 mientras llevaba ayuda como parte de
       un viaje humanitario hacia Nicaragua, su legado ha permanecido a través de
       generaciones de puertorriqueños.

              En 1973, Roberto Clemente, se convirtió en el primer puertorriqueño e hispano
       en ser exaltado al Salón de la Fama del Béisbol de las Grandes Ligas. Tres meses antes
       del fatídico accidente aéreo que cobró su vida, Clemente alcanzó un “hit” que hasta el
       día de hoy solo han logrado 32 peloteros privilegiados en 144 años de historia de las
       Grandes Ligas. Fue un 30 de septiembre de 1972 cuando el astro boricua logro unirse al
       club de los 3,000 hits.

              El partido entre los Piratas de Pittsburgh y los Mets de Nueva York se encontraba
       en el inicio de la parte baja de la cuarta entrada cuando el pitcher abridor de los Mets,
       Jon Matlack, se enfrentaría a Clemente, Willie Stargell y Richie Zisk, el tercer, cuarto y
       quinto bate de los Piratas. Nuestro orgullo puertorriqueño y Jugador Más Valioso de la
       Serie Mundial de 1971, abrió la tanda por los Piratas ante los vítores de 13,117 fanáticos
       que se dieron cita al estadio Three Rivers de la Ciudad de Pittsburgh. Este fue el
       momento de gloria, cuando en el segundo lanzamiento rompiente fuera del plato el
       pelotero boricua conectó un imparable que terminó picando por el jardín izquierdo.
       Cuando llegó a segunda base se quitó la gorra en un humilde gesto de agradecimiento y
       el árbitro Doug Harvey detuvo brevemente el juego para darle la icónica pelota que
       acreditó su entrada al exclusivo grupo de grandes peloteros que han conseguido 3,000 o
       más hits en su carrera.


                                               Add.93
Case: 23-1922   Document: 00118118414        Page: 173     Date Filed: 03/11/2024     Entry ID: 6628045

                                                  2


               Clemente llegó a los 3,000 hits en su temporada número 18 en las Grandes Ligas,
       todas con los Piratas de Pittsburgh. Reconociendo los más altos valores y la inspiración
       que representa la figura de nuestro Roberto Clemente para los jóvenes y para las futuras
       generaciones de puertorriqueños, y con el propósito de honrar su memoria, esta
       Asamblea Legislativa entiende meritorio confeccionar y expedir un marbete
       conmemorativo a este ilustre deportista puertorriqueño en ocasión a los cincuenta años
       del hit 3,000.

              De otra parte, uno de los sueños de Clemente consistía en crear un espacio para
       que los jóvenes puertorriqueños pudieran practicar sus actividades deportivas y a su
       vez desarrollar destrezas humanitarias, así como brindar clínicas deportivas a nuestra
       juventud. Para aportar a este sueño, esta medida legislativa transfiere las aportaciones
       ciudadanas al Fondo del Distrito Deportivo Roberto Clemente para el desarrollo de
       obras y mejoras de estas facilidades deportivas.

              Por todo lo cual, esta Asamblea Legislativa del Estado Libre Asociado de Puerto
       Rico, honrando uno de los más importantes acontecimientos en la historia del deporte
       puertorriqueño, presenta esta Resolución Conjunta. Asimismo, mediante esta
       legislación le allegamos nuevos fondos al Distrito Deportivo, con el fin de asegurar que
       los mismos se desarrollen cabalmente y le puedan servir plenamente al pueblo de
       Puerto Rico, cumpliendo así con el sueño de nuestro Roberto Clemente Walker.

       RESUÉLVESE POR LA ASAMBLEA LEGISLATIVA DE PUERTO RICO:

             Sección 1.-Se ordena a la Secretaria del Departamento de Transportación y Obras
       Públicas, a honrar el legado deportivo y social que representa el astro boricua Roberto
       Clemente Walker confeccionando y expidiendo un marbete conmemorativo a los
       cincuenta (50) años del “Hit 3,000”, a ser expedido y utilizado en el año 2022, según se
       dispone en la Sección 4 de esta Resolución Conjunta.

               Sección 2.-La Secretaria del Departamento de Transportación y Obras Públicas
       será la encargada de confeccionar el diseño, tamaño, composición y otros detalles físicos
       del marbete, según se disponga en las leyes, reglamentos aplicables, la Sección 4 de la
       presente Resolución Conjunta.

             Sección 3.-Para el año 2022 exclusivamente, el marbete conmemorativo tendrá un
       costo de cinco dólares ($5.00) en adición a los costos regulares por concepto de
       derechos, aranceles y multas.

             Sección 4.-El marbete conmemorativo será circulado durante el proceso de
       expedición y renovación de licencias para vehículos de motor correspondientes al año
       natural 2022. El marbete conmemorativo será en color amarillo, contendrá la figura de




                                               Add.94
Case: 23-1922   Document: 00118118414        Page: 174     Date Filed: 03/11/2024     Entry ID: 6628045

                                                  3


       Roberto Clemente con su número veintiuno (21) y llevará una frase alusiva a los
       cincuenta (50) años del hit 3,000.
             Sección 5.-Durante el año natural 2022, el Departamento de Recreación y
       Deportes consignará al Fondo General de la Universidad de Puerto Rico la cantidad de
       dos mil (2,000) dólares mensuales provenientes de los recaudos establecidos en las
       Secciones 3 y 5 de esta Resolución Conjunta, venciendo su término de pago el 31 de
       diciembre de 2022.

              Sección 6.-Se ordena al Secretario de Hacienda a que, en coordinación con la
       Secretaria de Transportación y Obras Públicas y los proveedores de servicio de cobro de
       pagos de marbetes, establezca un procedimiento que permita a los ciudadanos realizar
       junto al pago correspondiente a la renovación del marbete, un donativo por la cantidad
       de cinco dólares ($5.00), diez dólares ($10.00), veinte dólares ($20.00) o cualquier otra
       cantidad deseada. El costo del marbete conmemorativo y los donativos realizados por
       los ciudadanos descritos anteriormente serán destinados en su totalidad al Fondo del
       Distrito Deportivo Roberto Clemente, administrado por el Departamento de Hacienda
       para uso exclusivo del Departamento de Recreación y Deportes. Todos los proveedores
       de servicio de cobro de pagos de marbetes estarán obligados a notificarle al ciudadano
       que podrá efectuar la donación en una de las cantidades antes mencionadas al
       momento de realizar su pago, pero que dicha donación será voluntaria y podrá negarse
       a efectuar la misma sin que esto afecte de forma alguna la obtención del marbete.
       Disponiéndose que, el procedimiento para realizar las donaciones aquí descrito deberá
       establecerse e implementarse en o antes del 1 de enero de 2022, de manera que, para en
       o antes de esta fecha, los ciudadanos puedan comenzar a realizar su donativo al
       momento de realizar su pago por concepto de marbete. Este procedimiento estará
       vigente hasta que culmine la emisión de marbetes conmemorativos que por esta
       Resolución Conjunta se establece.

             Sección 7.-El Secretario de Hacienda adoptará, en coordinación con la Secretaria
       de Transportación y Obras Públicas y los proveedores de servicio de cobro de pagos de
       marbetes, las normas, reglas y reglamentos que sean necesarios para garantizar el
       cumplimiento de lo dispuesto en esta Resolución Conjunta.

              Sección 8.-Se ordena al Secretario de Hacienda a rendir un informe anual a la
       Asamblea Legislativa donde detalle los recaudos mensuales y depósitos allegados al
       Fondo del Distrito Deportivo Roberto Clemente que se logren tras la implementación de
       la presente Resolución Conjunta. Dicho informe comprenderá el año natural 2022 hasta
       que culmine la emisión de los marbetes conmemorativos aquí detallados. Este será
       remitido a la Asamblea Legislativa en o antes del 31 de enero de 2023. Disponiéndose
       que el primer informe comprenderá los recaudos realizados a partir del 1 de enero de
       2022 y será remitido a la Asamblea Legislativa en o antes del 31 de enero de 2023.




                                               Add.95
Case: 23-1922        Document: 00118118414      Page: 175     Date Filed: 03/11/2024     Entry ID: 6628045

                                                     4


              Sección 9.-Se faculta a la Secretaria del Departamento de Transportación y Obras
       Públicas, de ser necesario para cumplir los fines de esta Resolución Conjunta, a
       enmendar la reglamentación aprobada en virtud de la Ley Núm. 46 del 13 de julio de
       1978, según enmendada, y la Ley 22-2000, según enmendada, conocida como “Ley de
       Vehículos y Tránsito de Puerto Rico”.

              Sección 10.-Se enmienda la Sección 1 de la Resolución Conjunta 8-2017, para que
       lea como sigue:

                      “Sección 1.-Se ordena al Secretario del Departamento de Transportación y
                Obras Públicas, a honrar el baluarte educativo, cultural y social que representa la
                Universidad de Puerto Rico y confeccionar y expedir un marbete conmemorativo
                de esta y sus once (11) unidades institucionales, a ser expedidos y utilizados
                según se dispone en la Sección 3 de esta Resolución Conjunta.”

              Sección 11.-Se enmienda la Sección 3 de la Resolución Conjunta 8-2017, para que
       lea como sigue:

                        “Sección 3.-Los marbetes conmemorativos serán circulados durante el
                proceso de expedición y renovación de licencias para vehículos de motor
                correspondientes a los años naturales 2020 al 2032 y contendrán los emblemas
                oficiales de la Universidad de Puerto Rico y sus unidades institucionales según
                se dispone a continuación:

                a)      Para el año 2020, el marbete deberá mostrar el emblema oficial
                        institucional de la Universidad de Puerto Rico.

                b)      Para el año 2021, el marbete deberá mostrar el emblema oficial del Recinto
                        Universitario de Río Piedras de la Universidad de Puerto Rico.

                c)      Para el año 2022, el marbete deberá mostrar el emblema oficial del Recinto
                        Universitario de Mayagüez de la Universidad de Puerto Rico.

                d)      Para el año 2024, el marbete deberá mostrar el emblema oficial del Recinto
                        de Ciencias Médicas de la Universidad de Puerto Rico.

                e)      Para el año 2025, el marbete deberá mostrar el emblema oficial de la
                        Universidad de Puerto Rico en Humacao.

                f)      Para el año 2026, el marbete deberá mostrar el emblema oficial de la
                        Universidad de Puerto Rico en Arecibo.




                                                  Add.96
Case: 23-1922        Document: 00118118414    Page: 176   Date Filed: 03/11/2024   Entry ID: 6628045

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                g)      Para el año 2027, el marbete deberá mostrar el emblema oficial de la
                        Universidad de Puerto Rico en Cayey.

                h)      Para el año 2028, el marbete deberá mostrar el emblema oficial de la
                        Universidad de Puerto Rico en Ponce.

                i)      Para el año 2029, el marbete deberá mostrar el emblema oficial de la
                        Universidad de Puerto Rico en Bayamón.

                j)      Para el año 2030, el marbete deberá mostrar el emblema oficial de la
                        Universidad de Puerto Rico en Aguadilla.

                k)      Para el año 2031, el marbete deberá mostrar el emblema oficial de la
                        Universidad de Puerto Rico en Carolina.

                l)      Para el año 2032, el marbete deberá mostrar el emblema oficial de la
                        Universidad de Puerto Rico en Utuado.”

              Sección 11.-Esta Resolución Conjunta comenzará a regir inmediatamente después
       de su aprobación.




                                                Add.97
Case: 23-1922     Document: 00118118414                       Page: 177   Date Filed: 03/11/2024   Entry ID: 6628045

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       Order #31349-6177328                                                                        Page 1 of 6


                                                               Add.98
Case: 23-1922     Document: 00118118414                       Page: 178   Date Filed: 03/11/2024   Entry ID: 6628045

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       (R. C. of the C. 84)
       (Conference)

                                             JOINT RESOLUTION NO. 17
                                                  AUGUST 5, 2021

       To order the Secretary of the Department of Transportation and Public Works to
             prepare and issue a commemorative annual vehicle registration label for the fifty
             (50) years of Roberto Clemente Walker's “3,000 Hit” for the year 2022; require
             the Secretary of the Treasury to, in coordination with the Secretary of
             Transportation and Public Works and the service providers for collecting vehicle
             registration label payments, establish a procedure on the requirements for the
             payment of the label and donations; amend Sections 1 and 3 of Joint Resolution
             8-2017; and for other related.

                                                              PREAMBLE
             Roberto Clemente Walker is one of the greatest athletes that Puerto Rico has
       ever produced. His greatness and humility underlie his human quality, which both on
       and off the field set him apart from among other talented players. Despite his tragic
       death on December 31, 1972, while traveling with aid on a humanitarian trip to
       Nicaragua, his legacy has endured through generations of Puerto Ricans.
               In 1973, Roberto Clemente became the first Puerto Rican and Hispanic to be
       inducted into the Major League Baseball Hall of Fame. Three months before the fateful
       plane crash that claimed his life, Clemente achieved a “hit” that to this day only 32
       privileged players have achieved in 144 years of Major League history. It was
       September 30, 1972 when the Puerto Rican star managed to join the 3,000 hits club.
               The game between the Pittsburgh Pirates and the New York Mets was at the
       beginning of the bottom of the fourth inning when Mets starting pitcher Jon Matlack
       would face Clemente, Willie Stargell and Richie Zisk, the third, fourth and fifth hitter for
       the Pirates. Our Puerto Rican pride and Most Valuable Player of the 1971 World Series
       opened the round for the Pirates on the sound of the cheers of 13,117 fans who
       gathered at Three Rivers Stadium in the City of Pittsburgh. This was the moment of
       glory, when on the second breaking pitch off the plate the Puerto Rican player swung hit
       a hit that ended up going straight up left field. When he reached second base, he took
       off his cap in a humble gesture of gratitude and umpire Doug Harvey briefly stopped the
       game to give him the iconic ball that accredited his entry into the exclusive group of
       great players who have had 3,000 or more hits in their career.



       Order #31349-6177328                                                                        Page 2 of 6


                                                               Add.99
Case: 23-1922     Document: 00118118414                       Page: 179   Date Filed: 03/11/2024   Entry ID: 6628045

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                Clemente reached 3,000 hits in his 18th season in the Major Leagues, all with
       the Pittsburgh Pirates. Recognizing the highest values and inspiration that the figure of
       our Roberto Clemente represents for young people and for future generations of Puerto
       Ricans, and with the purpose of honoring his memory, this Legislative Assembly
       considers it worthwhile to make and issue a commemorative vehicle registration label to
       this illustrious Puerto Rican athlete on the occasion of the fifty years of 3,000 hit.
               On the other hand, one of Clemente's dreams was to create a space for young
       Puerto Ricans to practice their sports activities and at the same time develop
       humanitarian skills and, provide sports clinics to our youth. To contribute to this dream,
       this legislative measure transfers citizen contributions to the Roberto Clemente Sports
       District Fund for the development of works and improvements to these sports facilities.
              Therefore, this Legislative Assembly of the Commonwealth of Puerto Rico,
       honoring one of the most important events in the history of Puerto Rican sports,
       presents this Joint Resolution. Likewise, by way of this legislation we provide new funds
       to the Sports District, in order to ensure that they are precisely developed and can fully
       serve the people of Puerto Rico, thus fulfilling the dream of our Roberto Clemente
       Walker.

       SO ORDERED BY THE LEGISLATIVE ASSEMBLY OF PUERTO RICO:

              Section 1.-The Secretary of the Department of Transportation and Public Works
       is ordered to honor the sporting and social legacy that the Puerto Rican star Roberto
       Clemente Walker represents by making and issuing a commemorative vehicle
       registration label for the fifty (50) years of the “3,000 Hit”, to be issued and used in the
       year 2022, as provided in Section 4 of this Joint Resolution.
               Section 2.-The Secretary of the Department of Transportation and Public Works
       will be in charge of preparing the design, size, composition, and other physical details of
       the vehicle registration label, as provided in the applicable laws, regulations, Section 4
       of this Joint Resolution.
              Section 3.-For the year 2022 only, the commemorative registration label will have
       a cost of five dollars ($5.00) in addition to the regular costs for duties, tariffs and fines.
             Section 4.-The commemorative registration label will be circulated during the
       process of issuing and renewing licenses for motor vehicles corresponding to the
       calendar year 2022. The commemorative label will be yellow, will contain the figure of



       Order #31349-6177328                                                                        Page 3 of 6


                                                               Add.100
Case: 23-1922     Document: 00118118414                       Page: 180   Date Filed: 03/11/2024   Entry ID: 6628045

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       Roberto Clemente with his number twenty-one (21) and It will have a phrase alluding to
       the fifty (50) years of hit 3,000.

              Section 5.-During the calendar year 2022, the Department of Sports and
       Recreation will consign to the General Fund of the University of Puerto Rico the amount
       of two thousand (2,000) dollars per month from the collections established in Sections 3
       and 5 of this Joint Resolution, its payment term expiring on December 31, 2022.


              Section 6.-The Secretary of the Treasury is ordered to, in coordination with the
       Secretary of Transportation and Public Works and the service providers for collecting
       payment of vehicle registration labels, establish a procedure that allows citizens to
       make, together with the payment corresponding to the registration label, a donation in
       the amount of five dollars ($5.00), ten dollars ($10.00), twenty dollars ($20.00) or any
       other desired amount. The cost of the commemorative registration label and the
       donations made by the citizens described above will be allocated in their entirety to the
       Roberto Clemente Sports District Fund, administered by the Department of the Treasury
       for the exclusive use of the Department of Sports and Recreation. All registration label
       payment collection service providers will be obliged to notify the citizen that they may
       make the donation in one of the amounts herein at the time of making their payment,
       but that said donation will be voluntary and they may refuse to make it without that this
       affects in any way the obtaining of the registration label. Provided that, the procedure for
       making donations described here must be established and implemented on or before
       January 1, 2022, so that, on or before this date, citizens can begin to make their
       donation at the time of making their payment for the registration label. This procedure
       will be valid until the issuance of commemorative registration labels established by this
       Joint Resolution is completed.
              Section 7.-The Secretary of the Treasury will adopt, in coordination with the
       Secretary of Transportation and Public Works and the service providers for collecting
       payment of registration labels, the guidelines, rules and regulations that are necessary
       to guarantee compliance with the provisions of this Joint Resolution.
              Section 8.-The Secretary of the Treasury is ordered to submit an annual report to
       the Legislative Assembly detailing the monthly collections and deposits related to the
       Roberto Clemente Sports District Fund that are achieved after the implementation of
       this Joint Resolution. This report will cover the calendar year 2022 until the issuance of
       the commemorative labels detailed here is completed. This will be sent to the
       Legislative Assembly on or before January 31, 2023. Provided that the first report will
       Order #31349-6177328                                                                        Page 4 of 6


                                                               Add.101
Case: 23-1922      Document: 00118118414                       Page: 181   Date Filed: 03/11/2024   Entry ID: 6628045

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       include the collections made as of January 1, 2022 and will be sent to the Legislative
       Assembly on or before January 31, 2023.
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              Section 9.-The Secretary of the Department of Transportation and Public Works
       is empowered, if necessary to fulfill the purposes of this Joint Resolution, to amend the
       regulations approved by virtue of Law No. 46 of July 13, 1978, as amended, and Law
       22-2000, as amended, known as the “Puerto Rico Vehicle and Traffic Law.”
              Section 10.-Section 1 of Joint Resolution 8-2017 is hereby amended to read as
       follows:
                       “Section 1.-The Secretary of the Department of Transportation and Public
                Works is ordered to honor the educational, cultural and social bastion that the
                University of Puerto Rico represents and make and issue a commemorative
                registration label of this and its eleven (11) institutional campuses., to be issued
                and used as provided in Section 3 of this Joint Resolution.”
              Section 11.-Section 3 of Joint Resolution 8-2017 is hereby amended to read as
       follows:
                       “Section 3.-The commemorative registration labels will be circulated
                during the process of issuing and renewing licenses for motor vehicles
                corresponding to the calendar years 2020 to 2032 and will contain the official
                emblems of the University of Puerto Rico and its institutional units as provided
                below:
           a)       By the year 2020, the label must show the official institutional emblem of the
                    University of Puerto Rico.

           b)       By the year 2021, the label must show the official emblem of the Río Piedras
                    Campus of the University of Puerto Rico.

           c)       By the year 2022, the label must show the official emblem of the Mayagüez
                    Campus of the University of Puerto Rico.

           d)       By the year 2024, the label must show the official emblem of the Medical
                    Sciences Campus of the University of Puerto Rico.

           e)       By the year 2025, the label must show the official emblem of the University of
                    Puerto Rico in Humacao.

            f)      By the year 2026, the label must show the official emblem of the University of
                    Puerto Rico in Arecibo.

       Order #31349-6177328                                                                         Page 5 of 6


                                                                Add.102
Case: 23-1922      Document: 00118118414                       Page: 182   Date Filed: 03/11/2024   Entry ID: 6628045

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           a)       By year 2027, the label must show the official emblem of the University of
                    Puerto Rico at Cayey.


           b)       By the year 2028, the label must show the official emblem of the University of
                    Puerto Rico at Ponce.


           c)       By the year 2029, the label must show the official emblem of the University of
                    Puerto Rico at Bayamón.


           d)       By the year 2030, the label must show the official emblem of the University of
                    Puerto Rico at Aguadilla.


           e)       By the year 2031, the label must show the official emblem of the University of
                    Puerto Rico at Carolina.


            f)      By the year 2032, the label must show the official emblem of the University of
                    Puerto Rico at Utuado.”

                Section 11.-This Joint Resolution will take effect immediately after its approval.




       Order #31349-6177328                                                                         Page 6 of 6


                                                                Add.103
Case: 23-1922   Document: 00118118414             Page: 183         Date Filed: 03/11/2024          Entry ID: 6628045


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          Yo, LCDO. JAVIER G6MEZ CRUZ, Secretario de la Camara de Representantes del Estado
          Libre Asodado de Puerto Rico,

                                                CER TIFICO:
          Que el P. de la C. 489 (conferencia), titulado

                                                        "Ley
          Para crear el Distrito Deportivo Roberto Clemente, a los fines de transformar y establecer
                 la politica publica del Estado Libre Asociado de Puerto Rico sobre el uso y
                 operaci6n de estas facilidades; transferir los terrenos, edificaciones, propiedades
                 y . administraci6n al Departamento de Recreaci6n y Deportes de Puerto Rico;
                 disponer que la Autoridad del Distrito del Centro de Convenciones de Puerto Rico
                 sea la encargada de la planificaci6n y la organizaci6n del Distrito Deportivo
                 Roberto Clemente; enmendar el Articulo 2.02 de la Ley 351-2000, segun
                 enmendada, conocida como "Ley del Distrito del Centro de Convenciones de
                 Puerto Rico"; establecer las facultades y deberes del Secretario de Recreaci6n y
                 Deportes; proveer para la asignaci6n de fondos; anadir un nuevo inciso (o) al
                 Articulo 5 de la Ley 8-2004, segun enmendada, conocida como "Ley Organica del
                 Departamento de Recreaci6n y Deportes"; derogar la Ley Num. 133 de 9 de junio
                 de 1973, segun enmendada; derogar la Ley 164-2004, segun enmendada; y para
                 otros fines relacionados."

          ha sido aprobado por la Camara de Representantes y el Senado del Estado Libre Asociado
          de Puerto Rico en la forma que expresa el documento que se acompaii.a.

                 PARA QUE ASf CONSTE, y para notificar al Gobemador del Estado Libre Asociado
                 de Puerto Rico, expido la presente en mi oficina en el Capitolio, San Juan, Puerto Rico
                 a los ocho (8) dias del mes de julio del aii.o dos mil veintid6s y estampo en ella el sello
                 de la Camara de Representantes del Estado Libre Asociado de Puerto Rico.




                                                    Add.104
Case: 23-1922    Document: 00118118414      Page: 184     Date Filed: 03/11/2024     Entry ID: 6628045



       (P. de la C. 489)
       (Conferencia)

                                                LEY

       Para crear el Distrito Deportivo Roberto Clemente, a los fines de transformar y
             establecer la politica publica de! Estado Libre Asociado de Puerto Rico sabre el
             uso y operaci6n de estas facilidades; transferir los terrenos, edificaciones,
             propiedades y administraci6n al Departamento de Recreaci6n y Deportes de
             Puerto Rico; disponer que la Autoridad de! Distrito de! Centro de Convenciones
             de Puerto Rico sea la encargada de la planificaci6n y la organizaci6n de! Distrito
             Deportivo Roberto Clemente; enmendar el Articulo 2.02 de la Ley 351-2000,
             segun enmendada, conocida coma "Ley de! Distrito de! Centro de Convenciones
             de Puerto Rico"; establecer las facultades y deberes de! Secretario de Recreaci6n
             y Deportes; proveer para la asignaci6n de fondos; afiadir un nuevo inciso (o) al
             Articulo 5 de la Ley 8-2004, segun enmendada, conocida coma "Ley Organica de!
             Departamento de Recreaci6n y Deportes"; derogar la Ley Num. 133 de 9 de junio
             de 1973, segun enmendada; derogar la Ley 164-2004, segun enmendada; y para
             otros fines relacionados.

                                    EXPOSICI6N DE MOTIVOS

             Roberto Clemente Walker es uno de los mas grandes deportistas que ha dado
      Puerto Rico. Su grandeza y humildad subyace en su calidad humana, que tanto dentro
      coma fuera de! terreno lo distinguia de entre otros peloteros talentosos. A pesar de su
      tragico fallecimiento el 31 de diciembre de 1972, mientras llevaba ayuda coma parte de
      un viaje hurnanitario hacia Nicaragua, su legado ha permanecido a traves de
      generaciones de puertorriquefios. En 1973, Roberto Clemente se convirti6 en el primer
      puertorriquefio e hispano en ser exaltado al Sal6n de la Fama de! Beisbol de las Grandes
      Ligas.

            Reconociendo los mas altos valores y la inspiraci6n que representa la figura de
      nuestro Roberto Clemente para los j6venes y para las futuras generaciones de
      puertorriquefios, y con el prop6sito de homar su memoria, esta Asamblea Legislativa
      entiende es meritorio que se desarrolle en Puerto Rico el legado deportivo que sofi6
      Roberto Clemente para beneficio de nuestra juventud.

             El suefio de Clemente consistia en crear un espacio para que los j6venes
      puertorriquefios pudieran practicar sus actividades deportivas y a su vez desarrollar
      destrezas humanitarias, asi coma brindar clinicas deportivas a nuestra juventud. Para
      ejecutar este suefio, la Asamblea Legislativa aprob6 la Ley Num. 133 de! 9 de junio de
      1973, segun enmendada (en adelante "Ley Nurn. 133") mediante la cual se autoriz6 a la
      Administraci6n de Terrenos a donar a la entidad sin fines de lucro Ciudad Deportiva



                                              Add.105
Case: 23-1922   Document: 00118118414        Page: 185     Date Filed: 03/11/2024     Entry ID: 6628045

                                                   2


        Roberto Clemente, Inc., cientos de cuerdas de terreno ubicadas en el Municipio de
        Carolina.

               Tratandose de tan importante encomienda para el pueblo de Puerto Rico, a
        traves de los afi.os la Legislatura ha destinado al desarrollo de la Ciudad Deportiva
        asignaciones presupuestarias de rnillones de d6lares. De igual forma, la Asamblea
        Legislativa ha enmendado la Ley Num. 133, con el prop6sito de facilitar el desarrollo de
        Ciudad Deportiva. Sin embargo, aun con los fondos otorgados mediante asignaciones
        presupuestarias de la Legislatura de Puerto Rico y con las medidas legislativas
        aprobadas, el centro deportivo se estanc6 en su reapertura.

                 Con la aprobaci6n de la Ley 16-2014, la Asamblea Legislativa concedi6 una
        ultima oportunidad a la Ciudad Deportiva Roberto Clemente, Inc. para destinar los
        terrenos donados al fin publico proyectado desde la aprobaci6n de la Ley Num. 133 en
        el afi.o 1973, y desarrollar la Ciudad Deportiva Roberto Clemente para beneficio de los
        habitantes de Puerto Rico y de! deporte.

               Segun recoge la Exposici6n de Motivos de la Ley 16-2014, la Ciudad Deportiva
        Roberto Clemente, Inc., habia informado que tenfa; "un plan de trabajo concreto para
        lograr la reapertura de las instalaciones de la Ciudad Deportiva y volverlas a poner a la
        disposici6n de! desarrollo de! deporte y la actividad ffsica en Puerto Rico. De acuerdo
        con dicho plan, las instalaciones seran restauradas y estaran abiertas al publico en o
        antes de! 1 de juiio de 2014".

               No obstante, a lo anterior, actualmente la Ciudad Deportiva se encuentra en
        condiciones deplorables, los terrenos no se han desarrollado cabalmente y sus
        facilidades deportivas se encuentran en un grave estado de deterioro y abandono,
        muchas de ellas ya inservibles. Lamentablemente, los parques de beisbol se encuentran
        en desuso, grandes pastizales arropan las edificaciones gravemente deterioradas y el
        museo casi en ruina con el techo colapsado y con sus paredes agrietadas.

              Asi las cosas, los terrenos donde se debiese haber desarrollado a plenitud la
        Ciudad Deportiva Roberto Clemente se encuentran en estado de inactividad, solo
        siendo utilizados los dos campos de futbol americano y la zona de jugar gotcha,
        ubicados a la entrada de! inmenso complejo.

               Este desperdicio de! potencial de! uso de alrededor de 300 cuerdas de terreno
        que no estan siendo utilizadas para el servicio de nuestro pueblo no beneficia a nuestra
        juventud. Para esta Asamblea Legislativa es de gran importancia el poder homar la
        memoria de nuestro Roberto Oemente, llevando a cabo su vision de construir una
        Ciudad Deportiva para beneficio de nuestros j6venes y las futuras generaciones. A
        pesar de haber transcurrido sobre mas de cuarenta y cinco (45) afi.os desde la primera
        donaci6n de terrenos, los mismos al dia de hoy no se han desarrollado al maximo y no



                                              Add.106
Case: 23-1922    Document: 00118118414        Page: 186     Date Filed: 03/11/2024      Entry ID: 6628045
                                                    3


       estan siendo utilizados para los fines que fueron cedidos a titulo gratuito por el Estado,
       por lo que nose esta curnpliendo con el fin publico promulgado en la Ley Num. 133.

              Por su parte, el Departamento de Recreaci6n y Deportes de! Estado Libre
       Asociado de Puerto Rico esta facultado con todos los poderes necesarios para
       promover, regular y fiscalizar la recreaci6n y el deporte en todas sus manifestaciones y
       modalidades en Puerto Rico. Ademas, cuenta con la infraestructura administrativa y
       operacional para llevar a cabo su misi6n de velar por el cumplimiento de la legislaci6n
       y la reglamentaci6n aplicable bajo su jurisdicci6n. De modo que, a tenor con la polftica
       publica de esta Ley, sera este Departamento la agenda a la cual le correspondera la
       administraci6n de! "Distrito Deportivo Roberto Clemente".

              La Autoridad de! Distrito de! Centro de Convenciones de Puerto Rico, se
       encuentra en una posici6n unica para el desarrollo de! Distrito Deportivo Roberto
       Clemente, por lo que esta sera la entidad que desarrolle los proyectos que se realicen en
       el mismo. La Autoridad sera la encargada de la planificaci6n y la organizaci6n del
       Distrito Deportivo, maximizando su potencial. El prop6sito es crear una alianza entre la
       Autoridad y el Departamento de Recreaci6n y Deportes que faculta a la Autoridad a
       desarrollar las facilidades, ademas de! plan de trabajo a desarrollarse dentro del Distrito
       Deportivo, dejando al Departamento de Recreaci6n y Deportes de la titularidad de!
       terreno, ademas de un rol esencial en la administraci6n y operaci6n de los terrenos en el
       dia a dia.

              Mediante la aprobaci6n de esta Ley, la titularidad de los terrenos de Ciudad
      Deportiva Roberto Clemente, con sus mejoras, revertiran al Estado Libre Asociado de
      Puerto Rico, seran administrados por el Departamento de Recreaci6n y Deportes y
      planificados por la Autoridad de! Distrito de! Centro de Convenciones de Puerto Rico.
      Es menester destacar que, la Ley Num. 133, segun enmendada, en su Secci6n 2 dispuso
      que la donaci6n de terrenos a "Ciudad Deportiva Roberto Clemente, Inc." estaria sujeta
      a tres condiciones resolutorias. La primera de estas condiciones era que los terrenos
      serian poseidos y utilizados "para los fines de 'Ciudad Deportiva Roberto Clemente,
      Inc."'. Segun se ha descrito, los terrenos no se estan utilizando para los fines de la
      referida entidad sin fines de lucro, raz6n que sustenta que se revierta la donaci6n
      establecida por Ley.

             Como parte de los esfuerzos de esta Asamblea Legislativa para la consecuci6n de
      los fines de esta medida, a traves de la Resoluci6n Conjunta 16-2021, se orden6 a la
      Secretaria de! Departamento de Transportaci6n y Obras Publicas a confeccionar y a
      expedir una tablilla conmemorativa de los cincuenta (50) afios de! "Hit 3,000" de
      Roberto Clemente Walker, a partir del 1 de enero de 2022, hasta el 31 de diciembre de
      2022. Los ciudadanos tendran la opci6n de pagar $21.00 por la expedici6n de la tablilla
      conmemorativa a Roberto Clemente. La Secci6n 3 de la Resoluci6n Conjunta dispone
      que "el cargo por la tablilla sera de veintiun d6lares ($21.00), los cuales seran



                                               Add.107
Case: 23-1922    Document: 00118118414       Page: 187      Date Filed: 03/11/2024     Entry ID: 6628045
                                                    4


        transferidos al Fonda del Distrito Deportivo Roberto Clemente, administrado por el
        Departamento de Hacienda, para uso exclusivo del Departamento de Recreaci6n y
        Deportes".

               De igual forma, la Resoluci6n Conjunta 17-2021, orden6 a la Secretaria del
        Departamento de Transportaci6n y 0bras Publicas a confeccionar y a expedir un
        marbete conmemorativo a los cincuenta (50) a:flos del "Hit 3,000" de Roberto Clemente
        Walker para el afto 2022. Al pago de! marbete conmemorativo, se recolectara la cantidad
        de $5.00 adicionales a los costos regulares por concepto de derechos, aranceles y multas.
        Los ciudadanos podran realizar, ademas, un donativo por la cantidad de $5.00, $10.00,
        $20.00 o cualquier otra cantidad deseada. La Secci6n 6 de la referida Resoluci6n
        Conjunta dispone que el costo del marbete conmemorativo y los donativos realizados
        por los ciudadanos, "seran destinados en su totalidad al Fonda de! Distrito Roberto
        Clemente, administrado por el Departamento de Hacienda para uso exclusivo del
        Departamento de Recreaci6n y Deportes".

               A traves de esta pieza legislativa, esta Asamblea Legislativa establece los
        cirnientos para el desarrollo cabal de! Distrito Deportivo Roberto Clemente al servicio
        pleno del pueblo de Puerto Rico, cumpliendo asf con el suefio de nuestro Roberto
        Clemente Walker.

        DECRETASE POR LA ASAMBLEA LEGISLATIVA DE PUERTO RICO:

        Articulo 1. -Tftulo.

                Esta Ley se conocera como la "Ley de! Distrito Deportivo Roberto Oemente".

        Articulo 2. - Polftica Publica.

                Sera la Politica Publica del Estado Libre Asociado de Puerto Rico desarrollar a
        plenitud el Distrito Deportivo Roberto Clemente. La Asamblea Legislativa de Puerto
        Rico entiende que la propiedad donada por el Estado Libre Asociado de Puerto Rico a
        "Ciudad Deportiva Roberto Clemente, Inc." no ha sido utilizada para los fines publicos
        que fue donada por virtud de Ley, por lo cual, se ordena el traspaso al Estado Libre
        Asociado de Puerto Rico de todos los terrenos donados a la entidad "Ciudad Deportiva
        Roberto Clemente Inc.", revirtiendose al Estado Libre Asociado de Puerto Rico la
        titularidad de todos los terrenos donados mediante la Ley Num. 133 de 9 de junio de
        1973, segun enmendada, y mediante la Ley 164-2004, segun enmendada, asf coma las
        mejoras, las estructuras, instalaciones y / o edificios que enclaven en el mismo, a nombre
        de! Departamento de Recreaci6n y Deportes de! Estado Libre Asociado de Puerto Rico.




                                               Add.108
Case: 23-1922   Document: 00118118414        Page: 188     Date Filed: 03/11/2024     Entry ID: 6628045
                                                  5


       Artfculo 3.-Transferencia.

         (a) Se ordena el traspaso al Estado Libre Asociado de Puerto Rico de todos los
             terrenos donados a la entidad "Ciudad Deportiva Roberto Clemente Inc.",
             revirtiendose al Estado Libre Asociado de Puerto Rico la titularidad de todos los
             terrenos donados mediante la Ley Num. 133 de 9 de junio de 1973, seg(m
             enmendada, y mediante la Ley 164-2004, segun enmendada, asf como las
             mejoras, las estructuras, instalaciones y / o edificios que enclaven en el rnismo.

         (b) Se ordena y se faculta al Secretario de! Departamento de Recreaci6n y Deportes
             de! Estado Libre Asociado de Puerto Rico a aceptar de parte de la
             Administraci6n de Terrenos de Puerto Rico, el traspaso al Departamento de
             Recreaci6n y Deportes de la titularidad de las porciones de terrenos de las
             parcelas A, B, G y F de la finca Marina localizada en los barrios Cangrejo Arriba
             y Sabana Abaja de! Municipio Aut6nomo de Carolina, cuya titularidad le fue
             cedida con condiciones mediante la Ley Num. 133 de! 9 de junio de 1973, segun
             enmendada, asf como las mejoras, las estructuras, instalaciones y / o edificios que
             enclaven en el rnismo a nombre de! Departamento de Recreaci6n y Deportes de!
             Estado Libre Asociado de Puerto Rico.

         (c) Se ordena a la Adrninistraci6n de Terrenos de Puerto Rico, a que dentro de! plaza
             de noventa (90) dfas siguientes a la fecha de aprobaci6n de esta Ley, solicite
             todos los perrnisos y autorizaciones necesarias para transferir las parcelas de
             terreno y mejoras descritas en el inciso (a) de este Artfculo y, conforme a las
             disposiciones establecidas en esta Ley, otorgue la correspondiente escritura
             transfiriendo la titularidad a favor de! Departamento de Recreaci6n y Deportes
             de! Estado Libre Asociado de Puerto Rico.

        (d) Se ordena al Registrador a cargo de la secci6n correspondiente de! Registro de la
            Propiedad a que, dentro de los noventa (90) dfas siguientes a la fecha de su
            presentaci6n para su inscripci6n en dicho Registro, proceda calificar la legalidad
            de los documentos y, de no haber defecto alguno, proceda a inscribir libre de!
            pago de derechos las escrituras que sean otorgadas conforme a lo aquf dispuesto
            y que proceda ademas, a hacer las anotaciones e inscripciones correspondientes
            en los libros bajo su custodia para inscribir las referidas escrituras y reflejar lo
            dispuesto en esta Ley.

      Articulo 4.- Distrito Deportivo Roberto Clemente.

             En las fincas descritas en el Articulo 3 de esta Ley se desarrollara el Distrito
      Deportivo Roberto Clemente como una facilidad deportiva y recreativa para el disfrute
      de los puertorriquefios y el turismo deportivo. Estas facilidades mantendran el rnismo
      uso y prop6sito para el cual le esta siendo transferida.



                                              Add.109
Case: 23-1922   Document: 00118118414        Page: 189      Date Filed: 03/11/2024     Entry ID: 6628045

                                                    6



              El Distrito Deportivo Roberto Clemente estara adscrito al Departamento de
        Recreaci6n y Deportes para la administraci6n y operaci6n de los terrenos e instalaciones
        deportivas y recreativas.

              La Autoridad de! Distrito de! Centro de Convenciones de Puerto Rico sera la
        encargada de la planificaci6n y la organizaci6n de! Distrito Deportivo Roberto Clemente
        que incluye el desarrollo, reconstrucci6n y construcci6n de facilidades para su buen
        funcionarniento.

              El Departamento de Recreaci6n y Deportes y la Autoridad de! Distrito de! Centro
        de Convenciones de Puerto Rico realizaran un plan de trabajo para lograr los fines
        dispuestos en este Artfculo.

        Artfculo 5. -Facultades y deberes de! Secretario de! Departamento de Recreaci6n y
        Deportes.

               El Secretario de! Departamento de Recreaci6n y Deportes de Puerto Rico
        brindara el apoyo administrativo necesario para la operaci6n de! Distrito Deportivo
        Roberto Clemente. Ademas, el Secretario determinara su operaci6n y gozara de las
        facultades y deberes delegados en esta Ley para administrar el mismo.

                El Departamento de Recreaci6n y Deportes de Puerto Rico y la Autoridad de!
        Distrito de! Centro de Convenciones de Puerto Rico tendran un termino de cinco (5)
        afi.os para el desarrollo de la propiedad conforme a lo dispuesto en esta Ley. De
        transcurrir el termino sin que se logren los fines de esta Ley, la titularidad de la
        propiedad sera revertida a la Administraci6n de Terrenos.

        Artfculo 6.- Arrendarniento.

               Solamente se permitira el arrendarniento y sub-arrendarniento de los terrenos, asf
        como la concesi6n de! derecho de superficie sobre las instalaciones, edificios y
        estructuras de! Distrito Deportivo Roberto Clemente a terceras personas naturales o
        juridicas, sujeto a las disposiciones de esta Ley, los reglamentos y las !eyes estatales y
        federales aplicables. La propiedad no podra ser enajenada o vendida. El Departamento
        de Recreaci6n y Deportes podra otorgar tales arrendamientos a personas naturales o
        juridicas, dedicadas o no al deporte, sean con fines pecuniarios o no, mediante una
        adecuada contraprestaci6n y podra asirnismo allegarse fondos mediante la fijaci6n de
        propaganda y anuncios en tales instalaciones. Toda contraprestaci6n que reciba el
        Departamento por concepto de arrendamientos, derechos de superficie y cualquier otra
        carga o gravamen que se constituya seran utilizados exclusivamente para el desarrollo y
        mantenimiento de las areas e instalaciones. El uso de los terrenos arrendados o de las




                                               Add.110
Case: 23-1922   Document: 00118118414        Page: 190    Date Filed: 03/11/2024    Entry ID: 6628045
                                                  7


       instalaciones, edificios o estructuras deberan ser a fines y / o complementarios con el
       desarrollo de facilidades deportivas dentro de! distrito deportivo.

       Articulo 7.- Reglamentaci6n.

              Se ordena al Departamento de Recreaci6n y Deportes de! Estado Libre Asociado
       de Puerto Rico y a la Autoridad de! Distrito del Centro de Convenciones de Puerto Rico
       a establecer mediante Reglamento el procedimiento para la implementaci6n adecuada y
       cumplir los fines de esta Ley. El Secretario de! Departamento adoptara las reglas y
       reglamentos que sean necesarios para implementar esta Ley, en virtud de las
       disposiciones de la Ley 38-2017, segun enmendada, conocida como "Ley de
       Procedimiento Administrativo Uniforme de! Gobierno de Puerto Rico", y conforme a
       las !eyes y reglamentos aplicables.

       Articulo 8.- Contratos y convenios.

             Todo contrato de arrendarniento, usufructo, o convenio de delegaci6n de
      competencias o convenio de administraci6n otorgado entre Ciudad Deportiva Roberto
      Clemente, Inc. y el Departamento de Recreaci6n y Deportes, que al momenta de!
      traspaso de la titularidad de la propiedad patrimonial estuviere vigente, perdera de
      inmediato su vigencia y sera resuelto por confusion de derechos. Asimismo, se
      mantendra en vigor los que hubiesen sido otorgados entre Ciudad Deportiva Roberto
      Clemente, Inc., y las asociaciones recreativas, asociaciones deportivas, asociaciones de
      residentes, consejos de residentes; los cuales permaneceran en vigor hasta tanto se
      implante la reglamentaci6n que disponga el Departamento de Recreaci6n y Deportes.
      Los contratos otorgados entre Ciudad Deportiva Roberto Clemente, Inc., y personas
      naturales o juridicas continuaran vigentes hasta la fecha de su expiraci6n.

             En cuanto a los contratos otorgados por Ciudad Deportiva Roberto Clemente,
      Inc., que al momenta de! traspaso de titularidad de la propiedad patrimonial estuvieren
      vigentes, permanecera en vigor bajo las mismas clausulas y condiciones establecidas al
      momenta de su otorgamiento. Con relaci6n a tales contratos, se dispone que el
      Departamento de Recreaci6n y Deportes se subroga en el lugar de Ciudad Deportiva
      Roberto Clemente, Inc., con los mismos derechos y obligaciones que correspondian a
      este ultimo desde la fecha de su otorgamiento.

            Se exceptuan de las disposiciones contenidas en este Articulo, los contratos,
      convenios o acuerdos que luego de ser revisados por el Departamento de Recreaci6n y
      Deportes se determine son contrarios a disposiciones de !eyes federales y sus
      reglamentos. En estos casos, se faculta al Departamento de Recreaci6n y Deportes a
      enmendar los contratos, convenios o acuerdos de manera que pueda continuar
      honrando las disposiciones pactadas conforme a los estatutos federales.




                                              Add.111
Case: 23-1922   Document: 00118118414         Page: 191     Date Filed: 03/11/2024     Entry ID: 6628045

                                                    8


        Articulo 9.- Responsabilidad legal.

               Ciudad Deportiva Roberto Clemente, Inc. retiene responsabilidad legal con
        relaci6n a todo asunto ocurrido respecto a la propiedad que se transfiere hasta el
        momento en que se firrna la Escritura traspasando la titularidad de la misma al
        Departamento de Recreaci6n y Deportes.

              Luego de firmada la Escritura traspasando la titularidad de la propiedad al
        Departamento de Recreaci6n y Deportes, este asume la responsabilidad legal respecto a
        todo asunto ocurrido en dicha propiedad de ahi en adelante.

        Articulo 10.- Gravamenes.

               Al revertir la titularidad al Estado Libre Asociado de Puerto Rico, las fincas que
        se describen en el Articulo 3 de esta Ley quedaran liberadas de toda carga o gravamen
        que en el pasado se haya constituido o inscrito sobre estas mediante cualquier contrato
        de arrendamiento, sub-arrendamiento, concesi6n del derecho de superficie y / o
        cualquier otro contrato.

        Articulo 11. - Fondo del Distrito Deportivo Roberto Clemente

               Se crea un Fondo en el Departamento de Hacienda de Puerto Rico el cual se
        denominara Fondo del Distrito Deportivo Roberto Clemente para uso exclusivo del
        Secretario del Departamento de Recreaci6n y Deportes de Puerto Rico para todo lo
        concerniente a la operaci6n, administraci6n y conservaci6n del Distrito Deportivo
        Roberto Clemente.

              (a) El Fondo se nutrira, ademas, de tiempo en tiempo, de (i) aportaciones y
        cualquier otro tipo de asistencia del Gobiemo Federal para la que cualifique; (ii)
        aportaciones e inversiones de personas y entidades privadas o publicas, locales,
        nacionales o internacionales; y (iii) aportaciones de la Asamblea Legislativa.

               (b) Los desembolsos del Fondo se haran conforme a esta Ley ya los reglamentos
        y los presupuestos aprobados por el Departamento de Recreaci6n y Deportes.

               (c) El remanente de los fondos que al 30 de junio de cada afio no haya sido
        utilizado y obligado para los prop6sitos dispuestos, sera reprogramado en el mismo
        Fondo del Distrito Deportivo Roberto Clemente para el pr6xirno afio fiscal, de manera
        que se garantice la utilizaci6n de los fondos recolectados especfficamente para este fin y
        se cumpla con la intenci6n del ciudadano al realizar el pago y / o donaci6n adicional del
        marbete y tablilla conmemorativa a los cincuenta (50) afios del "Hit 3,000" de Roberto
        Clemente Walker para el afio 2022.




                                               Add.112
Case: 23-1922      Document: 00118118414       Page: 192      Date Filed: 03/11/2024   Entry ID: 6628045
                                                     9


              Anualmente, el Departamento de Recreaci6n y Deportes, asignara a la Autoridad
       del Distrito del Centro de Convenciones de Puerto Rico, la cantidad de ciento cincuenta
       mil d6lares ($150,000.00) provenientes del Fondo del Distrito Deportivo Roberto
       Clemente, para la planificaci6n y la organizaci6n de las facilidades.

             El Departamento de Recreaci6n y Deportes y la Autoridad del Distrito del Centro
       de Convenciones de Puerto Rico deberan someter anualmente, tanto a la Oficina de
       Gerencia y Presupuesto como a la Asamblea Legislativa, a traves de la Secretaria de
       cada Cuerpo Parlamentario, un informe auditado sobre la utilizaci6n planificada de los
       recursos que seran depositados en la cuenta especial y de los fondos que el
       Departamento de Recreaci6n y Deportes asigne a la Autoridad del Distrito del Centro
       de Convenciones de Puerto Rico. El informe anual auditado requerido sera presentado
       no mas tarde del 30 de enero de cada afio.

       Articulo 12.- Se enmienda el Articulo 2.02 de la Ley 351-2000, segun enmendada,
       conocida como "Ley del Distrito del Centro de Convenciones de Puerto Rico", para que
       lea como sigue:

                "Articulo 2.02.- Poderes especificos de la Autoridad.

                      La Autoridad tendra las siguientes facultades y derechos:

                      (a)




                       (t)      Entrar en contratos y acuerdos, incluyendo, pero sin limitarse a
                      contratos de venta, arrendamientos, empresas conjuntas y sociedades,
                      segun considere necesario para inducir a terceros a desarrollar, mejorar,
                      operar y administrar las parcelas privadas dentro del Distrito de acuerdo
                      con cualquier plan maestro, criterios de disefio y condiciones y
                      restricciones adoptadas e impuestas por la Autoridad. Asimismo, la
                      Autoridad podra otorgar contratos para utilizar, en beneficio de la
                      rehabilitaci6n, desarrollo, construcci6n o mantenimiento de instalaciones
                      en el Distrito Deportivo Roberto Clemente, y desembolsar, conforme a los
                      terminos y condiciones establecidos en tales contratos, todo o parte de los
                      fondos que sean asignados por la Asamblea Legislativa a la Autoridad
                      para esos fines, independientemente de que dichas instalaciones esten o
                      no dentro del Distrito. De igual forma, la Autoridad sera la encargada de
                      la planificaci6n y la organizaci6n del Distrito. Disponiendose, ademas, que
                      el Distrito Deportivo Roberto Clemente sera un proyecto de mejorarniento
                      segun definido en el Articulo 1.03 (o) de esta Ley.




                                                 Add.113
Case: 23-1922    Document: 00118118414       Page: 193      Date Filed: 03/11/2024     Entry ID: 6628045

                                                   10



                             Disponiendose, que todo contrato y acuerdo que pretenda suscribir
                      la Autoridad como parte de sus funciones y responsabilidades en el
                      Distrito Deportivo Roberto Clemente, debera estar aprobado y firmado
                      por el Secretario del Departamento de Recreaci6n y Deportes o cualquier
                      otro funcionario autorizado dentro del Departamento. Ningun contrato o
                      acuerdo en virtud de este inciso, sera valido si no contiene la firma del
                      Departamento de Recreaci6n y Deportes.

                      (u)




                      (ff)      "

              Articulo 13.- Se se afiade un nuevo inciso (o) al Articulo 5, de la Ley 8-2004,
        segun enmendada, conocida como "Ley Organica del Departamento de Recreaci6n y
        Deportes", para que lea como sigue:

                      "Articulo 5.-Funciones y Competencias de! Departamento de Recreaci6n y
                Deportes.

                      El Departamento de Recreaci6n y Deportes tendra, pero sin lirnitarse a
                      ello, las siguientes funciones y competencias:

                      (a) ...




                      (o) La titularidad, asf como la operaci6n, adrninistraci6n y conservaci6n de
                      las instalaciones deportivas y recreativas de! Distrito Deportivo Roberto
                      Clemente. Ademas, podra otorgar contratos para utilizar, en beneficio de
                      la    rehabilitaci6n,     desarrollo,  construcci6n,     mantenimiento     o
                      adrninistraci6n de instalaciones en el Distrito Deportivo Roberto
                      Clemente, y desembolsar, conforme a los terrninos y condiciones
                      establecidos en tales contratos, todo o parte de los fondos que sean
                      asignados por la Asamblea Legislativa al Departamento de Recreaci6n y
                      Deportes para esos fines."




                                               Add.114
Case: 23-1922     Document: 00118118414     Page: 194     Date Filed: 03/11/2024       Entry ID: 6628045
                                                  11


       Articulo. 14- Derogaci6n.

            Se derogan las siguientes leyes: Ley Num. 133 de 9 de junio de 1973, segun
       enmendada; y Ley 164-2004, segun enmendada.

              Disponiendose que la parcela de setenta (70) cuerdas que se autoriz6 a la
       Administraci6n de Terrenos de Puerto Rico ceder gratuitamente a la Ciudad Deportiva
       Roberto Clemente, Inc. mediante la Ley 164-2004, seguira siendo parte del inventario de
       las propiedades de la Administraci6n de Terrenos para su desarrollo.

       Articulo 15- Normas de interpretaci6n.

             Las disposiciones de esta Ley no podran ser interpretadas de forma que resulten
      inconsistentes con los derechos reconocidos por la Constituci6n del Estado Libre
      Asociado de Puerto Rico o la Constituci6n de los Estados Unidos de America, y la
      jurisprudencia interpretativa. Ninguna disposici6n de esta Ley se entendera que
      modifica, altera o invalida cualquier acuerdo, convenio o contrato que se haya otorgado
      en virtud del estado de derecho anterior y que este vigente al entrar en vigor esta Ley.

      Articulo 16- Clausula de separabilidad.

             Todas aquellas leyes, reglas y reglamentos que estuvieran en conflicto con las
      disposiciones de esta Ley, deberan conforme a derecho armonizar con el espiritu y
      prop6sito de esta Ley de manera que se lesione en lo minimo la politica publica aqui
      plasmada. Si cualquier clausula, parrafo, subparrafo, articulo, disposici6n, secci6n,
      inciso o parte de esta Ley fuere declarada inconstitucional por algun tribunal con
      jurisdicci6n, la sentencia a tal efecto dictada no afectara, perjudicara ni invalidara el
      resto de esta Ley. El efecto de dicha sentencia quedara limitado a la clausula, parrafo,
      subparrafo, articulo, disposici6n, secci6n, inciso o parte de esta Ley:   e hubiese sido
      declarada inconstitucional.

      Articulo 17- Vigencia.

             Esta Ley entrara en vigor inmediatamente despues d




                                                                               'mara

                Presidente del Senado




                                                Add.115
Case: 23-1922     Document: 00118118414                       Page: 195   Date Filed: 03/11/2024    Entry ID: 6628045

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       Order #31349-6177328                                                                        Page 1 of 13


                                                               Add.116
Case: 23-1922     Document: 00118118414                       Page: 196   Date Filed: 03/11/2024    Entry ID: 6628045

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                                                                                        LAW _ 67_ -20_22 _
                                                              [LOGO:
                                                    CHAMBER OF REPRESENTATIVES
                                                   COMMONWEALTH OF PUERTO RICO]

       I, LIC. JAVIER GÓMEZ CRUZ, Secretary of the Chamber of Representatives of the
       Commonwealth of Puerto Rico,
                                           I HEREBY CERTIFY:
       That the P. of C. 489 (conference), entitled
                                                   "Law
       In order to create the Roberto Clemente Sports District, for the purposes of transforming
           and establishing the public policy for the Commonwealth of Puerto Rico on the use
           and operation of these facilities; transfer the lands, buildings, properties and.
           management to the Puerto Rico Department of Sports and Recreation; to provide
           that the Puerto Rico Convention Center District Authority be responsible for the
           planning and organization of the Roberto Clemente Sports District; to amend Article
           2.02 of the Law 351-2000, as amended, known as the "Puerto Rico Convention
           Center District Law"; to establis the powers and duties of the Secretary of Sports and
           Recreation; toprovide for the allocation of funds; to add a new subsection (or) to
           Article 5 of Law 8-2004, as amended, known as the "Organic Law of the Department
           of Recreation and Sports"; abolish Law No. 133 of June 9th of 1973, as amended;
           abolish Law 164-2004, as amended; and for other related purposes."

       has been approved by the House of Representatives and the Senate of the
       Commonwealth of Puerto Rico in the manner expressed herein.

         SO THAT IT IS RECORDED, and to notify the Governor of the Commonwealth of
         Puerto Rico, I issue this letter in my office in the Capitol, San Juan, Puerto Rico on
         the eighth (8) day of the month of July of the year two thousand twenty-two and I
         stamp on it the seal of the Chamber of Representatives of the Commonwealth of
         Puerto Rico.




                                                            [SIGNATURE]
                                                       Lic. Javier Gomez Cruz
                                                             Secretary

       Order #31349-6177328                                                                        Page 2 of 13


                                                               Add.117
Case: 23-1922     Document: 00118118414                       Page: 197   Date Filed: 03/11/2024    Entry ID: 6628045

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                                                                                                    MEMBER #263976



       (P. of the C. 489)
       (Conference)
                                                                  LAW

       To create the Roberto Clemente Sports District, in order to transform and establish the
         public policy of the Commonwealth of Puerto Rico on the use and operation of these
         facilities; transfer the lands, buildings, properties and management to the Puerto Rico
         Department of Sports and Recreation; to provide that the Puerto Rico Convention
         Center District Authority is responsible for the planning and organization of the
         Roberto Clemente Sports District; amend Article 2.02 of Law 351-2000, as amended,
         known as the "Puerto Rico Convention Center District Law"; to establish the powers
         and duties of the Secretary of Sports and Recreation; to provide for the allocation of
         funds; to add a new subsection (o) to Article 5 of Law 8-2004, as amended, known as
         "Organic Law of the Department of Recreation and Sports"; to abolish Law No. 133 of
         June 9, 1973, as amended; to abolish Law 164-2004, as amended; and for other
         related purposes.

                                                                PREAMBLE

               Roberto Clemente Walker is one of the greatest athletes that Puerto Rico has
         ever given. His greatness and humility underlie of his human quality, which both on
         and off the field set him apart from other talented players. Despite his tragic death on
         December 31st, 1972, while traveling with aid on a humanitarian trip to Nicaragua,
         his legacy has endured through generations of Puerto Ricans. In 1973, Roberto
         Clemente became the first Puerto Rican and Hispanic to be inducted into the Major
         League Baseball Hall of Fame.

               Recognizing the highest values and inspiration that the figure of our Roberto
         Clemente represents for young people and for future generations of Puerto Ricans,
         and with the purpose of honoring his memory, this Legislative Assembly believes that
         it is meritorious that the legacy be developed in Puerto Rican sport that Roberto
         Clemente dreamed of for the benefit of our youth.

               Clemente's dream was to create a space for young Puerto Ricans to practice
         their sports and, at the same time develop humanitarian skills, as well as to provide
         sports clinics to our youth. To execute this dream, the Legislative Assembly approved
         Law No. 133 of June 9, 1973, as amended (hereinafter "Law No. 133") by which
         Land Management was authorized to donate to the non-profit entity, Sports City


       Order #31349-6177328                                                                        Page 3 of 13


                                                               Add.118
Case: 23-1922     Document: 00118118414                       Page: 198   Date Filed: 03/11/2024    Entry ID: 6628045

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         Roberto Clemente, Inc., hundreds of acres of land located in the Municipality of Carolina.

               Since it is such an important task for the people of Puerto Rico, the Legislature,
         over the years, has allocated budgetary assignments of millions of dollars to the
         development of the Sports City. Likewise, the Legislative Assembly has amended Law
         No. 133, with the purpose of facilitating the development of the Sports City. However,
         even with the funds granted through budget allocations from the Legislature of Puerto
         Rico and with the legislative measures approved, the sports center’s reopening came to
         a standstill.

               With the approval of Law 16-2014, the Legislative Assembly granted one last
         opportunity to the Roberto Clemente Sports City, Inc. to allocate the donated land for the
         public purpose projected since the approval of Law No. 133 in 1973, and develop the
         Roberto Clemente Sports City for the benefit of the inhabitants of Puerto Rico and sports.

                 According to the Preamble of Law 16-2014, Roberto Clemente’s Sports City, Inc.,
         had reported that it had; "a definite work plan to achieve the reopening of the Sports City
         facilities and make them available again for the development of sports and physical
         activity in Puerto Rico. In accordance with said plan, the facilities will be restored and will
         be open to the public on or before July 1, 2014".

              Nevertheless, the Sports City is currently in deplorable conditions, the land has not
         been fully developed and its sports facilities are in a serious state of deterioration and
         abandonment, many of them already unusable. Unfortunately, the baseball parks are in
         disuse, large grasslands cover the seriously deteriorated buildings and the museum is
         almost in ruins with its roof collapsed and its walls cracked.

              Thus, the land where the Roberto Clemente Sports City should have been fully
         developed is in a state of inactivity, where only the two American football fields and the
         gotcha playing area are being used, located at the entrance of the immense complex.

              This waste of potential of the use of around 300 acres of land that are not being
         used for the service of our people does not benefit our youth. For this Legislative
         Assembly, it is of great importance to be able to honor the memory of our Roberto
         Cemente, carrying out his vision of building a Sports City for the benefit of our young
         people and future generations. Despite more than forty-five (45) years having passed
         since the first donation of land, to this day they have not been developed to their
         maximum potential and are not

       Order #31349-6177328                                                                        Page 4 of 13


                                                               Add.119
Case: 23-1922     Document: 00118118414                       Page: 199   Date Filed: 03/11/2024    Entry ID: 6628045

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         being utilized for the purposes for which they were transferred free of charge by the State, so
         the public purpose enacted in Law No. 133 is not being fulfilled.

               For its part, the Puerto Rico Department of Sports and Recreation is authorized with all
         the necessary powers to promote, regulate and supervise recreation and sports in all their
         manifestations and modalities in Puerto Rico. In addition, it has the administrative and
         operational infrastructure to carry out its mission of ensuring compliance with the legislation
         and regulations applicable under its jurisdiction. Thus, in accordance with the public policy of
         this Law, this Department will be the agency that will be responsible for the management of
         the "Roberto Clemente Sports District."

               The Puerto Rico Convention Center District Authority is in a unique position for the
         development of the Roberto Clemente Sports District, hereby this will be the entity that
         develops the projects carried out there. The Authority will be in charge of planning and
         organizing the Sports District, maximizing its potential. The purpose is to create an alliance
         between the Authority and the Department of Sports and Recreation that empowers the
         Authority to develop the facilities, in addition to the work plan to be developed within the
         Sports District, leaving the Department of Recreation and Sports the ownership of the land, in
         addition to an essential role in the management and operation of the land daily.

               By the approval of this Law, the ownership of the lands of the Roberto Clemente Sports
         City, with its improvements, will revert to the Commonwealth of Puerto Rico, will be managed
         by the Department of Sports and Recreation and planned by the Puerto Rico Convention
         Center District Authority. It should be noted that Law No. 133, as amended, in its Section 2
         provided that the donation of land to "Roberto Clemente’s Sports City, Inc." would be suject
         to the three conditions subsequent. The first of these conditions was that the land would be
         owned and used "for the purposes of Roberto Clemente’s Sports City, Inc."'. As described
         herein, the land is not being used for the purposes of the non-profit entity, a reason that
         supports the reversal of the donation established by Law.

                As part of the efforts of this Legislative Assembly to achieve the purposes of this
         measure, by way of Joint Resolution 16-2021, the Secretary of the Department of
         Transportation and Public Works was ordered to prepare and issue a commemorative
         license plate for the fifty (50) years of Roberto Clemente Walker's " 3,000 Hit ", starting
         January 1st, 2022, until December 31st, 2022. Citizens will have the option to pay $21.00 for
         the issuance of the Roberto Clemente commemorative license plate. Section 3 of the Joint
         Resolution provides that "the charge for the tablet will be twenty-one dollars ($21.00), which
         will be




       Order #31349-6177328                                                                        Page 5 of 13


                                                               Add.120
Case: 23-1922     Document: 00118118414                       Page: 200   Date Filed: 03/11/2024    Entry ID: 6628045

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         transferred to the Roberto Clemente Sports District Fund, managed by the Department of
         the Treasury, for the exclusive use of the Department of Sports and Recreation."

               Likewise, Joint Resolution 17-2021 ordered the Secretary of the Department of
         Transportation and Public Works to prepare and issue a commemorative annual vehicle
         registration label for the fifty (50) years of Roberto Clemente Walker's "3,000 Hit" by the
         year 2022. Upon payment of the commemorative label, the amount of $5.00 will be
         collected in addition to the regular costs for duties, tariffs and fines. Citizens may also
         make a donation in the amount of $5.00, $10.00, $20.00 or any other desired amount.
         Section 6 of the aforementioned Joint Resolution provides that the cost of the
         commemorative label and the donations made by citizens, "will be allocated in their
         entirety to the Roberto Clemente District Fund, managed by the Department of the
         Treasury for the exclusive use of the Department of Sports and Recreation".

               By way of this piece of legislation, this Legislative Assembly establishes the
         foundations for the full development of the Roberto Clemente Sports District at the full
         service of the people of Puerto Rico, thus fulfilling the dream of our Roberto Clemente
         Walker.

         ORDERED BY THE LEGISLATIVE ASSEMBLY OF PUERTO RICO:

         Article 1. -Title.

                This Law will be known as the "Roberto Clemente Sports District Law."

         Article 2. - Public Policy.

                 The Public Policy of the Commonwealth of Puerto Rico will be to fully develop the
         Roberto Clemente Sports District. The Legislative Assembly of Puerto Rico understands
         that the property donated by the Commonwealth of Puerto Rico to "Roberto Clemente’s
         Sports City, Inc." has not been used for the public purposes that it was donated by virtue
         of Law, therefore, all the land donated to the entity “Roberto Clemente Sports City, Inc” is
         ordered to be transferred to the Commonwealth of Puerto Rico, so reverting to the
         Commonwealth of Puerto Rico, in the name of the Puerto Rico Department of Sports and
         Recreation, ownership of all lands donated by way of Law. 133 of June 9th, 1973, as
         amended, and by Law 164-2004, as amended, as well as the improvements, structures,
         facilities and/or buildings located therein.



       Order #31349-6177328                                                                        Page 6 of 13


                                                               Add.121
Case: 23-1922     Document: 00118118414                       Page: 201   Date Filed: 03/11/2024    Entry ID: 6628045

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         Article 3.-Transfer.

          (a) The transfer to the Commonwealth of Puerto Rico of all lands donated to the entity
              "Ciudad Deportiva Roberto Clemente Inc." is ordered, so reverting to the
              Commonwealth of Puerto Rico the ownership of all lands donated through Law No.
              133 of June 9th, 1973, as amended, and by Law 164-2004, as amended, as well as
              the improvements, structures, facilities and/or buildings located therein.

         (b) The Secretary of the Puerto Rico Department of Sports and Recreation is ordered
             and authorized to accept, on behalf of the Land Management of Puerto Rico, the
             transfer of the ownership of the portions of land on plots A, B, G and F of the Marina
             farm located in the Cangrejo Arriba and Sabana Abajo neighborhoods of the
             Autonomous Municipality of Carolina, whose ownership was conditionally transferred
             by Law No. 133 of June 9th, 1973 , as amended, as well as the improvements,
             structures, facilities and/or buildings located therein in the name of the Department of
             Recreation and Sports of the Commonwealth of Puerto Rico.

         (c) Puerto Rico Land Management is ordered, within a period of ninety (90) days
             following the date of approval of this Act, to request all permits and authorizations
             necessary for the transfer of the parcels of land and improvements described in
             subsection (a) of this Article and, in accordance with the provisions established in this
             Law, to grant the corresponding deed transferring ownership in favor of the Puerto
             Rico Department of Sports and Recreation of the Commonwealth of Puerto Rico.

         (d) The Registrar in charge of the corresponding section of the Property Registry is
             ordered, within ninety (90) days following the date of their presentation for registration
             in said Registry, to certify the legality of the documents and, if there is no flaw,
             proceed to register, exempt from payment of fees, those deeds that are granted in
             accordance with the provisions herein and that, likewise, proceeds to make the
             corresponding annotations and inscriptions in the books under its custody to register
             the aforementioned deeds and reflect the provisions of this Law.

       Article 4.- Roberto Clemente Sports District.

             On the estates described in Article 3 of this Law, the Roberto Clemente Sports
         District will be developed as a sports and recreational facility for the enjoyment of Puerto
         Ricans and sports tourism. These facilities will maintain the same use and purpose for
         which they are being transferred.


       Order #31349-6177328                                                                        Page 7 of 13


                                                               Add.122
Case: 23-1922     Document: 00118118414                       Page: 202   Date Filed: 03/11/2024    Entry ID: 6628045

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             The Roberto Clemente Sports District will be attached to the Department of
         Recreation and Sports for the management and operation of the sports and recreational
         lands and facilities.

             The Puerto Rico Convention Center District Authority will be in charge of planning
         and organizing the Roberto Clemente Sports District, which includes the development,
         reconstruction and construction of facilities for its proper functioning.

              The Department of Recreation and Sports and the Puerto Rico Convention Center
         District Authority will carry out a work plan to achieve the purposes set forth in this
         Article.

         Article 5. -Powers and duties of the Secretary of the Department of Recreation and
         Sports.

             The Secretary of the Puerto Rico Department of Sports and Recreation will provide
         the necessary administrative support for the operation of the Roberto Clemente Sports
         District. Furthermore, the Secretary will determine its operation and will enjoy the powers
         and duties delegated in this Law to administer it.

              The Puerto Rico Department of Sports and Recreation and the Puerto Rico
         Convention Center District Authority will have a term of five (5) years for the development
         of the property in accordance with the provisions of this Law. If the term expires without
         achieving the purposes of this Law are achieved, ownership of the property will revert to
         the Land Management.

         Article 6.- Lease.

              Only the leasing and subleasing of the land, as well as the granting of surface rights over
         the facilities, buildings and structures of the Roberto Clemente Sports District will be
         permitted to third parties, natural or legal persons, subject to the provisions of this Law, the
         regulations, and applicable state and federal laws. The property may not be alienated or sold.
         The Department Sports and Recreation may grant such leases to natural or legal persons,
         whether dedicated to sports or not, whether for pecuniary purposes or not, by way of
         appropriate consideration and may also raise funds by posting propaganda and
         advertisements therein. Any renumeration received by the Department for leases, surface
         rights and any other charge or tax to be established will be used exclusively for the
         development and maintenance of the areas and facilities. The use of leased land or the



       Order #31349-6177328                                                                        Page 8 of 13


                                                               Add.123
Case: 23-1922     Document: 00118118414                       Page: 203   Date Filed: 03/11/2024    Entry ID: 6628045

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         facilities, buildings or structures must be purposeful and/or complementary to the
         development of sports facilities within the sports district.

         Article 7.- Regulations.

             The Puerto Rico Department of Sports and Recreation the Puerto Rico Convention
         Center District Authority are ordered to establish through Regulation the procedure for
         the adequate implementation and compliance with the purposes of this Law. The
         Secretary of the Department will adopt the rules and regulations that are necessary to
         implement this Law, by virtue of the provisions of Law 38-2017, as amended, known as
         the "Uniform Administrative Procedure Law of the Government of Puerto Rico", and in
         accordance with the applicable laws and regulations

         Article 8.- Contracts and agreements.

              Any lease contract, usufruct, or agreement of delegation of powers or management
         agreement granted between Roberto Clemente’s Sports City, Inc. and the Department of
         Sports and Recreation, which was valid at the time -of the transfer of ownership of the
         heritage property, will lose its validity immediately and will be resolved due to confusion
         of rights. Likewise, those that have been granted between Roberto Clemente’s Sports
         City, Inc., and the recreational associations, sports associations, resident associations,
         resident councils; which will remain valid until the regulations established by the
         Department of Sports and Recreation are implemented. The contracts granted between
         Roberto Clemente’s Sports City, Inc., and natural or legal persons will remain valid until
         their expiration date.

              Regarding the contracts granted by Roberto Clemente’s Sports City, Inc., which
         were valid at the time of the transfer of ownership of the property, they will remain valid
         under the same clauses and conditions established at the time of their granting. In
         relation to such contracts, it is provided that the Department of Sports and Recreation is
         subrogated to Roberto Clemente’s Sports City, Inc., with the same rights and obligations
         that to the latter from the date of its granting.

              Contracts, conventions or agreements that, after being reviewed by the Department
         of Recreation and Sports, are determined to be contrary to provisions of federal laws and
         their regulations are excluded from the provisions contained herein. In these cases, the
         Department of Recreation and Sports is authorized to amend the contracts, conventions
         or agreements so that it can continue to honor the agreed provisions in accordance with
         federal statutes.

       Order #31349-6177328                                                                        Page 9 of 13


                                                               Add.124
Case: 23-1922      Document: 00118118414                       Page: 204   Date Filed: 03/11/2024     Entry ID: 6628045

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                                                                      8

         Article 9.- Legal responsibility.

              Roberto Clemente’s Sports City, Inc. holds legal responsibility in relation to any matter
         that occurs regarding the property until the moment the Deed is signed, transferring the
         ownership thereof to the Department of Recreation and Sports.

             After the Deed is signed, transferring ownership of the property to the Department of
         Sports and Recreation, it assumes legal responsibility for all matters that occur on said
         property from then on.

         Article 10.- Liens.

             Upon reverting the ownership to the Commonwealth of Puerto Rico, the properties
         described in Article 3 of this Law will be released from any charge or lien that in the past has
         been established or registered on them through any lease contract, sub- lease, concession of
         surface rights and/or any other contract.

         Article 11. – Roberto Clemente Sports District Fund

             A Fund is created in the Department of the Treasury of Puerto Rico which will be called
         the Roberto Clemente Sports District’s Fund for the exclusive use of the Secretary of the
         Puerto Rico Department of Sports and Recreation for everything that is related to the
         operation, management and conservation of the Sports District. Roberto Clemente.

                (a) The Fund will also be nourished from time to time, by (i) contributions and any other
                    type of assistance for which it qualifies from the Federal Government; (ii)
                    contributions and investments from private or public, local, national or international
                    individuals and entities; and (iii) contributions from the Legislative Assembly.

             (b) Disbursements from the Fund will be made in accordance with this Law and the
         regulations and budgets approved by the Department of Recreation and Sports.

               (c) The remainder of the funds that as of June 30th of each year that has not been used
         and obligated for the established purposes, will be reprogrammed in the same Fund of the
         Roberto Clemente Sports District for the next fiscal year, so as to guarantee the use of the
         funds collected specifically for this purpose and the citizen's intention is fulfilled by making
         the payment and/or additional donation of the label and commemorative license plate for the
         fifty (50) years of "Hit 3,000" by Roberto Clemente Walker for the year 2022.




       Order #31349-6177328                                                                         Page 10 of 13


                                                                Add.125
Case: 23-1922      Document: 00118118414                       Page: 205   Date Filed: 03/11/2024     Entry ID: 6628045

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                                                                      9

              Annually, the Department of Sports and Recreation will assign to the Puerto Rico
         Convention Center District Authority the amount of one hundred and fifty thousand
         dollars ($150,000.00) from the Roberto Clemente Sports District Fund, for the planning
         and organization of the facilities.

              The Department of Sports and Recreation and the Puerto Rico Convention Center
         District Authority must submit annually, both to the Office of Management and Budget
         and to the Legislative Assembly, by way of the Secretariat of each Parliamentary Body,
         an audited report on the planned use of the resources that will be deposited in the
         special account and the funds that the Department of Recreation and Sports assigns to
         the Puerto Rico Convention Center District Authority. The required audited annual report
         will be submitted no later than January 30th of each year.

         Article 12.- Article 2.02 of Law 351-2000, as amended, known as the "Puerto Rico
         Convention Center District Law", is amended so it reads as follows:

                "Article 2.02.- Specific powers of the Authority.

                         The Authority will have the following powers and rights:

                         (a)      …

                         …

                   (t)      Enter into contracts and agreements, including, but not limited to, sales
                   contracts, leases, joint ventures and partnerships, as deemed necessary to
                   induce third parties to develop, improve, operate and manage the private parcels
                   within the District in accordance with any master plan, design criteria and
                   conditions and restrictions adopted and imposed by the Authority. Likewise, the
                   Authority may grant contracts to use, for the benefit of the rehabilitation,
                   development, construction or maintenance of facilities in the Roberto Clemente
                   Sports District, and disburse, in accordance with the terms and conditions
                   established in such contracts, all or part of the funds that are assigned by the
                   Legislative Assembly to the Authority for those purposes, regardless of whether
                   said facilities are within the District or not. Likewise, the Authority will be in charge
                   of planning and organizing the District. Provided further, that the Roberto
                   Clemente Sports District will be an improvement project as defined in Article 1.03
                   (o) of this Law.


       Order #31349-6177328                                                                         Page 11 of 13


                                                                Add.126
Case: 23-1922     Document: 00118118414                       Page: 206    Date Filed: 03/11/2024     Entry ID: 6628045

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                      Provinding, that all contract and agreement that the Authority intends to
                  sign as part of its functions and responsibilities in the Roberto Clemente
                  Sports District, must be approved and signed by the Secretary of the
                  Department of Sports and Recreation or any other authorized official within the
                  Department. No contract or agreement under this subsection will be valid if it
                  does not contain the signature of the Department of Recreation and Sports.

                  (u)      …

                  …

                  (ff) …”

            Article 13.-A new subsection (o) is added to Article 5, of Law 8-2004, as amended,
       known as "Organic Law of the Department of Sports and Recreation", so that it reads as
       follows:

                  "Article 5.-Functions and Powers of the Department of Recreation and Sports.

                  The Department of Recreation and Sports will have, but is not limited to, the
                  following functions and powers:

                  (a) ...

                         …

            (o) The ownership, as well as the operation, management and conservation of the
            sports and recreational facilities of the Roberto Clemente Sports District. In
            addition, it may grant contracts to utilize, and disburse, for the benefit of the
            rehabilitation, development, construction, maintenance or management of facilities
            in the Roberto Clemente Sports District, and, in accordance with the terms and
            conditions established therein, all or part of the funds that are assigned by the
            Legislative Assembly to the Department of Sports and Recreation for these
            purposes."




       Order #31349-6177328                                                                         Page 12 of 13


                                                               Add.127
Case: 23-1922     Document: 00118118414                       Page: 207      Date Filed: 03/11/2024       Entry ID: 6628045

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       Article. 14- Repeal.

          The following laws are abolished: Law No. 133 of June 9th, 1973, as amended; and
       Law 164-2004, as amended.

           Provided that the plot of seventy (70) acres that the Puerto Rico Land Management
       was authorized to be relinquished, free of charge, to the Roberto Clemente Sports City, Inc.
       through Law 164-2004, will continue to be part of the Land Management inventory of
       properties for development.

       Article 15- Rules of interpretation.

            The provisions of this Law may not be interpreted in a way that is inconsistent with the
       rights recognized by the Constitution of the Commonwealth of Puerto Rico or the
       Constitution of the United States of America, and interpretive jurisprudence. No provision of
       this Law shall be deemed to modify, alter or invalidate any agreement, convention or
       contract that has been granted under the previous legal status and that is in force when this
       Law- is passed.

       Article 16- Separability clause.

           All those laws, rules and regulations that conflict with the provisions of this Law must, in
       accordance with the law, reconcile with the spirit and purpose of this Law in such a way that
       the public policy set forth herein is minimally harmed. If any clause, paragraph,
       subparagraph, article, provision, section, subsection or part of this Law is declared
       unconstitutional by any court with jurisdiction, the ruling issued for that purpose will not
       affect, harm or invalidate the rest of this Law. The effect of said sentence will be limited to
       the clause, paragraph, subparagraph, article, provision, section, subsection or part of this
       Law: and it would have been declared unconstitutional.

       Article 17- Validity.

           This Law will become valid immediately after its approval.

                                                                                    [SIGNATURE]
                          [SIGNATURE]                                          President of the Chamber
                      PResident of the Senate

                                                      [STAMP: APPROVED IN JULY 20, 2022
                                                                [SIGNATURE]
                                                                 GOVERNOR]


       Order #31349-6177328                                                                           Page 13 of 13


                                                               Add.128
